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                                  169279


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  Attorneys for Andy Birchfield and Beasley Allen

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY




                                                      Case No. 3:16-md-2738 (MAS)/(RLS)

   IN RE: JOHNSON & JOHNSON TALCUM                            MLD Case No. 2738
   POWDER PRODUCTS MARKETING,
   SALES PRACTICES AND PRODUCTS                          [FILED ELECTRONICALLY]
   LIABILITY LITIGATION
                                                           Return Date: January 2, 2024




                       DECLARATION OF JEFFREY M. POLLOCK, ESQ.


  I, JEFFREY M. POLLOCK, ESQ., declare:

          1.      I am a partner at the law firm Fox Rothschild LLP, counsel for Andy D. Birchfield,

  Jr., Esq. and Beasley Allen Crow Methvin Portis & Miles, P.C. (Beasley Allen). I make this

  declaration based on personal knowledge and in opposition to Defendants Johnson & Johnson and

  LTL Management, LLC (collectively, J&J)’s Order to Show Cause Seeking to Disqualify Andy

  D. Birchfield, Jr., Esq. and Beasley Allen from this litigation and remove Beasley Allen from the

  Plaintiffs’ Steering Committee.

          2.      Attached hereto as Exhibit A is a true and correct copy of the October 31, 2018

  article titled “Weil Gotshal’s Lawyers Tough Tactics Sealed J&J Talc Win,” by Bill Weichart that


                                                  1
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  appeared in Law 360.

         3.      Attached hereto as Exhibit B is a true and correct copy of the November 2, 2018

  article titled “A Look At Biglaw’s Tough Trial Tactics,” by Kathryn Rubino that appeared in

  Above the Law.

         4.      Attached hereto as Exhibit C is a true and correct copy of the February 9, 2022

  article titled “J&J Uses ‘Project Plato’ to Potentially Avoid Talcum Power Payouts,” by Clay

  Hodges that appeared in the North Carolina Product Liability Lawyer Blog.

         5.      Attached hereto as Exhibit D is a true and correct copy of a July 7, 2023 article

  titled “’Enemies List’: Plaintiffs' Expert Witnesses Are Targets as J&J Unit Revives Lawsuit,” by Amanda

  Bronstad that appeared in ALM Law.com.

         6.      Attached hereto as Exhibit E is a true and correct copy of the July 14, 2023 article

  titled “In Talc Defense, Johnson & Johnson Sues 4 Doctors Over Their ‘Junk Litigation

  Opinions,’” by Kevin Dunleavy that appeared in Pharma.

         7.      Attached hereto as Exhibit F is a true and correct copy of July 18, 2023 article

  titled “J&J Subsidiary Sues More Talc Researchers,” by Rebecca Trager that appeared in

  Chemistry World.

         8.      Attached hereto as Exhibit G is a true and correct copy of a Dupuy Orthopaedics

  (a J&J subsidiary) motion to disqualify Dr. Dana Medlin, a plaintiffs expert, in the North Carolina

  case, Richard H. Weatherly v. Depuy Orthopaedics, Case No. 1:23-cv-00134-(LCB)/(JEP) (filed

  July 20, 2023).

         9.      Attached hereto as Exhibit H is a true and correct copy of the December 8, 2023

  Order to Show Cause application J&J filed in the Superior Court of New Jersey, Atlantic County,

  which is nearly identical to J&J’s motion to disqualify before this Court.
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          10.    Attached hereto as Exhibit I is a true and correct copy of an excerpt of a transcript

  dated July 11, 2019 of the trial in the Barden v. Brennatag trial, MID-L-1809-17 designated as

  “5T”.

          11.    Attached hereto as Exhibit J is a true and correct copy of an excerpt of a transcript

  dated July 15, 2019 of the trial in the Barden v. Brennatag trial, MID-L-1809-17 designated as

  “7T”.

          12.    Attached hereto as Exhibit K is a true and correct copy of an excerpt of a transcript

  dated September 4, 2019 of the trial in the Barden v. Brennatag trial, MID-L-1809-17 designated

  as “33T”.

          Under 28 U.S.C. 1746, I hereby declare under penalty of perjury that the foregoing is true

  and correct.

  Executed on December 19, 2023

                                                       /s/ Jeffrey M. Pollock
                                                       JEFFREY M. POLLOCK, ESQ.
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                    EXHIBIT A
      Insurance
      Intellectual
              Case Property
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How They Won It


Weil Gotshal Lawyers' Tough Tactics Sealed J&J Talc Win
By Bill Wichert

Law360 (October 31, 2018, 7:55 PM EDT) -- Weil Gotshal & Manges LLP this month knocked out claims that a woman's alleged exposure to asbestos in
Johnson & Johnson's baby powder contributed to her mesothelioma, with firm attorneys taking a more aggressive stance than other counsel in prior cases by
blasting the matter as a "sham" created by her lawyers.

After studying how similar cases unfolded — including one where J&J and a co-defendant were hit with verdicts totaling $117 million — Weil Gotshal
"hammered hard" on the argument that the suit was a fraud perpetrated by the plaintiffs' lawyers for money, according to firm partner Diane Sullivan, who
tried the matter in the New Jersey state trial with firm partner Allison Brown.

Looking at what lawyers for the pharmaceutical giant had done in other cases, Sullivan said she and Brown "took what we thought had worked … and kind
of shook up the arguments a little bit … when we thought some things didn't work," and "went hard on what we think is the truth, that this is just … a
litigation concocted by plaintiffs' lawyers."

With the Weil Gotshal attorneys framing the instant action as "a sham created by plaintiffs' lawyers" in a more overt way than had been done in prior cases,
"the jury, it looks like, accepted that wholeheartedly and we were … obviously heartened by the verdict," Sullivan added.

Less than two hours after leaving the courtroom for deliberations, seven jurors on Oct. 11 unanimously sided with J&J by rejecting allegations from
plaintiff Rosalind Henry and her husband that the company sold asbestos-containing baby powder and that Henry's exposure to the toxic mineral in the
product played a substantial role in her contracting mesothelioma.

Throughout the nearly four-week trial, the Weil Gotshal attorneys argued that the company's baby powder does not contain asbestos.

Sullivan told jurors the company extensively tested its baby powder to ensure that the product was safe. The U.S. Food and Drug Administration and other
third parties — including scientists at the Massachusetts Institute of Technology and Princeton University — have also confirmed that the baby powder did
not contain asbestos, Sullivan said.

Such scientific evidence resonated with the jury in its rejection of the plaintiffs' claims, according to the Weil Gotshal attorneys.

Brown noted "there is no epidemiological study that shows an increase in [mesothelioma] in the miners and millers of cosmetic talc, and there's no
government authority that says cosmetic talc increases the risk, and I think those two facts really resonated with some smart, perceptive jurors who paid a lot
of attention."

One of J&J's themes during the trial was that "you should use your common sense, and that when you sort of hold the claims up to the light of your common
sense, it's not gonna add up," Brown said.

"And I think there were a number of different ways where the jurors used the science to come to the conclusion pretty quickly that these claims didn't add
up," Brown added.

The company's trial victory came about six months after jurors in the same New Brunswick courtroom awarded verdicts totaling $117 million in damages
against J&J and its talc supplier over claims that a man's exposure to the company's alleged asbestos-containing talcum powder contributed to his
mesothelioma.Case 3:16-md-02738-MAS-RLS Document 28826-1 Filed 12/19/23 Page 6 of 187 PageID:
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Superior Court Judge Ana C. Viscomi, who also presided over the Henry trial, later upheld those verdicts, which J&J is now appealing.

The outcome of the Henry trial, however, serves as a reminder that such cases could end in the defense's favor and puts pressure on plaintiffs to consider
settlements, experts say.

That plaintiffs have won some talc verdicts puts pressure on J&J "to think about settling at some point, but the fact that juries can deliver defense verdicts
puts pressure on plaintiffs, because it means that … if the next plaintiff chooses to go to trial, the plaintiff is risking getting zero," according to Howard M.
Erichson, a professor at Fordham University School of Law.

"Everyone knows in theory that there's risk on both sides, but sometimes it takes a defense verdict to … hammer home the message … that there's risk for
plaintiffs in these cases and not only for defendants," Erichson said.

Duane Morris LLP partner Robert Kum, who represents defendants in similar talc cases, said the Henry verdict gives the defense "further hope that they can
defend these cases."

While the verdict won't deter some plaintiffs' firms from taking such cases to trial, the defense win will likely encourage others to take a harder look at
resolving cases before going before a jury, according to Kum.

"It depends on the law firm. It depends on the resources that they have," Kum said.

The cases against J&J have centered in large part on internal company documents that plaintiffs have claimed shows the business knew its talcum
powder contained asbestos.

As part of their argument, the Weil Gotshal attorneys confronted such documents at the Henry trial by claiming the plaintiffs' lawyers were "cherry-picking"
and misleading jurors about what the documents say, according to Sullivan.

Among those purported misrepresentations, the Henry lawyers cited talc mines where asbestos was allegedly found — but those mines were not actually
used by J&J, and other mines pointed to were used by the company but not for its baby powder, Sullivan said.

The Weil attorneys also pointed to Brown's cross-examination of a plaintiffs' expert who had opined the baby powder caused Henry's mesothelioma.

The lawyers said Brown showed the expert issued the finding before receiving the results of testing done on the product by another plaintiffs' expert.

"The fact that he issued the opinion without the testing … was consistent with what we had been arguing from the beginning that this was a concocted
litigation," Sullivan said.

That cross-examination was among Brown's "brilliant" strategy calls in the case, according to Sullivan, who added that Brown is "one of the best young trial
lawyers in the country."

Brown, who said she considered Sullivan a mentor and a friend, noted that "everything I know about how to be a trial lawyer, I know from Diane."

Two of Henry's attorneys, Nathan Finch and Christopher Swett of Motley Rice LLC, told Law360 in a statement, "Our case was strongly corroborated by
Johnson & Johnson's internal documents showing the presence of asbestos in its baby powder and the mine from which the talc was mined. Any particular
jury can be swayed by numerous case-specific facts, and the jury alone knows the basis for its decision."

They added that "so far, nationwide, there have been eight mesothelioma cases tried against Johnson & Johnson, with two plaintiff verdicts, two defense
verdicts and four mistrial/hung juries. ... We continue to believe that the evidence showing asbestos in talc will win at the end of the day so that Johnson &
Johnson will eventually have to pay for the deaths it has caused and add a warning label to its baby powder."

The Henrys are represented by Christopher Swett and Nathan Finch of Motley Rice LLC and Dennis Geier and Jared Placitella of Cohen Placitella & Roth
PC.

J&J is represented by Diane Sullivan and Allison Brown of Weil Gotshal & Manges LLP.

The case is Rosalind Henry et al. v. Johnson & Johnson et al., case number L-1748-17, in the Superior Court of New Jersey, County of Middlesex.

--Editing by Philip Shea and Alanna Weissman.

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0 Comments


Andy Birchfield
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 BIGLAW


 A Look At Biglaw's Tough Trial Tactics
 Are aggressive Biglaw attorneys the difference maker?
 By KATHRYN RUBINO on November 2, 2018 at 1:43 PM

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 SHARES




 The Biglaw firm of Weil Gotshal & Manges lived up to their
 nickname of We’ll Getcha & Mangle-ya in a recent trial. The firm,
 led by partners Diane Sullivan and Allison Brown, was defending
                                                                                                            SPONSORED
 Johnson & Johnson against allegations their baby powder
                                                                                                            LawPay Pro Offers
 contained asbestos and contributed to plaintiff’s mesothelioma.
                                                                                                            Upgraded Time And
 J&J’s already lost a similar lawsuit — to the tune of a $117 million                                       Billing Essentials
 verdict (though that case is being appealed), so Sullivan and                         AffiniPay’s latest product for the legal community,
 Brown decided a case of hardball was in order.                                        introduced earlier this year, presents a simple
                                                                                       web-based solution for attorneys seeking
                                                                                       seamless firm cash flow.
 According to a report on the case from Law360, Sullivan reveals
 the key to the case was successfully portraying the theory of the                     From ABOVE THE LAW

 case as a “sham” perpetrated by lawyers for the plaintiff.
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  done in other cases, Sullivan said she and Brown “took what
  we thought had worked … and kind of shook up the
  arguments a little bit … when we thought some things didn’t
  work,” and “went hard on what we think is the truth, that this
  is just … a litigation concocted by plaintiffs’ lawyers.”

  With the Weil Gotshal attorneys framing the instant action as
                                                                         The Billions Boost … Into Reverse?
  “a sham created by plaintiffs’ lawyers” in a more overt way
  than had been done in prior cases, “the jury, it looks like,
  accepted that wholeheartedly and we were … obviously
  heartened by the verdict,” Sullivan added.



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And it certainly didn’t hurt to have testimony that the USDA and
other third parties have extensively tested the baby powder and                              SPONSORED

found no evidence of asbestos.                                                               How Generative AI Is
                                                                                             Disrupting Law Firm
                                                                                             Billing Practices
  Brown noted “there is no epidemiological study that shows an           Amid legal landscape shifts, billing practices
  increase in [mesothelioma] in the miners and millers of                remain vital. With generative AI enabling faster,
                                                                         more efficient work, some law firms may adjust
  cosmetic talc, and there’s no government authority that says
                                                                         billing models accordingly.
  cosmetic talc increases the risk, and I think those two facts
                                                                         From LEXISNEXIS
  really resonated with some smart, perceptive jurors who paid
  a lot of attention.”


After a four-week trial, the jury came back with a verdict for the
defense in less than two hours.

But still, cases alleging baby powder contributed
to mesothelioma have been a mixed bag for J&J with them
winning and losing at trial. It just might be that aggressive
Biglaw attorneys are the difference maker.
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Kathryn Rubino is a Senior Editor at Above the Law, and host of
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                            NORTH CAROLINA PRODUCT LIABILITY LAWYER BLOG



           Johnson & Johnson Uses “Project Plato” to Potentially Avoid Talcum
           Powder Payouts
           February 9, 2022 | By Clay Hodges

           Claims of ovarian and other cancers due to talcum
           powder or baby powder use have been in the news a lot
           lately. There has also been plenty of litigation stemming
           from this possible link.

           Although talcum powder studies are ongoing, it has been
           established that some products that use talcum powder
           may contain small amounts of asbestos. And there’s a
           well-known link between asbestos and cancer
           (especially mesothelioma).

           So where does Johnson & Johnson come in? Well, they’ve
           been one of the more prominent defendants in these
           talcum powder/asbestos cancer lawsuits. Let’s take a
           quick look at the baby powder litigation and then examine how Johnson & Johnson is planning to use something
           called “Project Plato” to deal with their recent legal and financial losses.

           A Brief History of Johnson & Johnson’s Baby Powder Litigation

                                                                             In 2018, Reuters published a story claiming that Johnson
                                                                             & Johnson (J&J) knew its baby powder products used talc
                                                                             that contained asbestos. In 2019, J&J voluntarily recalled
                                                                             some of its baby powder being sold in the United States.

                                                                             A lot of people sued J&J and/or related entities claiming
                                                                             the products they used containing talc (such as baby
                                                                             powder) caused their cancer. Many of these cases are
                                                                             currently in the Johnson & Johnson Talcum Powder
                                                                             Litigation MDL, or multidistrict litigation, which is
                                                                             currently in New Jersey federal court.

                                                                A few of the cases against J&J have resolved, resulting in
                                                                massive verdicts in favor of the plaintiffs. One of the most
           notable was a case from St. Louis where 22 women successfully sued J&J in 2018 and were awarded more than $4
           billion in damages. On appeal, this amount was reduced to about $2 billion. Still, a remarkable amount.

           As of 2021, J&J faced approximately $3.5 billion in legal settlements and judgments relating to its baby powder.
           This was bad enough, but it was just the beginning for J&J, with tens of thousands of cases still remaining. Seeing
           the writing on the wall, J&J allegedly thought of a new strategy to handle these lawsuits and gave it the code name

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           Project Plato.

           How Project Plato Works

           Project Plato is a very clever strategy that takes advantage of federal bankruptcy and state corporate laws. The
           goal is to pay off baby powder cancer litigants for pennies on the dollar and prevent J&J from having to worry
           about future plaintiffs. The plan is still ongoing and it’s unclear if it’ll work as J&J plans, but here’s a rough overview
           of the process.

           For step one, J&J shifted its headquarters to Texas. The reason would be to take advantage of one of Texas’
           corporate laws that allows a corporation to divide itself into two or more companies through a process called a
           “divisive merger.”

           In step two, J&J created a subsidiary called LTL Management. This would take on J&J’s legal liabilities relating to the
           baby powder asbestos litigation. However, it would have a relatively small number of assets to pay any legal
           awards or settlements. The rest of J&J would continue operating as the second company, yet it would no longer
           have to worry about any lawsuits from the talcum powder litigation.

           The third step required LTL Management to file Chapter 11 bankruptcy, which it did almost immediately after
           being created.

           Project Plato is currently in step four, which involves getting the automatic stay to temporarily halt the talcum
           powder litigation against J&J. It’s also during step four that J&J hopes the bankruptcy judge will approve LTL
           Management’s Chapter 11 bankruptcy reorganization plan which has a few special terms.

           Namely, all baby powder cancer plaintiffs against J&J would have to make their case in bankruptcy court (instead of
           regular court) and fight for their share of $2 billion that J&J would give LTL Management to compensate the almost
           40,000 current plaintiffs.

           J&J would also get a non-debtor release, which would immunize it from getting sued by any future plaintiffs
           claiming they got cancer from using J&J’s baby powder or talcum-based products. So the $2 billion wouldn’t just be
           split among the almost 40,000 in current plaintiffs, but it would also be all that’s available for future plaintiffs, too.

           J&J reasons that this plan makes it more likely that plaintiffs who go to court for financial compensation for their
           injuries will get at least something. J&J contends that getting an almost guaranteed small amount of money is
           better for plaintiffs because they can avoid the risk of losing at trial. It would also give J&J finality to its baby
           powder legal woes. If successful, Project Plato would allow J&J to move on without constantly worrying about
           another talcum powder lawsuit decades from now.

           Project Plato is a slight variation of something called the Texas Two Step, which has been successfully used by
           several companies (like Georgia-Pacific) looking to reduce and offload their mass tort legal claims.

           Will J&J’s Plan Work?

           No one knows for sure. Right now, the case isn’t going as well as J&J would have hoped. When LTL Management
           filed Chapter 11 bankruptcy, it chose to do so in North Carolina. Why? Because of that state’s history of favorable
           judicial rulings involving the Texas Two Step strategy. However, the North Carolina judge transferred the case to
           New Jersey.

           As you can imagine, the plaintiffs aren’t happy about Project Plato and are doing everything they can to stop it. The
           New Jersey bankruptcy judge has scheduled a hearing for February 14, 2022 to listen to arguments from the
           plaintiffs (who are technically creditors in this bankruptcy proceeding) as to why the court should dismiss LTL
           Management’s request for bankruptcy.

           Their primary argument would be that LTL Management filed Chapter 11 bankruptcy in bad faith. Specifically, that
           it was done as a way for J&J to avoid paying out the massive legal settlements and court judgments that have
           already been handed down, and with many more anticipated in the future.



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           A possible good omen for plaintiffs in the J&J litigation is what’s been happening with Purdue Pharma’s litigation
           involving its alleged role in the opioid epidemic. Late last year, a judge rejected Purdue Pharma’s proposed
           settlement and bankruptcy reorganization plan. The settlement and reorganization plan involved non-debtor
           releases that would have protected key individual defendants from personal liability. While Purdue Pharma’s
           strategy wasn’t the same as Project Plato, it was similar in that it tried to use the Bankruptcy Code to limit its legal
           liability in its civil lawsuits.

           What Happens Next?

           Over the next few months, we’ll see if Project Plato works
           for J&J. If it does, it would create a blueprint for any other
           company that faces mass tort lawsuits. This would make it
           much harder for plaintiffs to obtain compensation for
           their injuries. There’s even a proposed law in Congress
           to ban what J&J is trying to do.

           In the meantime, if you have any questions as to whether
           you can receive compensation for injuries potentially
           related to using baby powder or other talc-based
           products, don’t hesitate to get in touch with me. And I’ll let
           you know if there are any major developments in J&J’s
           Project Plato.




           Posted in: Corporate Greed, Multidistrict Litigation and Talcum Powder
           Tagged: baby powder, Cancer, J&J, Johnson & Johnson, Project Plato, talcum powder and talcum powder
           lawsuits
           Comments are closed.




           TOPICS

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https://www.law.com/njlawjournal/2023/07/07/enemies-list-plaintiffs-expert-witnesses-are-targets-as-jj-unit-revives-lawsuit/

                                                 NOT FOR REPRINT
                                            NEWS


                                                 'Enemies List': Plaintiffs' Expert Witnesses Are Targets as
                                                 J&J Unit Revives Lawsuit
                                                 Johnson & Johnson subsidiary LTL Management filed a second fraud lawsuit on Friday against three
                                                 plaintiffs’ experts who authored a 2020 report linking its talcum powder products to mesothelioma.

                                                  July 07, 2023 at 06:29 PM

                                                  Expert Witnesses




                                                 Amanda Bronstad
                                                 staff reporter

                                                      


       What You Need to Know
               The lawsuit, filed on Friday in the District of New Jersey, names Drs. Theresa Emory, Richard Kradin and John
               Maddox, who all have testified in dozens of talc trials over the years.
               On Jan. 18, LTL Management filed a nearly verbatim complaint against the same three experts, but it was
               rendered moot following dismissal of its Chapter 11 case.
               Moshe Maimon, who represents one of the purported plaintiffs identified in the 2020 report, called LTL's
               lawsuit 'straight out of their playbook' designed 'to bully experts.'




A Johnson & Johnson subsidiary filed a second fraud lawsuit against three plaintiffs’ experts who authored a 2020 report
linking its talcum powder products to mesothelioma.

The lawsuit, filed on Friday in the District of New Jersey, names Drs. Theresa Emory, Richard Kradin and John Maddox,
who all have testified in dozens of talc trials over the years. Emory and Maddox are pathologists affiliated with Peninsula
Pathology Associates in Newport News, Virginia, while Kradin is a pulmonologist and pathologist who lives in New
Hampshire.

The lawsuit, brought by LTL Management LLC, which is in Chapter 11 bankruptcy, alleges that the doctors’ research is
false because cosmetic talc wasn’t the sole asbestos exposure for at least six of the report’s 75 individuals purportedly
identified through court records.

“The complaint details the ‘junk science’ published and promoted by three doctors—who were paid millions by the
plaintiffs’ bar—to deliberately defame our products,” wrote Erik Haas, worldwide vice president of litigation for Johnson
& Johnson. “These disparaging publications cause great harm to us and to our customers and the patients who are
misled as to the actual cause of their health issues.”


https://www.law.com/njlawjournal/2023/07/07/enemies-list-plaintiffs-expert-witnesses-are-targets-as-jj-unit-revives-lawsuit/                                      1/2
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‘Straight Out of Their Playbook’
Peter Harvey, of Patterson Belknap Webb & Tyler, along with two other firms, Skadden, Arps, Slate, Meagher & Flom
and King & Spalding, filed the complaint.

It isn’t the first time LTL has sued the three experts.

On Jan. 18, LTL filed a nearly verbatim complaint against the same three experts, identifying five of the same individuals
in their report.

But the case was rendered moot after the U.S. Court of Appeals for the Third Circuit on Jan. 30 reversed the decision of
a bankruptcy judge not to dismiss LTL’s Chapter 11 case.

A lawyer for the three experts in the previous case, Arthur Abramowitz, of Sherman, Silverstein, Kohl, Rose & Podolsky
in Moorestown, New Jersey, declined to comment.

The 2020 report bolstered the findings of previous research conducted by Dr. Jacqueline Moline, another plaintiffs’
expert who is an occupational medicine specialist and professor at the Donald and Barbara Zucker School of Medicine
at Hofstra/Northwell in Hempstead, New York.

LTL sued Moline, first on Dec. 16, and then, after filing its second bankruptcy, on May 31.

Moline’s 2019 article, which linked the mesothelioma of 33 individuals to cosmetic talc, has been cited in hundreds of
trials, including those against Johnson & Johnson.

The names of the individuals in both expert reports are not disclosed.

LTL attempted to identify the individuals by matching their claims to the facts in talc trials against Johnson & Johnson.
Among the alleged individuals is Stephen Lanzo, a plaintiff in a New Jersey case who was identified in both lawsuits.
Friday’s lawsuit says Lanzo had 60 feet of asbestos pipe removed from his basement and was exposed in childhood at
school.

Lanzo’s attorney, Moshe Maimon, of Levy Konigsberg in New York, called the latest LTL lawsuit full of “fanciful claims by
its lawyers that are totally unsupported by any medical expert.”

“Indeed, it is often the case that J&J’s lawyers make a big fuss about there being some alternative asbestos exposure,
only for the actual evidence not being there,” he said. “As for J&J, this is straight out of their playbook—to make an
enemies list, seek to compromise scientific publications they don’t like, and to bully experts. I am confident that the
latest attempt will be seen by the court for what it is and be dismissed as well.”

Friday’s complaint also claims to identify a sixth plaintiff: Rosalind Henry, diagnosed in 2016, and her husband, Fred. A
New Jersey jury issued a defense verdict in that case in 2018.

Johnson & Johnson isn’t the only defendant pushing to disclose the individuals in the expert reports. In one talc lawsuit,
American International Industries fought to have Moline disclose the names of the 33 individuals in her report. But on
May 19, a federal magistrate judge in New York denied that request, concluding that there was no “relevant hook” to the
plaintiff in the talc case.

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https://www.law.com/njlawjournal/2023/07/07/enemies-list-plaintiffs-expert-witnesses-are-targets-as-jj-unit-revives-lawsuit/                                      2/2
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                    EXHIBIT E
                      Case 3:16-md-02738-MAS-RLS Document 28826-1 Filed 12/19/23 Page 22 of 187 PageID:
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PHARMA

In talc defense, Johnson & Johnson sues 4 doctors over
their 'junk litigation opinions'
By Kevin Dunleavy
Jul 14, 2023 10:30am

  Johnson & Johnson         talc litigation     mesothelioma         ovarian cancer




Johnson & Johnson has sued four physicians who have authored articles that found the company's talc products can cause cancer, calling their work "junk
litigation opinions." (Photo Illustration by Justin Sullivan/Getty Images)

As Johnson & Johnson awaits a decision on its second attempt to resolve talc lawsuits through a bankruptcy ploy, the company is
attempting another legal tactic to free itself from those liabilities—suing doctors who say that its iconic baby powder can cause cancer.

In federal district court in New Jersey, J&J’s talc subsidiary LTL Management has filed two suits against four doctors who authored
studies that described a link between J&J’s talc-based products and cancer.

Last week, J&J filed suit against New Hampshire physician Richard Lawrence Kradin and Virginia doctors Theresa Swain Emory and
John Coulter Maddox. In a separate suit in May, J&J sued New York physician Jacqueline Miriam Moline.

In the most recent suit, J&J claims that the three doctors cited 75 people with malignant mesothelioma who had been exposed to
cancer-causing asbestos only by using Johnson’s Baby Powder or another J&J talc product, Shower to Shower.

But the company says that at least six of the 75 had potentially been exposed to asbestos in other ways. In the May lawsuit, J&J made
similar claims against Moline.

All the doctors named in the lawsuits have been called to testify in talc cases against J&J and their studies have been used to bolster
personal injury cases against the company.

“The Emory article demonstrates plaintiffs’ experts’ tactics to pollute the scientific literature,” J&J wrote in its complaint. “They
publish their junk litigation opinions in scientific journals. They use their credentials to instill their publications with false credibility.
They then build from that fraudulent foundation by citing to each other’s work.”

In a statement, J&J explained that its second lawsuit was filed against three doctors “who were paid millions by the plaintiffs’ bar to
deliberately defame our products,” said J&J’s legal chief Erik Haas.

In the complaint, J&J said that the trio have made "careers and small fortunes" testifying almost exclusively for plaintiffs in asbestos
trials.

While maintaining that its talc products are safe, J&J has taken its baby powder off shelves in the U.S. and Canada and is doing the
same worldwide this year. The company now sells a cornstarch version of the baby powder.

"The safety of our talcum powder products is supported by decades of evidence by independent experts, governments and regulatory
bodies," Haas said.

J&J has had mixed success in court, with a high-profile trial in Missouri resulting (https://www.fiercepharma.com/pharma/j-j-faces-2-
11b-talc-verdict-after-missouri-supreme-court-denies-reviewing-its-appeal) in a $4.7 billion verdict against the drugmaker in 2018,
which was later reduced to $2.1 billion after appeals.

J&J has lost (https://www.factsabouttalc.com/ltl) nine talc trials that are either on appeal or have been resolved. Out of 41 trials, 32
have ended in a win by J&J, a mistrial or plaintiff verdicts that were reversed on appeal.

Last month, New Jersey bankruptcy judge Michael Kaplan heard arguments in J&J’s second bankruptcy attempt—which comes along
with an $8.9 billion settlement offer to resolve tens of thousands of talc lawsuits.

J&J’s first Chapter 11 attempt was dismissed in April when a U.S. appeals court decided that the company was not in the financial
distress needed to secure bankruptcy protection.


  Johnson & Johnson         talc litigation     mesothelioma         ovarian cancer        bankruptcy
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                    EXHIBIT F
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                                                          more talc researchers               Page 25
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    NEWS
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    J&J subsidiary sues more talc researchers
             BY R EBEC C A TR AGER1 8 J U LY 2 0 2 3



                                                                                             3 COMMENTS




    Lawsuit claims another study linking talc use to cancer is fraudulent

    US healthcare giant Johnson & Johnson (J&J) has launched a second lawsuit against
    researchers whose studies have connected talc-based powders and cancer, attacking
    the underlying science.


    Earlier this month, J&J’s subsidiary LTL Management, which was formed in 2021 to
    assume the company’s liabilities in talc litigation, sued two pathologists affiliated with
    Peninsula Pathology Associates in Virginia, US – Theresa Emory and John Maddox –
    and Richard Kradin, a pathologist and pulmonologist who is now retired from the
    Harvard University-affiliated Massachusetts General Hospital Cancer Center.


    The article that the three jointly published in 2020 concluded that mesothelioma can
    develop following exposures to cosmetic talcum powders, but LTL argues that the
    paper included false statements, including that cosmetic talc was the only known
    exposure of the 75 study subjects to asbestos. The company asserts that some
    individuals in that study had admitted to, and even made claims seeking compensation
    for, contact with other sources of asbestos. ‘The authors knew that, or recklessly
    disregarded substantial evidence to the contrary,’ LTL’s complaint states.


    The company is seeking monetary damages, including punitive damages, for fraud and
    other legal infractions, as well as retraction or public correction of the article.



    Related stories




    Chemistry needs the human                Cubanes help drugs take the           Danaher completes $5.7 billion
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https://www.chemistryworld.com/news/jandj-subsidiary-sues-more-talc-researchers/4017731.article                             1/2
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    This case sits alongside an ongoing lawsuit by LTL making similar claims about a
    separate 2019 study led by Jacqueline Moline. All four of these researchers had
    provided expert testimony against J&J in court, and their studies were cited in
    lawsuits against J&J.


    Mark Lanier, an attorney who represented 22 women in a successful 2018 talc
    lawsuit against J&J, is not surprised by LTL’s latest action. ‘This is an old tactic of J&J
    trying to squash scientific opinion through intimidation using its behemoth status,’ he
    tells Chemistry World. ‘This was done in the 1970s when scientists tried to warn about
    J&J’s talc containing asbestos,’ Lanier continues. ‘I think this shows a level of audacity,
    if not desperation.’

    Jean Eggen, a professor emerita of law at Widener University in Delaware, US, agrees.
    ‘There is no doubt that these are aggressive tactics by LTL,’ she says. ‘If such cases
    were to succeed, it would leave virtually every expert open to claims of fraud whenever
    the opposing experts disagree or find fault with their opinions,’ Eggen warns. ‘This
    would have a chilling effect on expert testimony in toxic tort litigation.’

    Companies like J&J have much greater resources than university scientists,
    emphasises Marion Nestle, a professor emerita of nutrition, food studies and public
    health at New York University. ‘J&J has much deeper pockets than any academic
    researcher – their incomes aren’t even in the same stratosphere – so if it can break
    them financially, it will,’ she warns. ‘Doing so will also send a message to other
    academics that criticising drug companies will have unpleasant consequences.’


    Meanwhile, J&J and LTL still face thousands of unresolved US lawsuits relating to talc
    and cancer. On 18 July, a California jury ruled the company must pay almost $19
    billion (£15 billion) to a man who claims his mesothelioma was caused by lifelong
    exposure to J&J’s talc. The jury awarded compensation to cover medical expenses, but
    no punitive damages against J&J. Most litigation against LTL and J&J has been frozen
    while LTL’s proposed bankruptcy settlement is considered in the courts, but this case
    prceeded owing to the plaintiff’s poor health.


    Ed. This story was updated on 20 July to include details of the latest resolved lawsuit




https://www.chemistryworld.com/news/jandj-subsidiary-sues-more-talc-researchers/4017731.article                             2/2
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                    EXHIBIT G
    Case 3:16-md-02738-MAS-RLS Document 28826-1 Filed 12/19/23 Page 28 of 187 PageID:
WEATHERLY, JR. v. DEPUY ORTHOPAEDICS INC et al,169306
                                                Docket No. 1:23-cv-00134 (M.D.N.C. Feb 10, 2023), Court
Docket

                                           Multiple Documents

Part           Description

1              74

2              Exhibit 01.Declaration of David Allen

3              Text of Proposed Order




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                                                                                                                     // PAGE 1
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                                  169307




                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          CASE NUMBER 1:23-cv-00134-LCB-JEP

       RICHARD H. WEATHERLY, JR.,

             Plaintiff,
                                                     DEFENDANTS’ MEMORANDUM OF
       v.                                            LAW IN SUPPORT OF MOTION TO
                                                     DISQUALIFY PLAINTIFF’S EXPERT
       DEPUY ORTHOPAEDICS, INC., et al.,                     DANA MEDLIN

             Defendants.



        STATEMENT OF THE NATURE OF THE MATTER BEFORE THE COURT

            Plaintiff’s proposed expert witness, Dr. Dana Medlin, has extensive experience

   serving as a consulting and testifying expert for DePuy in Pinnacle litigation. While

   serving as a DePuy defense expert, he was intrinsically involved in shaping defense

   themes in the Pinnacle litigation. He was also privy to privileged information and

   attorney work product, including DePuy’s attorneys’ mental impressions and strategic

   insights on responding to plaintiffs’ experts and theories of liability and evaluating the

   parties’ respective litigation positions. Nonetheless, Dr. Medlin has now “switched

   sides” in the exact same litigation and seeks to testify on behalf of plaintiff. Such

   behavior presents a clear conflict of interest, requiring that he be disqualified.1



   1
     Defendants previously filed a motion to exclude Dr. Medlin while this case was pending
   in the Pinnacle MDL proceeding. (See Weatherly N.D. Tex. ECF No. 46; M.D.N.C. ECF
   No. 56.) Pursuant to this Court’s order entered on May 18, 2023, defendants file this
                                                                                           (cont’d)




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                                    STATEMENT OF FACTS

            Dr. Dana Medlin was engaged by DePuy in June 2011 to serve as a consulting

   expert in litigation involving DePuy’s metal-on-metal ASR system hip implants (Decl. of

   David C. Allen (“Allen Decl.”) ¶ 4, Dec. 16, 2022 (attached as Ex. 1)) and in 2014, to

   serve as a testifying expert in Pinnacle litigation (id. ¶ 5). Dr. Medlin was specifically

   retained by DePuy as a testifying expert in five Pinnacle cases (Paoli,2 Lay,3 Jones,4

   Mello5 and Rowe6), prepared expert reports on behalf of DePuy in four of those cases

   (Rowe, Paoli, Lay and Jones) and gave deposition testimony in three of those cases

   (Paoli, Lay and Rowe). (Id.) In total, Dr. Medlin was compensated at least $96,710

   (exclusive of expenses) for 379 hours of expert services performed on behalf of DePuy in

   the Pinnacle litigation. (Id. ¶ 9.)

            As part of his work as an expert for DePuy in Pinnacle litigation, Dr. Medlin

   “assisted [DePuy] by critiquing [p]laintiffs’ experts’ volumetric wear analyses of metal-

   on-metal devices and pinpointing flaws in their testing methodology” and “assess[ed] . . .

   various [p]laintiff expert reports and deposition transcripts.” (Id. ¶¶ 6, 7.) Dr. Medlin




   motion and brief to add Fourth Circuit authority and have not included any additional
   arguments.
   2
       Herlihy-Paoli v. DePuy Orthopaedics, Inc., No. 3:12-cv-04975-K (N.D. Tex.).
   3
       Lay v. DePuy Orthopaedics, Inc., No. 3:11-cv-03590-K (N.D. Tex.).
   4
       Jones v. DePuy Orthopaedics, Inc., No. 3:11-cv-03594-K (N.D. Tex.).
   5
       Mello v. DePuy Orthopaedics, Inc., No. 3:12-cv-00641-K (N.D. Tex.).
   6
       Rowe v. Johnson & Johnson, Inc., No. 3:12-cv-04354-K (N.D. Tex.).




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   also had numerous “confidential and privileged” conversations with DePuy Pinnacle

   litigation attorneys about “defense strategies and themes regarding corrosion and failure

   analysis and [p]laintiffs’ theories of DePuy’s liability.” (Id. ¶ 8.) DePuy Pinnacle

   litigation attorneys also “relied on Dr. Medlin’s input and expertise to assist DePuy in

   formulating defense strategies and rebuttal points to [p]laintiffs’ anticipated liability

   theories.” (Id.)

          Now, Dr. Medlin seeks to serve as an expert for plaintiff Richard Weatherly in the

   same exact litigation.

                                          ARGUMENT

          “A federal court has the inherent power to disqualify experts.” Rhodes v. E.I. Du

   Pont De Nemours & Co., 558 F. Supp. 2d 660, 664 (S.D. W. Va. 2008); Cordy v.

   Sherwin-Williams Co., 156 F.R.D. 575, 579 (D.N.J. 1994) (“Any analysis properly begins

   with a recognition of the [c]ourt’s inherent power to disqualify experts.”). “This power

   exists in furtherance of the judicial duty to protect the integrity of the adversary process

   and to promote public confidence in the fairness and integrity of the legal process.”

   Wang Lab’ys, Inc. v. Toshiba Corp., 762 F. Supp. 1246, 1248 (E.D. Va. 1991).

          Pursuant to their inherent powers, courts in this circuit recognize a “bright-line

   rule”: “when it is undisputed that an expert, who was previously retained by the adverse

   party in the same litigation and received confidential information as part of that earlier

   retention, is now blatantly side-switching, disqualification is clear.” In re C.R. Bard,

   Inc. Pelvic Repair Sys. Prod. Liab. Litig., MDL No. 2187, 2014 WL 6960396, at *7 (S.D.




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   W. Va. Dec. 8, 2014); see also Wang Lab’ys, 762 F. Supp. at 1248 (“[N]o one would

   seriously contend that a court should permit a consultant to serve as one party’s expert

   where it is undisputed that the consultant was previously retained as an expert by the

   adverse party in the same litigation and had received confidential information from the

   adverse party pursuant to the earlier retention.”). Because Dr. Medlin switched sides

   after being retained by DePuy in the Pinnacle litigation and receiving confidential

   information as part of that retention, he has violated that bright-line rule, and

   disqualification is warranted.

          First, Dr. Medlin switched sides. The attached Allen declaration makes clear that

   Dr. Medlin previously worked for DePuy as an expert in the Pinnacle litigation – the

   exact same litigation here, involving the same product, the same parties, the same

   product liability claims, the same discovery and the same alleged harms. (See Allen

   Decl. ¶ 5 (explaining that Dr. Medlin served as a testifying expert in Pinnacle litigation

   beginning in 2014).) Dr. Medlin’s side-switching in the Pinnacle litigation is an obvious,

   undisputed fact, requiring his disqualification as plaintiff’s expert witness. See In re C.R.

   Bard, 2014 WL 6960396, at *9 (disqualifying a plaintiffs’ expert where the expert

   worked on both sides of a litigation in cases “involv[ing] the same defendant, the same

   product lines, the same polypropylene mesh, the same alleged tortious behavior and

   product liability claims, the same underlying medical conditions, the same basic

   documents, the same scientific and medical issues, and the same alleged harm”); see also

   Koch Ref. Co. v. Jennifer L. Boudreau M/V, 85 F.3d 1178, 1181 (5th Cir. 1996) (where




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                                  169311




   an expert “switched sides” in the same litigation, “[t]his is a clear case for

   disqualification”) (citation omitted); Park v. Se. Serv. Corp., No. 3:10-cv-2949-JFA,

   2011 WL 3794266, at *1 (D.S.C. Aug. 24, 2011) (court’s duty to disqualify experts stems

   from “the necessity to protect privileges” and “the necessity to preserve public

   confidence in the fairness and integrity of judicial proceedings”) (quoting W.R. Grace &

   Co. v. Gracecare, Inc., 152 F.R.D. 61, 64 (D. Md. 1993)).

          Second, Dr. Medlin received confidential and privileged information as part of his

   earlier retention serving as a consulting expert for DePuy. As detailed in Mr. Allen’s

   declaration, Dr. Medlin was retained by DePuy as a testifying expert in five separate

   Pinnacle cases. (Allen Decl. ¶ 5.) In that role, Dr. Medlin participated in “detail[ed]”

   discussions with DePuy’s litigation attorneys regarding “defense strategies and themes

   regarding corrosion and failure analysis and [p]laintiffs’ theories of DePuy’s liability and

   responses to those theories.” (Id. ¶ 8.) As part of those discussions, DePuy’s litigation

   attorneys “shared with Dr. Medlin [their] confidential and privileged attorney mental

   impressions, and . . . relied on Dr. Medlin’s input and expertise to assist DePuy in

   formulating defense strategies and rebuttal points to [p]laintiffs’ anticipated liability

   theories.” (Id.) And Dr. Medlin’s work was significant – in total, he was compensated at

   least $96,710 for 379 hours of expert services performed on behalf of DePuy in Pinnacle

   litigation. (Id. ¶ 9.) It is undeniable, then, that Dr. Medlin received confidential

   information as part of that earlier retention, and he should be disqualified.




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          Notably, this is not the first time Dr. Medlin has impermissibly violated the

   “bright-line rule,” requiring his disqualification. In Rouviere v. Howmedica Osteonics

   Corp., 496 F. Supp. 3d 811 (S.D.N.Y. 2020), Dr. Medlin sought to provide case-specific

   opinions on behalf of the plaintiffs, even though he had previously been retained by the

   defendant, Howmedica, “to conduct confidential review, testing and analysis of other hip

   implant products in the defense of the Howmedica Litigations.” Id. at 813. The court

   disqualified Dr. Medlin, explaining that “there is no dispute that Howmedica’s

   confidential information was disclosed” and Dr. Medlin “met with Howmedica’s defense

   attorneys on numerous occasions in connection with the Howmedica Litigations and was

   privy to Howmedica’s litigation and trial defense strategies.” Id. at 814. The court

   concluded that “[i]t simply would be unfair and would subvert the integrity of the judicial

   process to permit [Dr. Medlin] to switch sides as he is seeking to do here.” Id.

          The same result is required here. Dr. Medlin received confidential information

   from DePuy during the period in which he was compensated for serving as an expert

   witness for Pinnacle litigation. “[A]llowing [him] to change course in mid-stream would

   offend the notion of fundamental fairness and set a dangerous precedent in mass tort

   litigation.” In re C.R. Bard, 2014 WL 6960396, at *12. Thus, Dr. Medlin should be

   disqualified from serving as plaintiff’s expert witness.7


   7
          During the meet-and-confer process, plaintiff’s counsel argued that the conflict
   was waived because DePuy was untimely in bringing the issue to counsel’s attention.
   But there has been no such delay. This case was dormant and stayed until the September
   16, 2022 scheduling order. Thus, there was no reason for DePuy to assess plaintiff’s
                                                                                          (cont’d)




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                                  169313




                                        CONCLUSION

          For all of the reasons discussed above, and for the reasons outlined in the Allen

   declaration, Dr. Medlin should be disqualified from providing expert testimony for

   plaintiff in the instant case.

          This the 20th day of July, 2023.

                                                    /s/ Dixie T. Wells
                                                    Dixie T. Wells
                                                    N.C. State Bar No. 26816
                                                    ELLIS & WINTERS LLP
                                                    300 N. Greene Street, Suite 800
                                                    Greensboro, NC 27401
                                                    Telephone: (336) 217-4197
                                                    Facsimile: (336) 217-4198
                                                    E-mail: dixie.wells@elliswinters.com

                                                    Robyn S. Maguire
                                                    Barnes & Thornburg LLP
                                                    One Marina Park Drive
                                                    Boston, MA 02210
                                                    Telephone: (617) 316-5316
                                                    Facsimile: (617) 316-5311
                                                    E-mail: rmaguire@btlaw.com

                                                    Attorneys for DePuy Orthopaedics, Inc.
                                                    and Johnson & Johnson Services, Inc.




   expert designations before that point. Moreover, plaintiff knew – or should have known
   – that this conflict existed from the moment he retained Dr. Medlin to serve as an expert
   witness. He cannot now claim that he has been prejudiced by DePuy’s timing in lodging
   its objections about a conflict he knew existed. See, e.g., In re C.R. Bard, 2014 WL
   6960396, at *12 (disqualifying expert and noting “plaintiffs’ counsel was fully aware”
   that a conflict existed, and thus, “[p]laintiffs’ counsel could easily have avoided their
   current predicament”).




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                                  169314




                            CERTIFICATE OF WORD COUNT

          Pursuant to Local Rule 7.3(d), this certifies that the foregoing brief contains fewer

   than 6,250 words (excluding the caption, signature block, and this certificate), as reported

   by counsel’s word processing software.

          This the 20th day of July, 2023.

                                                        /s/ Dixie T. Wells_________
                                                        Dixie T. Wells




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                          EXHIBIT 1




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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


                                                     :
    IN RE DEPUY ORTHOPAEDICS, INC.,                  :      MDL Master Docket No.
    PINNACLE HIP IMPLANT PRODUCTS                    :      3:11-MD-2244-K
    LIABILITY LITIGATION                             :
                                                     :      JUDGE ED KINKEADE
                                                     :
                                                     :

   THIS DOCUMENT RELATES TO:

   Bailey v. DePuy Orthopaedics, Inc.
   Case No. 3:11-cv-02390-K

   Weatherly v. DePuy Orthopaedics, Inc.
   Case No. 3:13-cv-02664-K

   DECLARATION OF DAVID C. ALLEN IN SUPPORT OF MOTION TO DISQUALIFY
           DANA J. MEDLIN, PHD AS AN EXPERT FOR PLAINTIFFS

          Pursuant to 28 U.S.C. § 1746, I, David C. Allen, hereby declare and state as follows:

          1.     My name is David C. Allen. I am an attorney licensed to practice law in the State

   of California. I am a partner with the law firm of Barnes & Thornburg LLP, attorneys for the

   Defendants in this litigation. I provide this Declaration in support of Defendants’ Motion to

   Disqualify Dana J. Medlin, Ph.D., P.E., FASM (“Dr. Medlin”). I am over the age of 18, of sound

   mind, and I have personal knowledge of the matters and facts stated herein unless otherwise

   indicated.

          2.     I began representing DePuy Orthopaedics, Inc., now known as Medical Device

   Business Services, Inc. (“DePuy”) in 2013 in connection with litigation throughout the country,

   including in In Re: DePuy Orthopaedics, Inc., Pinnacle Hip Implant Products Liability Litigation,

   3:11-md-02244-K (the “Pinnacle MDL”).



                                                                                  Appendix 13
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            3.       I have reviewed certain email correspondence, invoices from Dr. Medlin and

   Engineering Systems, Inc., internal memoranda, Dr. Medlin’s expert witness reports served in the

   Pinnacle MDL, Dr. Medlin’s notes provided to Defendants regarding Plaintiffs’ expert witness

   reports and depositions, and certain deposition transcripts in connection with preparing this

   declaration regarding Dr. Medlin’s expert engagement and work with Defendants relating to hip

   implants and the Pinnacle MDL.

            4.       Dr. Medlin’s background is in metallurgy, materials science, and biomedical

   engineering.

            5.       When I began work on the Pinnacle hip litigation, I learned that Dr. Medlin had

   worked as an expert witness for DePuy in the ASR hip litigation. When issues similar to those Dr.

   Medlin handled in the ASR litigation arose in the Pinnacle hip litigation, in 2014 Dr. Medlin was

   retained to serve as a testifying expert witness for DePuy in the Pinnacle MDL. My colleague,

   Stephen Myers, and I were the attorneys primarily responsible for dealings with Dr. Medlin in that

   litigation. Defendants disclosed Dr. Medlin as a specifically retained expert in five cases: Paoli, 1

   Lay, 2 Jones,3 Mello,4 and Rowe.5 Dr. Medlin prepared expert reports6 on behalf of DePuy in four

   of those cases (Paoli, Lay, Jones, and Rowe), and he gave deposition testimony in three (Paoli,

   Lay, and Rowe).7 Mr. Myers and I consulted with Dr. Medlin regarding his expert opinions and

   reports as well as prepared him for his deposition in the Paoli, Lay, and Rowe cases.

            6.       In connection with his expert engagement in the Pinnacle MDL, Dr. Medlin also



   1
     Herlihy-Paoli v. DePuy Orthopaedics, Inc., et al., 3:12-cv-04975-K (N.D. Tex. Oct. 23, 2014).
   2
     Lay et al. v. DePuy Orthopaedics, Inc. et al., 3:11-cv-03590-K (N.D. Tex.).
   3
     Jones et al. v. DePuy Orthopaedics, Inc. et al., 3:11-cv-3594-K (N.D. Tex.).
   4
     Mello et al. v. DePuy Orthopaedics, Inc. et al., 3:12-cv-0641-K (N.D. Tex.).
   5
     Rowe et al. v. Johnson & Johnson, Inc. et al., 3:12-cv-4354-K (N.D. Tex.)
   6
     Defendants are willing to provide Dr. Medlin’s expert reports should the Court deem them helpful to its analysis.
   7
     Paoli was the first Bellwether trial in the Pinnacle MDL and resulted in a defense verdict. The four other cases
   have been resolved and dismissed.




                                                                                                   Appendix 14
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   assisted Defendants by critiquing Plaintiffs’ experts’ volumetric wear analyses of metal-on-metal

   devices and pinpointing flaws in their testing methodology.

           7.       Dr. Medlin performed detailed reviews of Plaintiffs’ expert reports and deposition

   transcripts and assisted me in developing key points of cross-examination for the depositions and

   trial examination of Plaintiffs’ experts. I am in possession of copies of Dr. Medlin’s notes

   comprising his assessment of various Plaintiff expert reports and deposition transcripts, which

   include specific, page-by-page observations that he later discussed with me, Mr. Myers, and other

   counsel for Defendants.8

           8.       Although Dr. Medlin’s expert engagement with Defendants in the Pinnacle MDL

   initially focused on volumetric wear measurements and analysis, as the litigation progressed Dr.

   Medlin’s expert work expanded more broadly to advising Defendants on other metallurgical issues

   involving metal-on-metal hip implants. For example, we discussed in detail defense strategies and

   themes regarding corrosion and failure analysis and Plaintiffs’ theories of DePuy’s liability and

   responses to those theories. During those discussions, I shared with Dr. Medlin my confidential

   and privileged attorney mental impressions, and I relied on Dr. Medlin’s input and expertise to

   assist DePuy in formulating defense strategies and rebuttal points to Plaintiffs’ anticipated liability

   theories. Dr. Medlin also assisted me in evaluating Plaintiffs’ disclosed expert witnesses.

           9.       Based on my review of invoices in my possession, the total compensation paid to

   Dr. Medlin by Defendants from February 2014 – May 2014 was $96,710 (exclusive of expenses),

   representing 379 hours of expert consulting services performed on behalf of Defendants in the

   Pinnacle MDL. There are also likely invoices for Dr. Medlin’s services in the Pinnacle MDL that

   were billed to Helmsing, Leach, Herlon, Newman, and Rouse, P.C., another firm that represented


   8
    Defendants are willing to produce these notes for in camera review should the Court find consideration of these
   materials helpful to its analysis.




                                                                                                  Appendix 15
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   the Defendants. Those invoices are not in my possession.

          I declare under penalty of perjury that the foregoing is true and correct.

          Executed on December 16, 2022.



                                                 /s/ David C. Allen
                                                 David C. Allen




                                                                                       Appendix 16
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                                  169320




                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     CIVIL ACTION NO. 1:23-cv-00134-LCB-JEP

     RICHARD H. WEATHERLY, JR.,

             Plaintiff,
                                                        ORDER GRANTING
     v.                                              DEFENDANTS’ MOTION TO
                                                     DISQUALIFY PLAINTIFF’S
     DEPUY ORTHOPAEDICS, INC. et al.,                 EXPERT DANA MEDLIN

             Defendants.



           This matter comes before the court on Defendants DePuy Orthopaedics, Inc. and

   Johnson & Johnson Services, Inc.’s Motion to Disqualify Plaintiff’s Expert Dana Medlin.

   Having considered the motion and the related briefing, the Court finds, in its discretion,

   that Defendants’ motion should be GRANTED.

           This the ____ day of ___________, 2023.


                                            ____________________________________
                                            LORETTA C. BIGGS
                                            United States District Judge




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                    EXHIBIT H
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                                  169322



                       SUPERIOR COURT OF NEW JERSEY
                       LAW DIVISION, ATLANTIC COUNTY

   IN RE TALC-BASED POWDER                                  Master Docket No.
   PRODUCTS LITIGATION                                       ATL-L-2648-15

                                                          MCL CASE NO. 300
   Applicable to All Cases
                                                      CIVIL ACTION – ORAL
                                                     ARGUMENT REQUESTED

                                                      Motion Day: January 17, 2024


      NOTICE OF MOTION FOR ENTRY OF ORDER TO SHOW CAUSE

         PLEASE TAKE NOTICE that on January 17, 2024, the date of the next case

   management conference, the undersigned counsel will bring Defendants Johnson &

   Johnson and LTL Management LLC’s Motion for Order to Show Cause Why

   Beasley Allen Should Not Be Disqualified From This Litigation. Defendants will

   ask for entry of an Order to Show Cause directing the Beasley Allen law firm to

   show cause why the firm should not be disqualified from representing plaintiffs in

   this litigation. Defendants request that oral argument be held in connection with this

   motion.
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                                  169323



   DATED: December 8, 2023                    Respectfully submitted,

                                                 O’MELVENY & MYERS LLP




                                                 Stephen D. Brody (Pro Hac Vice
                                                 Pending)
                                                 1625 Eye Street NW
                                                 Washington, DC 20006
                                                 Tel.: (202) 383-5300
                                                 sbrody@omm.com

                                                 FAEGRE DRINKER BIDDLE &
                                                 REATH LLP




                                                 Susan M. Sharko
                                                 600 Campus Drive
                                                 Florham Park, NJ 07932
                                                 Tel.: 973-549-7000
                                                 susan.sharko@faegredrinker.com

                                                 Attorneys for Defendants Johnson
                                                 & Johnson and LTL Management
                                                 LLC
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                                  169324



                       SUPERIOR COURT OF NEW JERSEY
                       LAW DIVISION, ATLANTIC COUNTY

   IN RE TALC-BASED POWDER                                    Master Docket No.
   PRODUCTS LITIGATION                                         ATL-L-2648-15

                                                             MCL CASE NO. 300
   Applicable to All Cases
                                                               CIVIL ACTION

                                         ORDER

         Upon consideration of the arguments made by the parties in support of and in

   opposition to Defendants Johnson & Johnson and LTL Management LLC’s Motion

   for Order to Show Cause Why Beasley Allen Should Not Be Disqualified From This

   Litigation, it is hereby ORDERED on this                day of          , 202

         , that the Motion is GRANTED; and it is further

         ORDERED that Beasley Allen shall show cause the firm should not be

   disqualified from representing plaintiffs in this case. Beasley Allen shall show such

   cause within       days of the entry of this order.




                                                         Honorable John C. Porto, J.S.C.
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                                  169325



                       SUPERIOR COURT OF NEW JERSEY
                       LAW DIVISION, ATLANTIC COUNTY

    IN RE TALC-BASED POWDER                                   Master Docket No.
    PRODUCTS LITIGATION                                        ATL-L-2648-15

                                                           MCL CASE NO. 300
    Applicable to All Cases
                                                               CIVIL ACTION

                           DECLARATION OF ERIK HAAS


         I, Erik Haas, hereby declare and state as follows:

         1.     I am over the age of eighteen, of sound mind, and in all respects

   competent to testify. I have personal knowledge of the information contained in

   this Declaration and would testify completely to these facts if called to do so.

         2.     I am Worldwide Vice President, Litigation for Johnson & Johnson

   (“J&J”), a position I have held since November 2020.

         3.     In this position, I became familiar with work performed for J&J by

   attorney James Conlan of the law firm of Faegre Drinker between July 2020 and

   early 2022. I have also reviewed time entries submitted by Mr. Conlan for his

   work representing J&J.

         4.     From July 2020 through early 2022, Mr. Conlan represented J&J as

   part of a team of attorneys evaluating legal strategies for resolution of pending and

   future claims by plaintiffs asserting liability for illnesses allegedly caused by J&J’s

   talc products.
                                              1
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         5.    Billing submitted by Mr. Conlan reflects that, during this period, Mr.

   Conlan billed almost 1,600 hours on the talc matter, including 1,154 hours in 2021

   alone. The records reflect that Mr. Conlan billed J&J $2.24 million for this work.

         6.    Those same billing records show that during this time period, Mr.

   Conlan attended dozens of meetings and phone conferences with members of the

   J&J Law Department, including myself, J&J’s former head of litigation, Joseph

   Braunreuther, former product liability lead John Kim, and current product liability

   head, Andrew White.

         7.    Mr. Conlan’s time entries in the billing records also show that he

   communicated regularly with other members of J&J’s outside counsel team on the

   talc matter throughout the same time period, and in May 2021, met personally as

   J&J’s counsel with the Debtor’s counsel and counsel for the Future Claims

   Representative in the Imerys bankruptcy over rounds of golf, dinner, and drinks.

         8.    At no point did J&J, or any of its officers or agents, waive attorney-

   client privilege as to Mr. Conlan’s representation of the Company.

         9.    Attached as Exhibit 1 is a true and correct copy of an email that Mr.

   Conlan sent to me on August 23, 2022.

         10.   Attached as Exhibit 2 is a true and correct copy of the transcript of

   J&J’s Q3 earnings call, held October 17, 2023.




                                            2
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           11.   Attached as Exhibit 3 is a true and correct copy of an email from Mr.

   Conlan to Johnson & Johnson Treasurer Duane Van Arsdale, dated October 18,

   2023.

           12.   Attached as Exhibit 4 is a true and correct copy of excerpts from the

   transcript of the April 17, 2023 deposition of Andy Birchfield, taken in In re: LTL

   Management LLC, No. 23-12825 (Bankr. D.N.J.).

           13.   Attached as Exhibit 5 is a true and correct copy of a letter from James

   Murdica to Mr. Conlan, dated November 5, 2023.

           14.   Attached as Exhibit 6 is a true and correct copy of a letter and

   attachment from Mr. Conlan to the Johnson & Johnson Board of Directors, dated

   November 9, 2023.

           15.   Attached as Exhibit 7 is a true and correct copy of an email I sent to

   John Gasparovic, copying Mr. Conlan and others, dated November 9, 2023.

           16.   On November 15, 2023, J&J learned that Mr. Conlan and Mr.

   Birchfield were set to appear at a November 29, 2023 symposium hosted by

   Gordon Haskett Research Advisors on “JNJ: Talc Litigation & 3rd Bankruptcy” to

   discuss the “viability” of “J&J’s potential 3rd bankruptcy,” “potential settlement

   issues,” and “how J&J could resolve the litigation outside of bankruptcy.”




                                              3
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                                  169328



   I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed this 8th day of December, 2023.




                                           Erik Haas
                                           Worldwide Vice President, Litigation
                                           Johnson & Johnson




                                             4
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                          EXHIBIT 1
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                                  169330                                 Ex. 1




   From: James Conlan <james.conlan@legacyliability.com>
   Sent: Tuesday, August 23, 2022 11:16 AM
   To: Haas, Erik [JJCUS] <EHaas8@its.jnj.com>
   Subject: [EXTERNAL]
    WARNING: This email originated from outside the company. Do not click on links unless you recognize the
    sender and have confidence the content is safe. If you have concerns about this email, send it as an
    attachment to SuspiciousEmail@ITS.JNJ.COM
   Confidential

   Eric, I hope you're well and enjoying the summer. I'm in NY today through tomorrow afternoon and
   would be delighted to buy you a coffee or a drink.
   I am among those who think the likelihood of plan confirmation/injunction (for solvent non debtor
   affiliates) in a Texas two step bankruptcy case (particularly outside of the asbestos context) has gone
   from low to essentially non existent.
   I would like to talk to you about a dismissal -- with Legacy taking the ownership of LTL and causing an
   indemnity to be issued that would provide J&J and its other affiliates with the best available
   protection -- sufficient to cause your auditors to remove your ASC 450 disclosure relating to
   talc/baby powder. J&J would have to fund LTL with cash in excess of the PV of the tort system value
   of all current and future talc related claims against LTL.
   The capital markets, not the bankruptcy courts, are the answer to achieving closure (current and
   future claims) for solvent mass tort defendants.




   James F. Conlan
   Chief Executive Officer and Co-Founder
   Legacy Liability Solutions
   Bermuda | Dallas | Chicago | Paris
   Email | james.conlan@legacyliability.com
   Mobile | +312.927.7572
   www.legacyliability.com
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                                  169331




                           EXHIBIT 2
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                                  169349




                          EXHIBIT 3
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                                  169350                                 Ex. 3

    From:              James Conlan
    To:                Van Arsdale, Duane [JJCUS]
    Cc:                Douglas Dachille; Doug Dachille; Haas, Erik [JJCUS]; White, Andrew [JJCUS]
    Subject:           [EXTERNAL] Re: Legacy Liability Solution
    Date:              Wednesday, October 18, 2023 4:21:12 AM



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     sender and have confidence the content is safe. If you have concerns about this email, report it by clicking on
     the “Report Suspicious Email” button in the Outlook toolbar above.




   Duane,

   Thank you for your efforts to evaluate our proposal. To further enhance our solution and to
   address potential auditor concerns, Legacy has the support of lead counsel for the OC
   Claimants (including Andy Birchfield) for an MDL opt-in settlement matrix with Legacy that
   will require (and is expected to garner) a 95% opt-in of current OC Claimants. The
   establishment of a settlement matrix should greatly reduce the uncertainty surrounding the
   estimation of future claims and the associated challenges of determining the quantum of
   funding necessary for your auditors to remove the non-cash charge for J&J’s current and
   future talc related liabilities.

   Andy Birchfield, Doug Dachille, and I are prepared to meet with you, and your team, in
   person to share and discuss the terms of such matrix as part of the Legacy acquisition.

   Thank you again for your time and consideration.



   James F. Conlan
   Chief Executive Officer and Co-Founder
   Legacy Liability Solutions
   Bermuda | Dallas | Chicago | Paris
   Email | james.conlan@legacyliability.com
   Mobile | +312.927.7572
   www.legacyliability.com




           On Oct 6, 2023, at 12:43 PM, Van Arsdale, Duane [JJCUS]
           <DVanArs@its.jnj.com> wrote:



           Hi Doug and Jim,

           Thank you for the follow-up note to our discussion a few weeks ago.
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        To close the loop, we have discussed both internally and with our auditors, and at this
        time, we do not have an interest in pursuing this strategy. While unlikely, we will let
        you know if this perspective changes in the future.

        Thanks again for your time and thoughts.

        Duane


        From: Douglas Dachille <ddachille@non-canonical.com>
        Sent: Thursday, September 28, 2023 10:16 PM
        To: Van Arsdale, Duane [JJCUS] <DVanArs@its.jnj.com>
        Cc: James Conlan <james.conlan@legacyliability.com>; Doug Dachille
        <doug.dachille@legacyliability.com>
        Subject: [EXTERNAL] Re: RE:

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         recognize the sender and have confidence the content is safe. If you have concerns about this
         email, report it by clicking on the “Report Suspicious Email” button in the Outlook toolbar above.



        Hi Duane,
        I wanted to thank you for arranging our meeting and for the time you and
        your colleagues afforded Jim and myself to outline the components of a
        transaction which we believe could provide J&J with legal finality to its
        talc liabilities, comparable to what it hoped to achieve through
        bankruptcy.

        As Jim explained, our solution will relieve J&J of both its current and
        future talc liabilities in the tort system, as well as talc-related claims
        made against it by Imerys, Cyprus and other third parties (e.g. retailers).
        It should be noted that bankruptcy would not have resolved direct talc
        claims against affiliates of LTL, but the Legacy Liability solution will.

        To achieve that outcome, Legacy will acquire LTL plus all other legal
        entities in the J&J corporate family that have any current or future talc
        liability in the tort system or contractually. This will require a further
        structural optimization (e.g. divisional merger) of J&J and likely other
        J&J affiliates. Once this additional structural optimization work is
        completed, and Legacy becomes the owner of all J&J entities with talc
        liabilities, J&J will no longer have any liability in the tort system or
        contractually for talc.

        The transfer of ownership of the talc liable entities to Legacy, and the
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        disaffiliation of those entities from J&J, requires that such entities have
        assets at the time of transfer that equal or exceed the best estimate of the
        projected current and future talc claims. By doing so, there can be no
        fraudulent transfer or unlawful dividend. As a closing condition for the
        acquisition transaction by Legacy, J&J auditors must reach the foregoing
        conclusion in order for the ASC 450 non-cash charge to be removed
        from the financial statements of J&J.

        Importantly, any talc claimant who disagrees with the above will lack
        standing to assert any “avoidance” theories, as all talc claims will
        continue to be paid in the ordinary course.

        In addition to the legal construct of our proposed
        transaction, we briefly outlined a number of the other
        considerations - tax, investment management, creditor
        issues, claims management, fees and expenses and the
        use of reinsurance in the form of an adverse
        development cover as a way for J&J to participate in
        the favorable development of claims prospectively
        relative to the original projections which determined
        the funding amount at inception. We would be happy
        to provide additional documentation which
        specifically addresses each of these issues in more
        detail.

        Certainly the most important issues to address with
        respect to our proposal are the legal ones, but the
        relevant legal conclusions are quite clear. Please
        contact either Jim or myself if there is any additional
        information we can provide to assist with the internal
        vetting process that our proposal provides J&J finality
        with respect to all of its talc-related liabilities.
        Regards,
        Doug
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                                  169353                                 Ex. 3


        From: Van Arsdale, Duane [JJCUS] <DVanArs@its.jnj.com>
        Sent: Monday, August 21, 2023 6:12 PM
        To: Douglas Dachille <ddachille@non-canonical.com>
        Cc: James Conlan <james.conlan@legacyliability.com>; Haas, Erik [JJCUS]
        <EHaas8@its.jnj.com>; White, Andrew [JJCUS] <AWhite23@ITS.JNJ.com>; Rockaway,
        Darlene [JJCUS] <DRockawa@its.jnj.com>
        Subject: RE:

        Hi Doug,

        Thanks for the note and nice to meet you as well. I have copied Erik Haas and Andrew
        White who will also join the discussion.

        I will ask Darlene (copied here) to coordinate and propose a few dates for us to get
        together in the near future. We’ll be back in touch shortly.

        Thank you,
        Duane


        From: Douglas Dachille <ddachille@non-canonical.com>
        Sent: Monday, August 21, 2023 4:41 PM
        To: Huffines, Robert <robert.huffines@jpmorgan.com>
        Cc: Van Arsdale, Duane [JJCUS] <DVanArs@its.jnj.com>; James Conlan
        <james.conlan@legacyliability.com>
        Subject: [EXTERNAL] Re:

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         recognize the sender and have confidence the content is safe. If you have concerns about this
         email, report it by clicking on the “Report Suspicious Email” button in the Outlook toolbar above.


        Thank you Robert for the introduction.

        Duane,

        Nice to meet you. Jim and I would we happy to meet with you in person at your earliest
        convenience.

        Best regards,
        Doug

        Sent from my iPad


               On Aug 21, 2023, at 4:18 PM, Huffines, Robert
               <robert.huffines@jpmorgan.com> wrote:
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 6 of 6 Trans ID: LCV20233584887
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             Duane - As I mentioned to you and Joe I’d like to introduce you to Doug &
             James.

             Over to you all to connect.

             Thanks. Let me know if I can be of help.

             Robbie

             Sent with BlackBerry Work
             (www.blackberry.com)

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                                  169356                     Ex. 4 - EXCERPT


                                                                          Page 1

   1
   2         UNITED STATES BANKRUPTCY COURT OF NEW JERSEY
                           Case No. 23-12825
   3       - - - - - - - - - - - - - - - - - x
           In re:                              :
   4                                           :
           LTL MANAGEMENT LLC,                 :
   5                                           :
                                     Debtor, :
   6       - - - - - - - - - - - - - - - - - -x
           LTL MANAGEMENT LLC,                 :
   7                                           :
                                 Plaintiff,    :
   8                                           :
                       v.                      :
   9                                           :
           THOSE PARTIES LISTED ON APPENDIX A :
 10        TO COMPLAINT and JOHN AND JANE DOES:
           1-1000,                             :
 11                                            :
                                  Defendants. :
 12        - - - - - - - - - - - - - - - - - -x
 13                                          April 17, 2023
                                             1:12 p.m.
 14                                          7 Times Square
                                             New York, NY
 15
 16
 17
 18
 19
 20                   VIDEOTAPED AND REMOTE DEPOSITION UPON
 21        ORAL EXAMINATION OF ANDY BIRCHFIELD, ESQ., held
 22        at the above-mentioned time and place, before
 23        Randi Friedman, a Registered Professional
 24        Reporter, within and for the State of New York.
 25

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                                                                          Page 2

   1                               A. Birchfield, Esq.
   2       APPEARANCES:
   3                  OTTERBOURG, P.C.
                      Attorneys for Proposed counsel for the
   4                  official committee of talc claimants
   5                  230 Park Avenue
                      New York, New York 10169
   6
                            BY:    RICHARD G. HADDAD, ESQ.
   7
   8
                            GOLOMB SPIRT GRUNFELD
  9                         Attorneys for TCC
 10                         1835 Market Street, Suite 2900
                            Philadelphia, Pennsylvania 19103
 11
                            BY:    RICHARD M. GOLOMB, ESQ.
 12
 13
                            LEVIN PAPANTONIO RAFFERTY
 14                         Attorneys for William Henry
 15                         316 South Baylen Street
                            Pensicola, Florida 32502
 16
                            BY:    CHRISTOPHER V. TISI, ESQ.
 17
 18
                            BEASLEY ALLEN
 19                         Attorneys for Alishia Landrum
 20                         218 Commerce Street
                            Montgomery Alabama 36104
 21
                            BY:    LEIGH O'DELL, ESQ.
 22
 23
 24
 25        (Appearances continued.)

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                                                                          Page 3

   1                       A. Birchfield, Esq.
   2       (Appearances continued.)
   3                  COHEN, PLACITELLA & ROTH
                      Attorneys for Estate of Kimberly
   4                  Naranjo
   5                  127 Maple Avenue
                      Red Bank, New Jersey 07701
   6
                            BY:    CHRISTOPHER PLACITELLA, ESQ.
   7
   8
                            JOHNSON & JOHNSON
  9                         Attorneys for Johnson & Johnson
 10                         1 Johnson & Johnson Plaza
                            New Brunswick, New Jersey 08933
 11
                            BY:    ERIC HAAS, ESQ.
 12
 13
                            SKADDEN ARPS SLATE MEAGHER & FLOM, LLP
 14                         Attorneys for LTL Management
 15                         One Manhattan West
                            New York, New York 10001
 16
                            BY:    ALLISON BROWN, ESQ.
 17
 18
                            WHITE & CASE, LLP
 19                         Attorneys for Johnson & Johnson
 20                         555 South Flower Street, Sute 2700
                            Los Angeles, California 90071
 21
                            BY:    GREGORY STARNER, ESQ.
 22                                KATHRYN KUETHMAN, ESQ.
 23
 24
 25        (Appearances continued.)

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                                                                          Page 4

   1                                 A. Birchfield, Esq.
   2       (Appearances continued.)
   3
                             KLEHR HARRISON HARVEY BRANZBURG, LLP
   4                         Attorneys for Andy Birchfield, Esq.
   5                         10000 Lincoln Drive East, Suite 201
                             Marlton, New Jersey 08053
   6
                             BY:     CAROL ANN SLOCUM, ESQ.
   7
                                             * * *
   8
   9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20        ALSO PRESENT:
 21                          Paul Baker - Videographer
                             Jerry Curran - Concierge
 22                          Ted Meadows, Esq.
                             Jim Murdica, Esq.
 23
 24
 25

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                                                                          Page 5

   1                                A. Birchfield, Esq.
   2                                   STIPULATIONS
   3                       IT IS HEREBY STIPULATED AND AGREED, by
   4       and among counsel for the respective parties
   5       hereto, that the filing, sealing and
   6       certification of the within deposition shall be
   7       and the same are hereby waived;
   8                       IT IS FURTHER STIPULATED AND AGREED
   9       that all objections, except as to form of the
 10        question, shall be reserved to the time of the
 11        trial;
 12                        IT IS FURTHER STIPULATED AND AGREED
 13        that the within deposition may be signed before
 14        any Notary Public with the same force and effect
 15        as if signed and sworn to before the Court.
 16                                         * * *
 17
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                                                                           Page 6

   1                            A. Birchfield, Esq.

   2                           MR. VIDEOGRAPHER:          Good afternoon.     13:12:46

   3              We are going on the record at 1:12 p.m.                     13:12:47

   4              Eastern Daylight Time on Monday, April 17th,                13:12:51

   5              2023.                                                       13:12:54

   6                           Please note that the microphones               13:12:56

   7              are sensitive and may pick up whispering and                13:12:58

   8              private conversation.         Please mute all               13:13:02

   9              cellphones at this time.                                    13:13:04

  10                           This is Media Unit 1 of the                    13:13:05

  11              video-recorded deposition of Andy Birchfield                13:13:06

  12              in the matter of LTL Management LLC, filed                  13:13:08

  13              in the United States Bankruptcy Court,                      13:13:13

  14              District of New Jersey, Case No. 23-12825.                  13:13:14

  15              This deposition is being held at Brown                      13:13:21

  16              Rudnick LLP, located at 7 Times Square, New                 13:13:23

  17              York, New York.                                             13:13:26

  18                           My name is Paul Baker and I am the             13:13:28

  19              videographer.      The court reporter is Randi              13:13:29

  20              Friedman, and we are both from Veritext.                    13:13:31

  21              Appearances have been noted on the                          13:13:34

  22              stenographic record.                                        13:13:36

  23                           Will the court reporter please                 13:13:38

  24              swear in the witness.                                       13:13:47

  25                                                                          13:13:47

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                                                                           Page 7

   1                             A. Birchfield, Esq.

   2                                  * * *                                   13:13:47

   3                            ANDY BIRCHFIELD, the witness                  13:13:47

   4              herein, having been duly sworn, was examined                13:13:47

   5              and testified as follows:                                   13:13:47

   6                                  * * *                                   13:13:47

   7                                EXAMINATION                               13:13:47

   8       BY MR. HAAS:                                                       13:13:47

   9              Q      Mr. Birchfield, good afternoon.                      13:13:48

  10              A      Good afternoon.                                      13:13:50

  11              Q      My name is Eric Haas, on behalf of                   13:13:50

  12       Johnson & Johnson.        We've met before; correct?               13:13:53

  13              A      Yes.                                                 13:13:56

  14              Q      Mr. Birchfield, you're a lawyer;                     13:13:56

  15       right?                                                             13:13:58

  16              A      Yes.                                                 13:13:58

  17              Q      Are you affiliated with any law firm?                13:13:59

  18              A      Beasley Allen Law Firm in Montgomery,                13:14:01

  19       Alabama.                                                           13:14:03

  20              Q      Any other law firms?                                 13:14:05

  21              A      No.                                                  13:14:06

  22              Q      Mr. Birchfield, which of the Beasley                 13:14:08

  23       Allen partners have been involved in talc                          13:14:10

  24       litigation or recovery of talc-related claims                      13:14:14

  25       against Johnson & Johnson or its affiliation?                      13:14:18

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                                                                                 Page 8

   1                               A. Birchfield, Esq.

   2               A       You're going to test my memory here.                    13:14:22

   3       Certainly Leigh O'Dell and Ted Meadows.                     We have     13:14:24

   4       had over the course of the last nine years, had a                       13:14:27

   5       number of law partners that have been involved as                       13:14:34

   6       well.       David Dearing, Ryan Beatty.                We've had a      13:14:36

   7       former law partner, Daniel Mason Ward, was                              13:14:42

   8       involved.       Maybe other law partners that have                      13:14:46

   9       been involved as well, but those are the ones                           13:14:52

  10       that I can think of off the top of my head.                             13:14:55

  11               Q       Okay.     Thank you.                                    13:14:57

  12                       When I refer to talc-related                            13:14:58

  13       litigation or talc claims or talc litigation,                           13:15:00

  14       I'll be referring to the talc litigation against                        13:15:03

  15       Johnson & Johnson and its affiliates; okay?                             13:15:07

  16               A       Yes.                                                    13:15:10

  17               Q       How many individuals with talc claims                   13:15:10

  18       do you and/or Beasley Allen currently represent?                        13:15:13

  19               A       It would be approximately 11,300.                       13:15:19

  20               Q       Now, Mr. Birchfield, of any of those                    13:15:32

  21       11,300 individuals, are any of them claimants who                       13:15:35

  22       have not yet filed their claims in any court?                           13:15:42

  23               A       Yes.     There would be roughly -- my                   13:15:46

  24       best understanding is approximately 100 that                            13:15:52

  25       would have been -- would have been retained                             13:15:55

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                                                                           Page 9

   1                             A. Birchfield, Esq.

   2       and -- during the time of the pendency of                         13:16:00

   3       bankruptcy, and not filed.                                        13:16:03

   4              Q      Why were they not filed?                            13:16:06

   5              A      Because of the pendency of the                      13:16:07

   6       bankruptcy.                                                       13:16:08

   7              Q      In other words, because there was an                13:16:09

   8       automatic stay --                                                 13:16:10

   9              A      Automatic stay.                                     13:16:11

  10              Q      -- that precluded you from filing                   13:16:11

  11       those claims?                                                     13:16:14

  12              A      Yes.                                                13:16:14

  13              Q      Okay.     Of the 11,300 claims that                 13:16:15

  14       Beasley Allen represents, how many of those have                  13:16:23

  15       been filed in the multi-district litigation                       13:16:26

  16       pending in New Jersey?                                            13:16:29

  17              A      I couldn't give you a precise number.               13:16:33

  18       Approximately 5,000.                                              13:16:35

  19              Q      So of the 11,200 claims that are                    13:16:47

  20       filed --                                                          13:16:51

  21              A      Let me back up.                                     13:16:52

  22              Q      Would you like to correct that?                     13:16:54

  23              A      I think it would probably be closer to              13:16:55

  24       6,000.     My best estimate.                                      13:16:57

  25              Q      Okay.     So of the 11,200 claims that              13:17:03

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   1                                A. Birchfield, Esq.

   2       you said are filed, how many of those --                          13:17:06

   3               A        No.     I'm sorry.                               13:17:10

   4               Q        Okay.                                            13:17:11

   5               A        So you asked how many claimants we               13:17:12

   6       represent.                                                        13:17:14

   7               Q        Right.     And you said --                       13:17:14

   8               A        11,300.                                          13:17:15

   9               Q        Okay.                                            13:17:17

  10               A        And you asked how many cases we have             13:17:18

  11       that would be ready to be filed or would be filed                 13:17:22

  12       if -- but for the stay, and that's approximately                  13:17:24

  13       100.        You know, there are -- you know, there are            13:17:28

  14       additional claims that are unfiled claims, but                    13:17:31

  15       would not be -- would not necessarily be cases to                 13:17:34

  16       be filed, you know, in the immediate term.                        13:17:37

  17               Q        What is the distinction you're making            13:17:42

  18       between claims that are not files and claims that                 13:17:45

  19       are not ready to be filed in the immediate near                   13:17:48

  20       term?                                                             13:17:51

  21                              MS. SLOCUM:       I'm going to object      13:17:51

  22               and instruct the witness to the extent it                 13:17:53

  23               calls for work product, don't answer the                  13:17:54

  24               question.                                                 13:17:57

  25                              THE WITNESS:       I will follow the       13:18:03

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                                                                         Page 11

   1                             A. Birchfield, Esq.

   2              advice of my counsel.                                      13:18:04

   3       BY MR. HAAS:                                                      13:18:04

   4              Q      Okay.     So let me just be clear then.             13:18:05

   5       Of the 11,300 claims that you testified that                      13:18:08

   6       Beasley Allen represents, how many of those have                  13:18:14

   7       not yet been filed with any court?                                13:18:17

   8              A      So there would be approximately, you                13:18:21

   9       know, 5,000 claims that are -- that are unfiled                   13:18:23

  10       claims.                                                           13:18:28

  11              Q      So of the 5,000 that are unfiled, 100               13:18:31

  12       have not been filed due to the automatic stay?                    13:18:36

  13              A      Right.                                              13:18:39

  14              Q      And the remaining 4,900 are not filed               13:18:39

  15       for some other reason?                                            13:18:45

  16              A      Correct.                                            13:18:46

  17              Q      Do those 4,900 other claims constitute              13:19:01

  18       viable claims?                                                    13:19:06

  19                          MS. SLOCUM:       Objection.      Instruct     13:19:08

  20              the witness to the extent it requires work                 13:19:09

  21              product to be divulged, do not answer the                  13:19:12

  22              question.                                                  13:19:16

  23                          MR. HAAS:      There has been                  13:19:17

  24              extensive inquiry about claims in this                     13:19:18

  25              litigation by the group that Mr. Birchfield                13:19:21

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   1                             A. Birchfield, Esq.

   2              is a part, so I am inquiring as to which                   13:19:24

   3              claims are viable claims and fall within the               13:19:27

   4              bucket of claims that he believes are                      13:19:30

   5              associated with his views of the case.                     13:19:37

   6                          MS. SLOCUM:       And that requires him        13:19:39

   7              to disclose work product, his analysis of                  13:19:40

   8              the claims and -- or his firm's analysis and               13:19:43

   9              determination of what is viable.                           13:19:47

  10       BY MR. HAAS:                                                      13:19:49

  11              Q      Mr. Birchfield, let me ask it this                  13:19:49

  12       way:                                                              13:19:51

  13                     Do the 4,900 claims that are not filed              13:19:52

  14       for some other reason other than the automatic                    13:19:56

  15       stay represent claims that are not supportive LTL                 13:19:57

  16       bankruptcy claims?                                                13:20:08

  17              A      Okay.     Let me -- a couple of things I            13:20:09

  18       need to correct there.                                            13:20:11

  19                     First of all, in regards to the -- you              13:20:13

  20       know, the 4,900, I was giving you approximate                     13:20:15

  21       numbers.                                                          13:20:19

  22                     In regards to, you know, an LTL plan,               13:20:20

  23       I haven't seen an LTL plan.            I have seen, you           13:20:24

  24       know, the term sheet that has been proposed, and,                 13:20:29

  25       you know, I'm not aware of any of the -- any of                   13:20:35

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                                                                         Page 13

   1                             A. Birchfield, Esq.

   2       those claims that, you know, would be outside of                  13:20:40

   3       what is -- what's referenced in that -- in the                    13:20:44

   4       term sheet.     But, you know, I would not -- I                   13:20:48

   5       would not recommend filing some of the types of                   13:20:54

   6       claims that are referenced in the term sheet.                     13:20:57

   7              Q      Okay.     So let me try walking through             13:21:05

   8       this one more time, see if we understand what                     13:21:08

   9       we're talking about here.                                         13:21:10

  10                     So you have 11,300 claims that you                  13:21:11

  11       contend that Beasley Allen represents; correct?                   13:21:14

  12              A      Yes.                                                13:21:18

  13              Q      Of those, 6,000 claims are actually                 13:21:20

  14       filed in the MDL?                                                 13:21:22

  15              A      Approximately.                                      13:21:24

  16              Q      5,000 are unfiled claims?                           13:21:25

  17              A      Correct, approximately.                             13:21:28

  18              Q      Of the 5,000, 100 are claims that you               13:21:30

  19       say would be filed but for the automatic stay?                    13:21:33

  20              A      Right.                                              13:21:36

  21              Q      And the other 4,900 balance represents              13:21:37

  22       claims that you are not sure whether or not they                  13:21:41

  23       would be filed?                                                   13:21:45

  24              A      That's correct.        I mean, first of all,        13:21:48

  25       I am not personally reviewing these cases and                     13:21:53

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                                                                          Page 14

   1                           A. Birchfield, Esq.

   2       making these decisions, so there are lawyers at                   13:21:57

   3       Beasley Allen that review these cases.               There's      13:22:01

   4       staff that collect the medical records.               So I'm      13:22:04

   5       not -- I'm not personally reviewing these 5,000                   13:22:07

   6       cases and making decisions.                                       13:22:11

   7              Q      So focusing on the 4900 claims, has                 13:22:13

   8       anyone at Beasley Allen reviewed those claims and                 13:22:17

   9       determined whether they will be filed?                            13:22:20

  10                          MS. SLOCUM:       Objection.      I'm going    13:22:21

  11              to again instruct not to answer based on                   13:22:22

  12              work product.                                              13:22:25

  13                          MR. HAAS:      It's a question of              13:22:25

  14              whether.    I'm not getting into any                       13:22:26

  15              attorney-client privilege or work product                  13:22:28

  16              information.     Has anyone done it, so let's              13:22:29

  17              start --                                                   13:22:32

  18                          MS. SLOCUM:       No.     You asked            13:22:33

  19              whether anybody has determined them to be                  13:22:34

  20              viable.    That was your question.                         13:22:36

  21                          MR. HAAS:      I didn't ask that.              13:22:39

  22       BY MR. HAAS:                                                      13:22:39

  23              Q      Has anyone done an analysis to                      13:22:40

  24       determine whether they can be filed?                              13:22:42

  25              A      So for all of the cases that Beasley                13:22:46

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                                                                             Page 15

   1                             A. Birchfield, Esq.

   2       Allen has, you know, has taken in, we would -- we                    13:22:50

   3       would obtain medical records, we would do an                         13:22:55

   4       evaluation, you know, of those claims.                  And that     13:22:59

   5       would have been done for the vast majority of                        13:23:05

   6       those claims.      I cannot say that it has been done                13:23:08

   7       for every claim.        If we got a case in last week,               13:23:11

   8       you know, it may not have happened.                  But for the     13:23:15

   9       vast majority of the claims, we have -- we                           13:23:17

  10       obtained the medical records and we're in the                        13:23:23

  11       process of evaluating those claims.                                  13:23:25

  12              Q      Okay.     So to circle back, you have as               13:23:27

  13       of this time 6,100 claims that you have                              13:23:32

  14       determined that will or have been filed in court?                    13:23:38

  15              A      Approximately.        I'm giving you                   13:23:46

  16       approximate numbers.                                                 13:23:47

  17              Q      Approximately.        Okay.      6,100.     Okay.      13:23:48

  18                     Now starting with the very first claim                 13:23:53

  19       that Beasley Allen was engaged with respect to,                      13:23:58

  20       when was that?                                                       13:24:02

  21              A      If you want a precise date, I can't                    13:24:06

  22       give you that.                                                       13:24:08

  23              Q      Round terms.                                           13:24:09

  24              A      I believe that to have been in the                     13:24:11

  25       2013 time frame.                                                     13:24:13

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                                                                          Page 16

   1                             A. Birchfield, Esq.

   2              Q      Okay.     You indicated that there are               13:24:16

   3       approximately 6,000 claims in the MDL.               By what       13:24:20

   4       time frame had Beasley Allen been retained with                    13:24:25

   5       respect to those 6,000 claims?                                     13:24:28

   6              A      Well, it would have been -- it would                 13:24:32

   7       have been before October of '21.               I can't say.    I   13:24:35

   8       can't say when the last case was retained and was                  13:24:39

   9       filed in the MDL, but I know it would have been                    13:24:43

  10       before October of '21.                                             13:24:45

  11              Q      And just for a general sense,                        13:24:47

  12       Mr. Birchfield, what was the time frame in which                   13:24:49

  13       you acquired those 6,000 claims between 2013 and                   13:24:52

  14       2021, in general terms?                                            13:24:56

  15              A      I really can't answer that question.                 13:25:03

  16              Q      When were the majority of the claims                 13:25:04

  17       obtained by?                                                       13:25:08

  18              A      I can't answer that question.            We have     13:25:09

  19       been taking, you know, cases, you know, from                       13:25:13

  20       lawyers throughout the -- you know, throughout                     13:25:18

  21       this period, but I can't tell you, you know -- I                   13:25:20

  22       can't tell you, you know, how many were in 2014                    13:25:24

  23       versus '15 versus '16.         I don't know that.                  13:25:27

  24              Q      Did you have the majority of the                     13:25:31

  25       claims by 2018?                                                    13:25:33

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                                                                         Page 17

   1                           A. Birchfield, Esq.

   2               A     I can't say.       Probably, but I can't            13:25:39

   3       give you a definitive answer.                                     13:25:41

   4               Q     Did you have the majority of claims by              13:25:42

   5       2019?                                                             13:25:43

   6               A     Probably so, but I can't say                        13:25:47

   7       definitively.                                                     13:25:49

   8               Q     Did you obtain any claims in '20 and                13:25:50

   9       '21 of the 6,000 that were filed in the MDL?                      13:25:51

  10               A     I can't say definitively, but I would               13:25:57

  11       certainly think so.                                               13:25:59

  12               Q     So is it fair to say that you obtained              13:26:03

  13       the majority of the claims that have been filed                   13:26:05

  14       in the MDL by no later than 2019?                                 13:26:07

  15                          MS. SLOCUM:       Objection.                   13:26:10

  16                          THE WITNESS:        When you say               13:26:11

  17               "majority," I mean, you're talking about                  13:26:12

  18               more than 50 percent, I would just have to                13:26:14

  19               guess, but I would think most of those cases              13:26:18

  20               had been retained by then, but I don't know               13:26:22

  21               definitively.                                             13:26:24

  22       BY MR. HAAS:                                                      13:26:25

  23               Q     So with respect to the 6,000 claims                 13:26:28

  24       that have been filed in the MDL, those cases are                  13:26:31

  25       currently stayed; correct?                                        13:26:36

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   1                            A. Birchfield, Esq.

   2              A      Yes.                                                13:26:38

   3              Q      They have been since October 2021;                  13:26:38

   4       correct?                                                          13:26:40

   5              A      Except for a very brief --                          13:26:41

   6              Q      Two hours?                                          13:26:43

   7              A      Yes.                                                13:26:43

   8              Q      And you're aware from your                          13:26:45

   9       participation in the MDL that in September of                     13:26:47

  10       2020, Judge Wolfson ordered the formation of --                   13:26:51

  11       an administration of a common benefit fund for                    13:26:54

  12       the payment of fees and expenses incurred in                      13:26:58

  13       connection with the MDL correct?                                  13:27:01

  14              A      I'm aware that a common benefit fee                 13:27:03

  15       order was entered.        I couldn't give you the date.           13:27:06

  16              Q      Sometime around the September 2020                  13:27:11

  17       time frame?                                                       13:27:13

  18              A      I don't dispute that.            I don't know.      13:27:16

  19              Q      It was sometime before the LTL                      13:27:18

  20       bankruptcy was commenced in October of 2021;                      13:27:21

  21       correct?                                                          13:27:24

  22              A      Yes.                                                13:27:24

  23              Q      And you're generally familiar with the              13:27:25

  24       terms of that agreement?                                          13:27:27

  25              A      Yes.                                                13:27:28

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                                                                         Page 19

   1                             A. Birchfield, Esq.

   2              Q      Okay.     So pursuant to the common                 13:27:29

   3       benefit order that Judge Wolfson entered, up to                   13:27:36

   4       12 percent of any amount recovered on talc claims                 13:27:39

   5       in the MDL is assigned to a common benefit;                       13:27:42

   6       right?                                                            13:27:47

   7              A      Could be, yes.        My understanding is           13:27:48

   8       it's -- 10 percent fee is 2 percent cost.                         13:27:51

   9              Q      Right.     So let's say, for example, in            13:27:55

  10       the MDL, if the settlement was obtained for                       13:27:58

  11       $8.9 billion, the common benefit fund would be up                 13:28:02

  12       to $1.068 billion, which is 12 percent; right?                    13:28:07

  13                          MS. SLOCUM:       Objection.      You're       13:28:12

  14              asking him to speculate as to a settlement                 13:28:12

  15              in the MDL which did not occur.                            13:28:15

  16                          MR. HAAS:      I'm asking him to               13:28:18

  17              answer the question of whether or not he                   13:28:19

  18              would agree that if there's a settlement in                13:28:20

  19              the MDL, which is a gross recovery amount in               13:28:21

  20              the MDL, up to 12 percent of that would go                 13:28:25

  21              into the common benefit fund, and that                     13:28:30

  22              number is, I'll represent for the record, is               13:28:32

  23              1.068 billion.                                             13:28:33

  24                          MS. SLOCUM:       Objection.      The          13:28:38

  25              court's order states what it is, okay.                     13:28:39

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   1                           A. Birchfield, Esq.

   2                          MR. HAAS:      No.     If you want to           13:28:42

   3              object, object.      If you want to instruct him            13:28:43

   4              not to answer, do so.                                       13:28:45

   5       BY MR. HAAS:                                                       13:28:46

   6              Q      Answer the question.                                 13:28:47

   7              A      When you say up to that amount, I                    13:28:48

   8       would agree with that.         It would not be that                13:28:50

   9       amount because there are -- there were different                   13:28:53

  10       provisions where firms could agree early on and                    13:29:00

  11       there would be a lesser percentage.                  So it's not   13:29:04

  12       12 percent across the board.                                       13:29:07

  13              Q      You're referring to, let's say,                      13:29:08

  14       Paragraph 24 of the order, which states that if                    13:29:09

  15       you participate early on, the contribution                         13:29:11

  16       percentage would be 8 percent, not 12 percent;                     13:29:15

  17       right?     Is that what you're referring to?                       13:29:19

  18              A      I'm not sure of the paragraph.               I       13:29:20

  19       didn't review it, you know -- I didn't review it                   13:29:22

  20       for this deposition.        I'm not disputing that.                13:29:26

  21       I'm talking to you in terms of -- I'm testifying                   13:29:28

  22       in terms of in my general understanding of the                     13:29:31

  23       common benefit.                                                    13:29:34

  24              Q      So your general understanding is that                13:29:36

  25       the range of fees that could be contributed to                     13:29:38

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   1                               A. Birchfield, Esq.

   2       the common benefit fund is anywhere from                                  13:29:41

   3       8 percent to 12 percent of the gross recovery                             13:29:44

   4       amount, depending upon whether or not the                                 13:29:48

   5       individual firms were early participation or not?                         13:29:51

   6               A       Yes.                                                      13:29:56

   7               Q       So that would be anywhere between                         13:29:56

   8       $712 million or $1.068 billion for 8.9 gross                              13:29:58

   9       recovery amount; right?                                                   13:30:05

  10               A       I'm trusting your math.                I can't do         13:30:08

  11       that in my head.                                                          13:30:11

  12               Q       Okay.                                                     13:30:11

  13               A       Not quickly, anyway.                                      13:30:12

  14               Q       And that gross recovery amount that is                    13:30:14

  15       put into the common benefit fund is then provided                         13:30:19

  16       to those firms that provide common benefit work                           13:30:25

  17       product for the MDL; correct?                                             13:30:30

  18               A       As a general rule, you know, that is                      13:30:34

  19       true.       I mean, typically what would happen when a                    13:30:36

  20       court enters a common benefit assessment award                            13:30:39

  21       like this, then there would be, you know, a                               13:30:42

  22       determination, you know, at the back end about,                           13:30:45

  23       you know, the amount -- the amount of the overall                         13:30:50

  24       pot, the overall common benefit fund amount.                        And   13:30:54

  25       then that amount would be overseen by, you know,                          13:31:00

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   1                             A. Birchfield, Esq.

   2       an Article III judge to determine, you know, what                 13:31:04

   3       is an appropriate, you know, allocation of those                  13:31:07

   4       funds.     And that's -- you know, that is the                    13:31:09

   5       typical way, you know, that from my experience                    13:31:13

   6       the common benefit fees are -- you know, are                      13:31:16

   7       handled.                                                          13:31:19

   8                     So the first determination is, okay,                13:31:19

   9       the order is entered, and the order is entered                    13:31:22

  10       to -- you know, as an approximation of what would                 13:31:25

  11       be necessary, the court at the end would                          13:31:29

  12       determine if that is appropriate, and if so, then                 13:31:34

  13       begin the allocation process among the lawyers                    13:31:37

  14       who did the work on behalf of the other                           13:31:39

  15       claimants.                                                        13:31:42

  16              Q      And the allocation of that amount                   13:31:45

  17       among the lawyers that did the work depends upon                  13:31:47

  18       what common benefit work they did; correct?                       13:31:51

  19              A      Yes.                                                13:31:54

  20              Q      Okay.     And the plaintiff steering                13:31:54

  21       committee that's in the MDL is tasked with the                    13:31:58

  22       responsibility of identifying who should do that                  13:32:02

  23       common benefit work; right?                                       13:32:04

  24              A      As a general -- as a general                        13:32:06

  25       principle, yes.                                                   13:32:08

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   1                           A. Birchfield, Esq.

   2              Q       And Beasley Allen sits on that                     13:32:09

   3       plaintiff steering committee; correct?                            13:32:11

   4              A       Correct.                                           13:32:13

   5              Q       And Beasley Allen to date, you would               13:32:14

   6       agree with me, has performed the vast majority of                 13:32:19

   7       the common benefit work product incurred,                         13:32:22

   8       according to Beasley Allen, the largest                           13:32:24

   9       percentage of the common benefit expenses; right?                 13:32:28

  10                          MS. SLOCUM:       Objection.      That's       13:32:30

  11              requiring work product.                                    13:32:32

  12                          MR. HAAS:       No, it's not.      It's a      13:32:35

  13              fact.                                                      13:32:36

  14       BY MR. HAAS:                                                      13:32:36

  15              Q       Go ahead, you can answer.                          13:32:37

  16                          MS. SLOCUM:       Objection still              13:32:38

  17              stands.                                                    13:32:38

  18       BY MR. HAAS:                                                      13:32:39

  19              Q       You can answer.                                    13:32:39

  20              A       I'm not trying to avoid or be evasive              13:32:42

  21       here in any way.       I mean, has Beasley Allen done,            13:32:46

  22       you know, a substantial amount of the, you know,                  13:32:50

  23       the work in the MDL?        Yes.     Sitting here, me             13:32:53

  24       personally, I cannot give you an answer about how                 13:32:59

  25       much, you know, Beasley Allen has done, you know,                 13:33:01

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                                                                         Page 24

   1                             A. Birchfield, Esq.

   2       versus, you know, Ashcraft & Gerel or Levin                       13:33:05

   3       Papantonio and Mr. Tisi versus Mr. Golomb.               So to    13:33:08

   4       say vast majority, I think, is more than --                       13:33:14

   5       that's farther than I can go at this point.                       13:33:16

   6               Q     Beasley Allen tracks those amounts;                 13:33:18

   7       right?                                                            13:33:20

   8               A     Beasley Allen -- Beasley Allen tracks,              13:33:23

   9       you know, the work that we do for the, you know,                  13:33:26

  10       for the MDL.                                                      13:33:30

  11               Q     Do you provide any reports?                         13:33:31

  12               A     I don't.                                            13:33:33

  13               Q     Do you know whether Beasley Allen                   13:33:34

  14       does?                                                             13:33:35

  15               A     I'm not sure.       I mean, Ms. O'Dell is           13:33:36

  16       co-lead and --                                                    13:33:41

  17               Q     Do you have --                                      13:33:43

  18               A     She's co-lead of the MDL.                           13:33:43

  19               Q     You're the head of the mass torts                   13:33:45

  20       litigation practice at Beasley Allen, are you                     13:33:47

  21       not?                                                              13:33:47

  22               A     I am.                                               13:33:49

  23               Q     Do you have any sense of whether or                 13:33:49

  24       not Beasley Allen has a claim to be the largest                   13:33:50

  25       percentage of the common benefit fund based on                    13:33:54

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   1                             A. Birchfield, Esq.

   2       fees and work done to date?                                           13:33:57

   3              A      That would be the determination of --                   13:34:00

   4       of an Article III judge if it is administered                         13:34:03

   5       through the MDL court.                                                13:34:07

   6              Q      Based upon the work done to date, is                    13:34:09

   7       it Beasley Allen's position that it has                               13:34:11

   8       undertaken the largest percentage of the common                       13:34:16

   9       benefit work and incurred the largest percentages                     13:34:20

  10       of the expenses to date?                                              13:34:23

  11                           MS. SLOCUM:      Objection.           Asked and   13:34:24

  12              answered.                                                      13:34:24

  13                           MR. HAAS:     No, it's not.                       13:34:25

  14       BY MR. HAAS:                                                          13:34:25

  15              Q      You can answer.                                         13:34:26

  16                           MS. SLOCUM:      He did.         He               13:34:26

  17              already --                                                     13:34:27

  18                           MR. HAAS:     That was not asked.            He   13:34:28

  19              can answer.                                                    13:34:29

  20                           MS. SLOCUM:      He answered.                     13:34:30

  21       BY MR. HAAS:                                                          13:34:31

  22              Q      You can answer.        Go ahead.                        13:34:32

  23              A      If you're asking my opinion as we sit                   13:34:33

  24       here today, my opinion is probably so.                                13:34:35

  25              Q      Yeah.                                                   13:34:38

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   1                           A. Birchfield, Esq.

   2              A      But I can't say that definitively.                   13:34:39

   3              Q      You're the lead plaintiff counsel in                 13:34:40

   4       the MDL, aren't you?                                               13:34:40

   5              A      We're co-lead.                                       13:34:43

   6              Q      You're not going to go to the court                  13:34:45

   7       and say, "No, no, no, we're not entitled to the                    13:34:46

   8       biggest percentage"?                                               13:34:48

   9              A      But the difference in what you're                    13:34:51

  10       asking and what I am saying is you're not --                       13:34:52

  11       you're saying are you entitled to that.                            13:34:56

  12              Q      No, I understand the process, that you               13:34:59

  13       have to basically make your submission.              The           13:35:01

  14       ultimate determination is made by the                              13:35:04

  15       administrator.      I get that.        My question is              13:35:06

  16       whether with respect to the work done to date                      13:35:09

  17       that would qualify you in the threshold inquiry                    13:35:10

  18       is whether or not Beasley Allen has done most of                   13:35:15

  19       the work and incurred most of the expenses from                    13:35:17

  20       your perspective.                                                  13:35:19

  21              A      So first of all, it would not be -- in               13:35:24

  22       my view, it would not be an administrator.                 It      13:35:26

  23       would be an Article III judge that would make the                  13:35:29

  24       determination.      And I do think Beasley Allen --                13:35:31

  25       you could take the position that we've done the                    13:35:35

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   1                             A. Birchfield, Esq.

   2       majority of the work.         Probably so.                        13:35:39

   3              Q      If the Article III judge, in your view              13:35:43

   4       as the proper determiner, in the end allocates a                  13:35:44

   5       portion of that 700 million to over a billion                     13:35:50

   6       dollars worth of common benefit fees and expenses                 13:35:55

   7       to Beasley Allen, that would be on top of the                     13:36:01

   8       attorney fees that you otherwise would be                         13:36:03

   9       entitled to get; correct?                                         13:36:05

  10              A      Partially.                                          13:36:10

  11              Q      Because there's a participation                     13:36:13

  12       percentage that you pay?                                          13:36:15

  13              A      Yeah, because part of the fees would                13:36:17

  14       be paid, you know, out of the -- you know, of the                 13:36:18

  15       attorneys' fees portion.           And so a substantial           13:36:22

  16       amount of the, you know, the common benefit, you                  13:36:27

  17       know, fund would be, you know, based on our                       13:36:29

  18       attorneys' fees.        So you cannot -- it would be              13:36:33

  19       inappropriate to say that that is on top of the                   13:36:35

  20       attorneys' fees.                                                  13:36:39

  21              Q      Because under the order you are deemed              13:36:40

  22       a participating attorney or participating counsel                 13:36:42

  23       in the common benefit fund agreement; correct?                    13:36:47

  24              A      Yes.                                                13:36:49

  25                            MS. SLOCUM:     Objection.                   13:36:49

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   1                             A. Birchfield, Esq.

   2       BY MR. HAAS:                                                      13:36:50

   3              Q      So to summarize, Beasley Allen would                13:36:51

   4       be entitled to a share of the common benefit fund                 13:36:56

   5       and a portion of its attorney fees that it                        13:36:59

   6       otherwise charged; right?                                         13:37:04

   7              A      If the court made that determination,               13:37:07

   8       yes.                                                              13:37:09

   9              Q      Okay.     And the fees you otherwise                13:37:10

  10       charge is a 40 percent contingency fee; correct?                  13:37:11

  11              A      As a general rule, that's true.                     13:37:15

  12              Q      Yes.     So it's fair to say that in                13:37:17

  13       terms of the relative economic incentives,                        13:37:23

  14       because Beasley Allen is entitled to those                        13:37:29

  15       amounts from the common benefit fund outside of                   13:37:32

  16       bankruptcy, but not entitled to those amounts                     13:37:34

  17       inside a bankruptcy, that Beasley Allen has an                    13:37:38

  18       economic incentive to resolve the cases outside                   13:37:41

  19       of bankruptcy; correct?                                           13:37:46

  20                            MS. SLOCUM:     Objection.                   13:37:47

  21                            THE WITNESS:      No.     Our interest --    13:37:48

  22              our interest is getting fair values for our                13:37:54

  23              clients, period.       And that is our goal.         And   13:37:56

  24              I have been steadfast.          I have been                13:38:02

  25              steadfast on the position that we are not --               13:38:06

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   1                           A. Birchfield, Esq.

   2              that I have urged, you know, everyone on our                13:38:09

   3              side and we have -- we have maintained the                  13:38:12

   4              position we are not going to have the common                13:38:15

   5              benefit, you know, fee issue become a                       13:38:18

   6              barrier to getting reasonable resolution,                   13:38:21

   7              fair values for our clients.                                13:38:26

   8       BY MR. HAAS:                                                       13:38:27

   9              Q      We'll come back to that in a moment,                 13:38:27

  10       but you understand that as a general matter in                     13:38:29

  11       bankruptcy you would not be entitled to any                        13:38:34

  12       portion of a common benefit fund that you would                    13:38:36

  13       be entitled outside of bankruptcy; correct?                        13:38:39

  14              A      No, I do not.                                        13:38:42

  15                          MS. SLOCUM:       Object.         The witness   13:38:44

  16              is not here to testify to bankruptcy law.                   13:38:45

  17                          MR. HAAS:      He can answer the                13:38:47

  18              question.    If you want to instruct him not                13:38:47

  19              to answer --                                                13:38:49

  20                          MS. SLOCUM:       Don't answer the              13:38:50

  21              question.                                                   13:38:50

  22       BY MR. HAAS:                                                       13:38:51

  23              Q      Is it your view, Mr. Birchfield, that                13:38:51

  24       as a general proposition you are entitled to the                   13:38:53

  25       common benefit fee in bankruptcy?                                  13:38:56

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   1                             A. Birchfield, Esq.

   2                            MS. SLOCUM:     Objection.      Again,       13:38:59

   3               I'll instruct the witness not to answer.                  13:39:00

   4               He's not here to testify as to --                         13:39:02

   5                            MS. O'DELL:     Please don't                 13:39:06

   6               interrupt.                                                13:39:07

   7                            MR. HAAS:     I understand he has his        13:39:07

   8               motivation for participating or not                       13:39:08

   9               participating in the proposed                             13:39:10

  10               reorganization, and that's what I'm                       13:39:12

  11               inquiring as to.                                          13:39:16

  12       BY MR. HAAS:                                                      13:39:16

  13               Q       You can answer the question.                      13:39:16

  14                            MS. SLOCUM:     No.     I'm instructing      13:39:17

  15               the witness not to answer.           He's not here to     13:39:17

  16               testify as to bankruptcy law on a plan that               13:39:20

  17               hasn't been filed.                                        13:39:22

  18                            MR. HAAS:     A plan has been filed.         13:39:23

  19       BY MR. HAAS:                                                      13:39:28

  20               Q       Again, Mr. -- I'll ask it one more                13:39:28

  21       time.       If your counsel is going to instruct you              13:39:33

  22       not to answer, we can address it later.               I           13:39:34

  23       usually ask at least three times.               If I don't get    13:39:37

  24       it on the third time, I move on.                                  13:39:39

  25               A       I can't answer.      You said you wanted          13:39:41

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   1                            A. Birchfield, Esq.

   2       notwithstanding the fact that Beasley Allen has                   15:58:32

   3       litigated on behalf of talc claimants for                         15:58:35

   4       decades, you have never record a dime for talc                    15:58:37

   5       claimants in litigation; correct?                                 15:58:40

   6                           MS. SLOCUM:      Objection, form.             15:58:42

   7                           THE WITNESS:       We haven't litigated       15:58:43

   8              for decades; okay.        The litigation is                15:58:44

   9              approximately ten years.           That's a decade.        15:58:51

  10              So that is true, but it's not decades.                     15:58:52

  11              And -- but we have not -- you know, J&J has                15:58:57

  12              not -- has not settled with Beasley Allen                  15:59:00

  13              any of our claims.                                         15:59:06

  14       BY MR. HAAS:                                                      15:59:09

  15              Q      And you have lost every single one of               15:59:10

  16       the cases you tried, either at trial or on                        15:59:11

  17       appeal; correct?                                                  15:59:13

  18              A      No.    That's a mischaracterization.           I    15:59:15

  19       mean, when you -- when you say that, you know,                    15:59:17

  20       that a verdict is vacated on personal                             15:59:23

  21       jurisdictional grounds, that is not losing on the                 15:59:26

  22       merits.    Those are still valid claims.                          15:59:28

  23              Q      Mr. Birchfield, in the entire                       15:59:30

  24       decade plus time --                                               15:59:34

  25                           MR. PLACITELLA:         Referee.   One        15:59:36

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                                                                        Page 143

   1                            A. Birchfield, Esq.

   2              we get reasonable compensation.               Reasonable   16:26:46

   3              values for our clients.                                    16:26:49

   4       BY MS. BROWN:                                                     16:26:51

   5              Q      Sure, and I understand your position.               16:26:51

   6       I'm just talking about kind of what has happened                  16:26:52

   7       to date, and you would believe that to date,                      16:26:55

   8       every client whose case Beasley Allen has taken                   16:26:57

   9       to a trial has gone home with $0 --                               16:27:02

  10                           MS. SLOCUM:      Objection.                   16:27:05

  11       BY MS. BROWN:                                                     16:27:06

  12              Q      -- right?                                           16:27:07

  13                           MS. SLOCUM:      Asked and answered,          16:27:08

  14              like, about 15 times now.                                  16:27:08

  15                           THE WITNESS:       So Beasley Allen --        16:27:10

  16              for the cases that have gone to trial, none                16:27:12

  17              of those -- you know, none of the verdicts,                16:27:14

  18              the favorable verdicts, none of those have                 16:27:16

  19              been paid.     None of the defense verdicts                16:27:19

  20              have been paid.      So it is true there have              16:27:21

  21              been no payments on the 11 or 12 plaintiffs                16:27:24

  22              that Beasley Allen represents that have gone               16:27:29

  23              to trial to date.                                          16:27:31

  24       BY MS. BROWN:                                                     16:27:32

  25              Q      I want to ask you some questions, sir,              16:27:33

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   November 5, 2023

   Mr. James Conlan
   Legacy Liability Solutions LLC
   161 N. Clark Street, Suite 1700
   Chicago, IL 60601


                    RE: Bloomberg Law

   Dear Jim:

            I write on behalf of Johnson & Johnson (“J&J”) to express concern regarding the
   confidentiality of J&J’s legal strategy known to you and learned by you in a privileged attorney-
   client relationship with J&J. As you know, while a partner at Faegre Drinker Biddle Reath
   (“FDBR”) in 2020 and 2021, you represented J&J and LTL Management, Inc. (“LTL”) regarding
   strategies for resolution of its talc liabilities, including various bankruptcy options and proposed
   structural optimizations. Indeed, you attended—with me—many high level meetings with J&J in-
   house counsel regarding talc bankruptcy and settlement strategies in addition to weekly strategy
   calls with J&J in-house and outside counsel. There can be little doubt that the content shared and
   discussed during all of these meetings is privileged, and accordingly protected from disclosure.

             It has come to J&J’s attention that on November 2, 2023 Bloomberg published an article
   you wrote entitled “Time to Ditch the Texas Two-Step for a New Mass Tort Strategy.” In that
   article, you discuss the LTL bankruptcy and what “the companies believed” certain strategies
   would accomplish. With respect to LTL, you learned this information through the attorney-client
   relationship with J&J. Moreover, you also wrote that a resolution strategy you recommended as
   J&J legal counsel and in which you assisted executing as J&J counsel is “a disaster,” and that a
   service marketed by your new business enterprise “is the right answer.”

           While we appreciate that you would like to promote your post-legal career business
   ventures—and, indeed, J&J met with you regarding those ventures two months ago—J&J requests
   you leave J&J and LTL out of any future publications. You learned highly privileged information
   about J&J and LTL strategies from the attorney-client relationship. And while publicly
   disparaging your own legal strategies that you recommended to J&J might be permissible if J&J
   or LTL were not included in the article, J&J believes that criticizing your former client for
   implementing a strategy you recommended as their counsel is not appropriate either.
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   Mr. James Conlan
   Legacy Liability Solutions, LLC
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            Please cease and desist from further similar publications, and be mindful of the highly
   confidential and strategic information you learned from J&J while in an attorney-client
   relationship.

                                                              Sincerely,
                                                              S  ce e y,,



                                                              JJim
                                                                im Murdica
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                                   169399                                 Ex. 7

    From:             Haas, Erik [JJCUS]
    To:               John Gasparovic
    Cc:               Van Arsdale, Duane [JJCUS]; White, Andrew [JJCUS]; James F. Conlan; doug.dachille@legacyliability.com; John
                      J. Gasparovic; Forminard, Elizabeth [JJCUS]
    Subject:          RE: [EXTERNAL] Re: Legacy Proposal
    Attachments:      image001.png


    John,

    Please cease any further communications with our executives, and direct any further
    correspondence concerning your proposals to my attention.

    Also, our outside counsel has provided notice to Mr. Conlon regarding his conflicting positions and
    disclosure of attorney client privileged communications in breach of his ethical obligations. We
    expect that he will respect his duties going forward.

    Best regards, Erik


    From: John Gasparovic <jjgasparovic@gmail.com>
    Sent: Thursday, November 9, 2023 10:48 AM
    To: joaquinduato <joaquinduato@its.jnj.com>; jduato@its.jnj.com; Jduato2@its.jnj
    Cc: Van Arsdale, Duane [JJCUS] <DVanArs@its.jnj.com>; Haas, Erik [JJCUS] <EHaas8@its.jnj.com>;
    White, Andrew [JJCUS] <AWhite23@ITS.JNJ.com>; James F. Conlan
    <james.conlan@legacyliability.com>; doug.dachille@legacyliability.com; John J. Gasparovic
    <john.gasparovic@legacyliability.com>
    Subject: [EXTERNAL] Re: Legacy Proposal


    Mr. Duato,

    Please see the attached proposal.




    John J. Gasparovic
    Executive Chairman
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    Email | john.gasparovic@legacyliability.com
    Mobile | +1.330.573.7781
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                      SUPERIOR COURT OF NEW JERSEY
                      LAW DIVISION, ATLANTIC COUNTY

    IN RE TALC-BASED POWDER                              Master Docket No.
    PRODUCTS LITIGATION                                   ATL-L-2648-15

                                                        MCL CASE NO. 300

                                                          CIVIL ACTION

                                                   Motion Day: January 17, 2024



      DEFENDANTS JOHNSON & JOHNSON AND LTL MANAGEMENT
      LLC’S MOTION FOR ORDER TO SHOW CAUSE WHY BEASLEY
     ALLEN SHOULD NOT BE DISQUALIFIED FROM THIS LITIGATION


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                                                 & Johnson and LTL Management
                                                 LLC
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                                       INTRODUCTION

          Our adversarial system does not work if one side’s lawyers obtain privileged

   and confidential information from the other’s former counsel. Where plaintiffs’

   counsel forms an alliance with one of defendants’ former attorneys to pursue

   strategies directly adverse to the defendants in the very same matter, there is only

   one remedy that will restore fairness and the integrity of the judicial process:

   disqualification of plaintiffs’ counsel, in this case the Beasley Allen law firm.

          Because of the seriousness of the allegations, Defendants Johnson & Johnson

   and LTL Management LLC (“LTL”) (collectively, “J&J”) do not bring this motion

   lightly.1 But the facts require it. Attorney James Conlan spent almost 1,600 hours

   as counsel for J&J, working hand-in-hand with J&J’s in-house and outside counsel

   to discuss, debate, and ultimately develop a strategy to bring full and final resolution

   to the talc litigation—including consideration of a resolution through the tort system,

   through the Imerys bankruptcy, and through the LTL bankruptcy.                     After the

   bankruptcy was dismissed and without notice to or consent from J&J, Conlan formed

   an alliance with plaintiffs’ attorney Andy Birchfield of the Beasley Allen firm on a

   strategy for resolving the very same talc litigation—one that is adverse to the path

   J&J is pursuing. In furtherance of that alliance, Birchfield and Conlan have sought




   1
    J&J has submitted a parallel motion in the talc MDL in U.S. District Court for the District of
   New Jersey seeking similar relief on the same basis.
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   to thwart J&J’s on-going efforts to achieve a comprehensive consensual resolution

   of the talc claims, seeking instead to impose billions of dollars of additional costs on

   J&J.

          This new alliance and its effort to influence other members of the plaintiffs’

   bar, the investment community, and the media directly implicates the confidential,

   privileged, and protected information Conlan acquired as one of J&J’s lawyers.

   Conlan was privy to wide-ranging, litigation-driven strategy discussions of the

   strengths, weaknesses, and optimal trial tactics for J&J’s defense of the underlying

   tort cases that gave rise to J&J’s resolution strategies. Any advice or position Conlan

   conveys to, confers about, or considers with Birchfield regarding the resolution of

   those tort cases is necessarily informed by and imbued with J&J’s attorney-client

   and work product communications from the same matter.

          Birchfield entered into his current alliance with Conlan knowing full well that

   Conlan represented J&J in the same matter. In fact, Birchfield was negotiating

   potential resolution of the same cases when Conlan was on the other side of the table

   advising J&J. Accordingly, J&J respectfully requests that this Court issue an order

   requiring Beasley Allen to show cause why the firm should not be disqualified from

   any continued representation of plaintiffs in this litigation.




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                                      BACKGROUND

         A.     Conlan Spends 1,600 Hours On J&J Legal Strategy

         On June 1, 2020, James Conlan joined the law firm Faegre Drinker—which

   was and is J&J’s lead counsel in this matter—as a partner in its finance and

   restructuring practice.2 Within a month, Conlan had begun representing J&J as part

   of a team evaluating legal strategies for resolution of pending and future claims by

   plaintiffs asserting liability for illnesses allegedly caused by talc products.

   Declaration of E. Haas (“Haas Decl.”) ¶ 4. Over the next 20 months, Conlan threw

   himself into the talc cases, spending almost 1,600 hours on the matter and billing

   J&J $2.24 million for his time. This included 1,154 hours in 2021 alone—an

   average of four and a half hours every single workday. Id. ¶ 5.

         Conlan’s work as counsel for J&J touched every strategic option the Company

   considered for resolution of talc claims, including resolution in the tort system, a

   resolution through the Imerys bankruptcy, or proceeding via an internal bankruptcy.

   His involvement was substantial and widespread, even going so far as to meet

   personally as J&J’s counsel with the Debtor’s counsel and counsel for the Future

   Claims Representative in the Imerys bankruptcy over rounds of golf, dinner, and

   drinks in May 2021 during negotiations for resolution through the Imerys


   2
     See Faegre Drinker Welcomes Prominent Restructuring Lawyers James Conlan and Patrick
   Corr, PR Newswire (June 1, 2020), https://www.prnewswire.com/news-releases/faegre-drinker-
   welcomes-prominent-restructuring-lawyers-james-conlan-and-patrick-corr-301068471.html (last
   accessed Dec. 8, 2023).

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   proceeding. Id. ¶ 7. Throughout, Conlan reviewed and, with co-counsel for J&J,

   evaluated numerous communications from Birchfield.

         Conlan’s engagement also included advising J&J regarding the potential

   resolution of talc claims through a bankruptcy filing by LTL, effectuated on October

   14, 2021. As the Court is aware, J&J established LTL as a new subsidiary that would

   be responsible for holding and managing North American legal claims related to the

   Company’s cosmetic talc. By voluntarily filing for Chapter 11 bankruptcy, LTL

   initiated a process designed to resolve these claims in a way that would be reasonable

   for all parties, including current and future claimants. The LTL bankruptcy plan

   gained the support of lawyers representing the vast majority of the plaintiffs with

   pending talc claims, who recognized that it offered not only a fair resolution but also

   a faster outcome than decades of litigation with uncertain results.          Lawyers

   representing a minority of plaintiffs, however, opposed LTL’s bankruptcy, led by

   Andy Birchfield and Beasley Allen. Birchfield’s opposition to LTL’s proposed

   resolution was particularly ironic, insofar as his firm had lost every case it tried

   against LTL and its predecessors. Haas Decl., ¶ 12, Ex. 4. (Tr., Dep. Of A. Birchfield

   (Excerpt), Apr. 17, 2023 (“Birchfield Dep.”), at 130:14-22, 143:5-23). Nonetheless,

   Birchfield took his opposition all the way to the Third Circuit and managed to defeat

   the bankruptcy plan, denying recovery to the tens of thousands of talc plaintiffs who

   wanted to see the plan proceed.


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         In 2021, in the run-up to LTL’s bankruptcy filing, Conlan attended dozens of

   meetings and participated in innumerable phone conferences with J&J’s Worldwide

   Vice President for Litigation, Erik Haas, former head of litigation, Joseph

   Braunreuther, and other counsel working for J&J on the talc litigation. Id. ¶ 6. Those

   meetings and phone conferences included former J&J product liability lead John

   Kim, who became LTL’s Chief Legal Officer upon its formation, and J&J’s current

   product liability head, Andrew White. Id. Conlan also communicated regularly with

   those team members via email and participated in and was privy to myriad

   communications with J&J’s other outside counsel. Id. ¶ 7. Indeed, during this

   period, Conlan traveled across the country to attend meetings with J&J’s outside

   attorneys, from New York to Miami to Los Angeles. All told, as a fully integrated

   member of the legal team evaluating J&J’s options for resolution of talc liabilities,

   Conlan participated in analysis and discussion of the Company’s objectives with in-

   house and outside counsel for more than a year and a half, worked on the talc matter

   almost daily, and engaged in countless confidential, attorney-client communications.

         B.     Conlan Launches A Business Venture And Becomes Adverse To
                J&J
         Conlan left Faegre Drinker in 2022 to launch a business venture called Legacy

   Liability Solutions LLC (“Legacy”), where he serves as Chief Executive Officer.

   Legacy describes itself as a company that “is able to advise, acquire restructured




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   liability-tainted companies, and manage the liabilities for decades to come.”3

   Notwithstanding his move from the private practice of law to head of a liability

   acquisition and management firm, Conlan owes the duties that all attorneys owe to

   former clients. Absent informed consent from the client, “[a] lawyer who has

   [formerly] represented a client in a matter shall not thereafter represent another

   [person] in the same or a substantially related matter in which that [person]’s

   interests are materially adverse to the interests of the former client.” N.J. RPC 1.9(a).

   Nor can a lawyer who has formerly represented a client in a matter “use information

   relating to the representation to the disadvantage of the former client” or “reveal

   information relating to the representation.” Id. 1.9(c)(1)-(2).

          Flouting these ethical boundaries, Conlan sought to inject his new firm and

   business model into J&J’s ongoing effort to resolve its talc liabilities. Conlan first

   reached out to pitch his new business directly to J&J in August 2022, Haas Decl. ¶

   9, Ex. 1 (Aug. 23, 2022 email), and thereafter repeatedly sought to convince J&J that

   Legacy should acquire and manage LTL or affiliated entities holding liability for

   present and future talc claims—but only after J&J funded the entities with what

   Legacy felt would be sufficient capital to cover the potential liabilities. Id. ¶ 14, Ex.

   6 (Conlan letter to J&J Board). Legacy, Conlan proposed, would then invest and



   3
    How We Help, Legacy Liability Solutions, LLC, https://www.legacyliability.com/ (last
   accessed Dec. 3, 2023).

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   administer that money to settle talc claims within the tort system, to Legacy’s

   substantial financial benefit. Id.

         Conlan’s proposal was of no interest to J&J, which continued to believe—and

   still believes—that the bankruptcy process offers the fairest, most efficient

   resolution. After LTL’s initial bankruptcy plan was dismissed, LTL refiled for

   voluntary Chapter 11 protection earlier this year. Once again, Birchfield and

   Beasley Allen, representing a small minority of talc claimants, raised objections.

   Their opposition again led to dismissal in July 2023, denying recovery to the more

   than 60,000 current claimants whose counsel supported the plan, which would have

   made $8.9 billion available to resolve talc liabilities.

          During the Company’s third-quarter earnings call on October 17, 2023, Haas

   reiterated J&J’s intention to pursue resolution through the bankruptcy process, by

   both appealing the dismissal of LTL’s second bankruptcy case and, separately,

   “working with the counsel[] representing the vast majority of the talc claimants …

   [to] pursu[e] a consensual resolution of the talc claims through another bankruptcy.”

   Id. ¶ 10, Ex. 2 (Oct. 17, 2023 earnings call transcript). Whether it stemmed from

   this reiteration of J&J’s intended path forward or some other motive, Conlan doubled

   down on his determination to undermine the Company’s effort. He would now

   partner with the primary opponent of the LTL bankruptcy plan: Birchfield and the

   Beasley Allen firm.


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         C.     Conlan Explicitly Allies Himself With A J&J Adversary

         The day after the earnings call, Conlan emailed J&J Treasurer Duane Van

   Arsdale and revealed that “Legacy has the support of lead counsel for the [ovarian

   cancer] claimants (including Andy Birchfield) for an MDL opt-in settlement matrix

   with Legacy.” Id. ¶ 11, Ex. 3 at 1 (Oct. 18, 2023 Conlan email to Van Arsdale)

   (emphasis added). Conlan told Van Arsdale that “[t]he establishment of a settlement

   matrix should greatly reduce the uncertainty surrounding the estimation of future

   claims and the associated challenges of determining the quantum of funding

   necessary for your auditors to remove the non-cash charge for J&J’s current and

   future talc related liabilities.” Id. In other words, Conlan—unbeknownst to J&J—

   had been actively discussing a resolution of J&J’s talc liabilities with Birchfield that

   sought to have J&J fund potential liabilities based on a matrix Conlan and Birchfield

   had jointly developed. That settlement matrix was the basis for what Conlan

   ultimately revealed as the amount he would require for his Legacy proposal: a

   minimum of $19 billion, or more than $10 billion above what the majority of current

   talc plaintiffs had agreed was a fair resolution just this year.

         There is no disguising Birchfield’s economic interest in joining Conlan and

   supporting the Legacy proposal. Birchfield and Beasley Allen, as opposed to the

   MDL and MCL plaintiffs they represent, stand to make more money if claims are

   resolved by Legacy through the tort system than through the LTL bankruptcy plan.



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   During a deposition taken in the second LTL bankruptcy proceeding, Birchfield

   acknowledged that if the LTL bankruptcy resolution went forward, the Plaintiffs’

   Steering Committee would lose the ability to control a share of the $8.9 billion

   through the MDL common benefit fund. Birchfield Dep. at 18:8-25; see also Case

   Mgmt. Order No. 7(A) (“CMO 7(A)”), In re: Johnson & Johnson Talcum Powder

   Prods. Mktg., Sales Pracs. & Prods. Liab. Litig., 3:16-md-2738-MAS-RLS, ECF

   No. 14741.

         Under CMO 7(A), 8-12% of gross talc settlement amounts for clients of

   participating counsel must be deposited in the common benefit fund, and that money

   is then to be allocated to the firms that performed common benefit work. Birchfield

   Dep. at 20:24-22:19. CMO 7(A) provides that it is intended to “avoid unnecessary

   conflicts and expense, conserve judicial resources, and expedite the disposition of

   all cases by enabling the coordination of this multidistrict litigation (MDL) with

   cases separately pending in state courts that are also litigation claims involving”

   J&J cosmetic talc products. CMO 7(A) at 1 (emphasis added). The Order applies

   to all “claims of any of the ovarian cancer clients of any counsel who,” like Beasley

   Allen, have signed a participation agreement, “whether [the] case was filed, unfiled

   or tolled, including cases filed in state court.” Id. at 4 (emphasis added); see also

   Birchfield Dep. at 27:21-24.




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         Notably, the federal MDL Plaintiffs’ Steering Committee “is tasked with the

   responsibility of identifying who should do that common benefit work,” id. at 22:20-

   23:4, which in turn determines how much Beasley Allen will take from the common

   benefit fund. In the case of the $8.9 billion LTL bankruptcy plan, Beasley Allen

   would lose its share of between $712 million and $1.068 billion that would go into

   the common benefit fund if the money were part of a settlement outside the

   bankruptcy process. Id. at 21:7-13. For the $19 billion demanded by Conlan and

   Birchfield for the Legacy proposal, Beasley Allen would stand to gain a substantial

   share of $1.52 billion to $2.28 billion diverted from settling plaintiffs into the

   common benefit fund. And save for a participation percentage Beasley Allen

   contributes as participating counsel, the common benefit fund payments would be

   on top of the 40% contingency fee the firm charges to its clients directly. Birchfield

   Dep. at 28:9-11. In Conlan, Birchfield sees a windfall for Beasley Allen—an

   opportunity to join forces with a lawyer who spent 1,600 hours representing J&J in

   the exact matter for which Birchfield seeks to undermine J&J’s preferred resolution.

   And under CMO 7(a), the windfall sought by Beasley Allen is inextricably tied to

   the firm’s representation of plaintiffs in this MCL due to its interest in obtaining tort

   system settlement money paid to the common benefit fund by participating counsel

   in this MCL.




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          D.     Conlan And Beasley Allen Take Aim At J&J In A Coordinated
                 Media Campaign

          The joint effort to accomplish Beasley Allen’s objectives continued when

   Conlan recently authored an opinion piece in Bloomberg, “Time to Ditch the Texas

   Two-Step for a New Mass Tort Strategy.” The November 2, 2023 article argued

   that J&J’s effort to use the bankruptcy process to provide a fair and efficient

   resolution of talc claims was a “spectacular” “failure” that had “polluted the dialogue

   about the legitimate interest of a public company in obtaining ‘finality’ with respect

   to both current and future claims, and plaintiffs’ legitimate interest to have their

   claims determined or settled in the tort system and paid in full.” 4 Conlan insisted

   that “[s]tructural optimization and disaffiliation of the liable entities”—exactly what

   he was pitching to J&J—was “the right answer for everyone.” Id. The article

   identified Conlan only as Legacy’s CEO and a “former Sidley Austin restructuring

   chair,” omitting any mention of Conlan’s time as a partner at Faegre Drinker, where

   he spent 1,600 hours representing J&J in the talc matter after leaving Sidley Austin.

   He did, however, use the Bloomberg platform to explain “what the companies

   believed” they would gain by pursuing a resolution through the bankruptcy process,

   showing no reticence about offering insights into the thinking of his former client.




   4
    Conlan, James, Time to Ditch the Texas Two-Step for a New Mass Tort Strategy, Bloomberg Law
   (Nov. 2, 2023), https://news.bloomberglaw.com/us-law-week/time-to-ditch-the-texas-two-step-
   for-a-new-mass-tort-strategy-1 (last accessed Dec. 3, 2023).

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          Birchfield immediately endorsed Conlan’s commentary in a news release

   issued the same day and also published by Bloomberg, stating his opinion that

   “[p]laintiffs’ lawyers in talc-related ovarian cancer cases share Mr. Conlan’s

   concerns that the Texas Two-Step has ‘polluted’ the narrative.”5 He went on to state

   that Conlan’s scheme “should be appealing,” because plaintiffs’ lawyers “share [Mr.

   Conlan’s] vision of a win-win solution where claimants can pursue their claims in

   the tort system.” Id.

          Conlan’s and Birchfield’s orchestrated effort to push their agenda did not

   escape J&J’s attention.       On November 5, 2023, J&J’s outside counsel James

   Murdica wrote to Conlan to “express concern regarding the confidentiality of J&J’s

   legal strategy known to you and learned by you in a privileged attorney-client

   relationship with J&J.” Haas Decl., ¶ 13, Ex. 5 at 1 (Nov. 5, 2023 letter from J.

   Murdica to J. Conlan). Murdica reminded Conlan that, as a Faegre Drinker partner,

   Conlan had represented both J&J and LTL “regarding strategies for resolution of

   [their] talc liabilities, including various bankruptcy options and proposed structural

   optimization.” Id. As Murdica emphasized, Conlan “attended—with me—many

   high level meetings with J&J in-house counsel regarding the talc bankruptcy and

   settlement strategies in addition to weekly strategy calls with J&J in-house and


   5
        https://www.bloomberg.com/press-releases/2023-11-02/key-lawyer-in-johnson-johnson-talc-
   litigation-supports-call-to-rethink-legal-strategies-in-light-of-failure-of-texas-two-step (last
   accessed Dec. 3, 2023).

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   outside counsel. There can be little doubt that the content shared and discussed

   during all of these meetings is privileged, and accordingly protected from

   disclosure.” Id.

         None of these facts deterred Conlan or Birchfield. Just four days after he

   received Murdica’s letter, Conlan wrote to J&J to attach the $19 billion price tag to

   the “settlement matrix” he had developed with Beasley Allen’s support. Haas Decl.,

   ¶ 14, Ex. 6 (Nov. 9, 2023 Conlan letter and exhibit). In the letter, Conlan told J&J

   that “Leading Counsel in the MDL have agreed to support an opt-in settlement with

   Legacy, post-acquisition, on the terms described in the accompanying matrix.” Id.

   at 2. Conlan continued, “Leading Counsel in the MDL believe the matrix settlement

   will enjoy 95% plus opt in,” id., a fact that could only be known from Conlan’s

   communications with his former adversary Birchfield.

         J&J responded by email to Legacy’s Executive Chairman John Gasparovic,

   copying Conlan, advising that J&J’s outside counsel had provided notice to Conlan

   “regarding his conflicting positions and disclosure of attorney client privileged

   communications in breach of his ethical obligations.” Haas Decl., ¶ 15, Ex. 7 (Nov.

   9, 2023 Haas email). J&J further emphasized that the Company expected Conlan to

   respect his duties to J&J, his former client, going forward. Id.

         But Conlan and Birchfield remain undeterred. Just six days later, J&J learned

   that Gordon Haskett Research Advisors would host a symposium in New York on


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   “JNJ: Talc Litigation & 3rd Bankruptcy” on November 29, 2023. Id. ¶ 16. The

   symposium was to feature “two experts”—none other than James Conlan and Andy

   Birchfield—to discuss the “viability” of “J&J’s potential 3rd bankruptcy,” “potential

   settlement issues,” and “how J&J could resolve the litigation outside of bankruptcy,”

   id., the outcome they have jointly pursued.

                                       ARGUMENT

         This Court should issue an order requiring Beasley Allen to show cause why

   the firm should not be disqualified from this litigation. Show cause orders are an

   accepted part of New Jersey practice where the circumstances warrant. See Grewal

   v. Atl. Coast House Lifting Ltd. Liab. Co., 2019 WL 3229747, at *5 (N.J. Super. Ct.

   App. Div. July 18, 2019) (explaining that a show cause order is appropriate where a

   party is seeking “any ‘form of emergent, temporary, interlocutory, or other form of

   interim relief’”). Here, the circumstances warrant an inquiry as to the requisite relief

   required to address Beasley Allen’s alliance with J&J’s former counsel, Conlan.

         A court considering disqualification must “balance the need to maintain the

   highest standards of the legal profession against a client’s right freely to choose

   counsel.” Dewey v. R.J. Reynolds Tobacco Co., 109 N.J. 201, 205 (1988); see also,

   e.g., Dental Health Assocs. S. Jersey, P.A. v. RRI Gibbsboro, LLC, 471 N.J. Super.

   184, 192 (App. Div. 2022). Although important, “a person’s right to retain counsel

   of his or her choice is limited,” Dewey, 109 N.J. at 218, and must give way when



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   ethical considerations demand. “Therefore, if there be any doubt as to the propriety

   of an attorney’s representation of a client, such doubt must be resolved in favor of

   disqualification.” Estate of Kennedy v. Rosenblatt, 447 N.J. Super. 444, 451 (App.

   Div. 2016) (quotations and alteration omitted).

         One ethical consideration demanding disqualification is where opposing

   counsel is in receipt of their adversary’s confidential information. See id. at 452

   (noting that some of “[t]he highest standards of the profession” are “the maintenance

   of client confidentiality and the need to ensure that protected client information is

   not used to the detriment of a former client”). Although no Rule of Professional

   Conduct explicitly speaks to the precise situation here—an alliance between a

   client’s former attorney and its now adversary—several Rules illustrate the

   overarching principle that disqualification should be required in these circumstances.

         Litigation Adversaries. Start with Rule 4.4(b). That Rule provides that a

   lawyer who inadvertently receives a document or communication that contains

   privileged lawyer-client communications involving an adverse party shall not read

   the document, must notify the lawyer, and then needs to return or delete the

   document. The manifest purpose of this rule is to “safeguard confidential” and

   privileged information and to prevent it from falling into the client’s adversary’s

   hands without the client’s consent. Sanchez v. Macquest Getinge Grp., 2018 WL

   2324679, at *4 (N.J. Super. Ct. App. Div. May 23, 2008) (affirming disqualification


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   for violation of RPC 4.4). That purpose applies a fortiori here. Whether Conlan

   communicated J&J’s confidences to Birchfield orally or in writing, it would be

   unconscionable to allow his firm to continue to represent plaintiffs in this litigation

   if (as seems highly likely based on the facts known to J&J) the firm is in possession

   of—and can use in this litigation—J&J’s utmost confidences without J&J’s consent.

         The most basic conflict of interest rules, see RPC 1.7, are designed with this

   same concern in mind: one significant risk in allowing unconsented conflicts of

   interest is “that the lawyer will use confidences of one client to benefit the other.”

   N.J. Div. of Child Prot. & Permanency v. G.S., 447 N.J. Super. 539, 564 (App. Div.

   2016).

         Former Clients. The same considerations likewise animate ethical duties to

   former clients. Rule 1.9(a) provides that a lawyer who has represented a client

   cannot represent another client in the same or a substantially related matter in which

   the former and current client’s interests are materially adverse, without the former

   client’s informed consent. As with the rules above, the obvious purpose of this Rule

   is to prevent the attorney from using the former client’s confidences against it.

   Indeed, that purpose is expressly reflected in the test for determining whether the

   two matters are substantially related: a matter is substantially related if “the lawyer

   from whom disqualification is sought received confidential information from the

   former client that can be used against that client in the subsequent representation.”


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   City of Atlantic City v. Trupos, 201 N.J. 448, 452 (2010). There is no principled

   reason why it should matter that the “side-switching” attorney is not formally aligned

   against his former client on the docket if the same protected information is being

   non-consensually passed to an attorney who is.

         Rules 1.9(b) and (c) reflect the same concern. Rule 1.9(b) provides that a

   lawyer shall not represent a client in a substantially related matter if his former firm

   represented a client with adverse interests and the lawyer acquired the former client’s

   confidential information. See also RPC 1.10(b) (imputing conflicts to firm on

   similar grounds). Likewise, Rule 1.9(c) prohibits a lawyer who formerly represented

   a client from using his former client’s confidences to the client’s disadvantage or

   revealing that information. In all of these cases, the animating concern is that a client

   should not be disadvantaged by its disclosure of confidential information without

   consent. Any contrary conclusion would chill clients from disclosing confidential

   information with their attorneys, thus harming the profession.

         Prospective Clients. The principle that “information obtained from a client”

   should not be used “to the detriment of that client,” Kennedy, 447 N.J. Super. at 453,

   even extends to prospective clients. Rule 1.18(b) “precludes any representation of a

   client with interests materially adverse to those of a former prospective client in the

   same or a substantially related matter if the information acquired from the former

   prospective client could be significantly harmful to that person in the matter.”


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   Greebel v. Lensak, 467 N.J. Super. 251, 257 (App. Div. 2021) (quotations omitted).

   The express concern reflected in this rule is the possibility that “the disclosed

   information could be used against,” id. at 259, the one-time prospective client to its

   detriment.

                                     *       *     *

         All of these provisions “underscore the principle that an attorney may not use

   information obtained from a client to the detriment of that client,” Kennedy, 447 N.J.

   Super. At 453, whether that client is a current client, former client, or former

   prospective client. By its logic, that principle should also apply where, although the

   attorneys in question never had a relationship with the client, they form an alliance

   with and gain information from an attorney who has. Indeed, is impossible to

   “conceive of any situation” in which it would be permissible for an attorney “to

   continue representation if” the attorney “had acquired confidential information

   concerning” his adversary’s “affairs.” Dewey, 109 N.J. at 220; see also O’Gara

   Coach Co., LLC v. Ra, 30 Cal. App. 5th 1115, 1126-27 (2019) (“A lawyer and his

   or her law firm may also be disqualified for intentionally making use of an opposing

   party’s confidential information acquired through improper means.”) (citing Clark

   v. Super. Ct., 196 Cal. App. 4th 37, 55 (2011) (noting “disqualification is proper as

   a prophylactic measure to prevent future prejudice to the opposing party from

   information the attorney should not have possessed”)); Cordy v. Sherwin-Williams


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   Co., 156 F.R.D. 575, 584 (D.N.J. 1994) (A party’s “interest in a trial free from the

   risk that confidential information will be used against him and the public’s interest

   in the integrity of the judicial process itself demand[ed]” disqualification.); Mgmt.

   Registry, Inc. v. A.W. Cos., 2021 WL 2434119, at *3 (D. Minn. June 15, 2021)

   (“[C]ourts must guard against the risk that a party's own confidential information

   could be used against it unfairly.”).

         Here, there is no question that Conlan possesses J&J’s client confidences.

   After all, he billed J&J for 1,600 hours working on strategies to resolve its talc

   liabilities. It is likewise without question that Birchfield and Beasley Allen knew

   Conlan possessed those confidences, having been on the opposing side and directly

   adverse to Conlan in the talc litigation and negotiations seeking to resolve the very

   liabilities that Conlan addressed in his 1,600 hours of work for J&J. In formulating

   and collaborating in a business venture designed to resolve those liabilities—and in

   pitching it to lawyers representing parties directly adverse to J&J—it is impossible

   that client confidences would not have passed from Conlan to Birchfield and his

   firm. Indeed, the fact that J&J’s current adversary is working closely with its former

   attorney on the very subject of its former attorney’s representation cuts to the heart

   of the adversarial nature and integrity of these proceedings. Those considerations

   require that Beasley Allen be disqualified from the talc litigation.




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          That said, J&J recognizes that disqualification of Beasley Allen is not a

   decision that this Court can take lightly. See Dental Health Assocs., 471 N.J. Super.

   at 192.       But that is yet another reason a show cause order should issue.

   Disqualification and discipline issues are, by nature, “fact-sensitive,” so it is

   essential for courts faced with these issues to amass as complete a factual picture as

   possible. Dewey, 109 N.J. at 220. A show cause order will allow the Court to do

   just that. The facts currently known to J&J clearly demand an explanation.

                                     CONCLUSION
          Accordingly, J&J respectfully requests that this Court issue an order requiring

   Beasley Allen to show cause why the firm should not be disqualified from this

   litigation.



   DATED: December 8, 2023                Respectfully submitted,




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                                         Attorneys for Defendants Johnson &
                                         Johnson and LTL Management LLC




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                            CERTIFICATE OF SERVICE

         I hereby certify that true and correct copies of the Notice of Motion for

   Entry of Order to Show Cause, Defendants Johnson & Johnson and LTL

   Management LLC’s Motion for Order to Show Cause Why Beasley Allen Should

   Not Be Disqualified From This Litigation with supporting Declaration and

   accompanying exhibits, and Proposed Order were served electronically via eCourts

   on December 8, 2023.

                                          By:   /s/ Susan M. Sharko
                                                Susan M. Sharko
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                     EXHIBIT I
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                                                                   SUPERIOR COURT OF NEW JERSEY
                                                                   LAW DIVISION, CIVIL PART
                                                                   MIDDLESEX COUNTY
                                                                   DOCKET NOS. MID-L-1809-17
                                                                               MID-L-0932-17
                                                                               MID-L-7049-16
                                                                               MID-L-6040-17
                                                                   APP. DIV. NO.

                     DOUGLAS BARDEN and ROSLYN BARDEN,
                     et al.,
                                               Plaintiffs,
                              v.
                     BRENNTAG NORTH AMERICA, INC.,
                     INDIVIDUALLY AND AS SUCCESSOR-IN-
                     INTEREST TO MINERAL PIGMENT
                     SOLUTIONS, INC. AS SUCCESSOR-IN-
                     INTEREST TO WHITTAKER CLARK &
                     DANIELS, INC.; BRENNTAG SPECIALTIES,
                     INC., F/K/A MINERAL PIGMENT
                     SOLUTIONS, INC., AS A SUCCESSOR-IN-
                     INTEREST TO WHITTAKER, CLARK
                     & DANIELS, INC.; BRENNTAG                                       TRANSCRIPT
                     SPECIALTIES, INC., f/k/a MINERAL
                     PIGMENT SOLUTIONS, INC., AS A                                       OF
                     SUCCESSOR-IN-INTEREST TO WHITTAKER
                     CLARK & DANIELS, INC.; CYPRUS AMAX                                TRIAL
                     MINERALS COMPANY, INDIVIDUALLY AND
                     AS SUCCESSOR-IN-INTEREST TO AMERICAN
                     TALC COMPANY, METROPOLITAN TALC
                     COMPANY, INC., CHARLES MATHIEU,
                     INC., RESOURCE PROCESSORS, INC.;
                     IMERYS TALC AMERICA, INC., f/k/a
                     LUZENAC AMERICA, INC., INDIVIDUALLY
                     AND AS SUCCESSOR-IN-INTEREST TO
                     WINDSOR MINERALS, INC.; JOHNSON &
                     JOHNSON; JOHNSON & JOHNSON CONSUMER,
                     INC. f/k/a JOHNSON & JOHNSON
                     CONSUMER COMPANIES, INC.; WHITTAKER
                     CLARK & DANIELS, INC., INDIVIDUALLY
                     AND AS SUCCESSOR-IN-INTEREST TO
                     AMERICAN TALC COMPANY, METROPOLITAN
                     TALC COMPANY, INC., CHARLES MATHIEU,
                     INC., AND RESOURCES PROCESSORS,
                     INC.; JOHN DOE CORPORATIONS 1-50;
                     JOHN DOE CORPORATIONS 51-100,
                                               Defendants.

                                                       Place:        Middlesex County Courthouse
                                                                     56 Paterson Street
                                                                     New Brunswick, NJ 08903

                                                       Date:         July 11, 2019
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           1         anything from -- from when it was Colgate to when it
           2         was Johnson & Johnson, when the ex -- when the
           3         complaints were filed before experts were hired? I
           4         mean, that was fair advocacy in that case, Your Honor.
           5                   And many of the things that Mr. Placitella
           6         are pointing out that -- that I showed them that they
           7         -- that they showed the jury this document and I show
           8         how that was misleading, because they didn't show this
           9         part? I mean, that's fair advocacy. They do it, I do
         10          it.
         11                    To -- so, to try to limit J&J from doing
         12          what's basic and fair advocacy before the trial even
         13          starts is just unfair, it's more personal attacks,
         14          it's -- it's more, you know, nonsense, I would submit,
         15          Your Honor.  I have -- I have acted professionally,
         16          hopefully, before this Court, I intend to do so in
         17          this trial as well, and -- and -- and so, Your Honor,
         18          I think this motion should be denied.
         19                    THE COURT: Thank you.
         20                    Anything further you haven't already
         21          articulated?
         22                    MR. PLACITELLA: Yes, Your Honor.
         23                    THE COURT: You did cite to case law and
         24          such that was not in the brief, by the way.
         25                    MR. PLACITELLA:  I apologize for that, Your




                                                                                      41
           1         Honor.        I was up late.  I'm happy to --
           2                         But the transcript was attached to the
           3         brief.
           4                   THE COURT: Right.
           5                   MR. PLACITELLA: The decision to object or
           6         not object is by lead counsel. That has nothing to do
           7         with us here. What we're worried about here is how
           8         this case will be tried.
           9                   Saying things like they ran out of people to
         10          sue? That has -- that -- that is just way out of
         11          bounds. Going into what the lawyer's mindset was and
         12          strategy and conversations with their clients? Way
         13          out of bounds.
         14                    And they say that they would have negotiated
         15          it? They sat here just 30 seconds ago and told you
         16          everything they said was proper.  It can't be proper
         17          and that's why we're here.
         18                    MS. SULLIVAN: And, Your Honor, even the ran
         19          out of people to sue was evidence in that case. Dr.
         20          Longo and Mr. Finch went through all of the companies
         21          they had sued in the past who had asbestos products in
         22          it --
         23                    MR. PLACITELLA: That's
         24                    MS. SULLIVAN:     and that they had sued,
         25          and they have been involved in those lawsuits, and
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           1         cosmetic talcum powder products.   She saw Cashmere
           2         Bouquet, I remember, and she stopped, she didn't
           3         continue looking any further.   So there was no I.D. of
           4         Johnson & Johnson baby powder then. She then, the day
           5         after the deposition -- what was it -- of an expert,
           6         goes to a doctor and says she was only exposed to
           7         Cashmere Bouquet.
           8                   So there was so much to comment on in that
           9         case and you know what? Even if there wasn't enough
         10          to comment on, to resort to what I say is lawyer
         11          bashing, is just inappropriate under the rules, the
         12          case law, under who we are as a profession. We have
         13          to be better than that. And I know that you can be.
         14                    And so I am going to enter this order,
         15          because this is not about strategy of plaintiffs in
         16          presenting this case. This is about the evidence.
         17                    And not about what happened in Henry.   I
         18          mean, I am horrified hearing and seeing those comments
         19          in this transcript and I don't know -- I'm not
         20          commenting upon anything in Law 360.   I don't know if
         21          that comment was attributed to anyone and whether it's
         22          accurate or not. But it has no place here in trials
         23          before this Court or should be in any court, frankly,
         24          about attacking lawyers, attacking their strategy,
         25          invading upon attorney-client privilege.




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           1                   Comment upon the evidence. That's what
           2         you're supposed to be doing. And that's what's going
           3         to happen here.
           4                   But I will caution everyone caution everyone
           5         that I'm already concerned based upon what I see
           6         happened -- what happened during the jury selection
           7         process. We really have to work together. You may
           8         not like each other. You don't have to like each
           9         other. These are four cases that are going to be
         10          tried and let's just try it and remain civil with each
         11          other.
         12                    I am granting the order that comments by
         13          defense counsel aimed at prejudicing the jury against
         14          plaintiffs' counsel are excluded.
         15                    So, it goes beyond scam and sham. Those
         16          comments that we read in the transcript are not
         17          comments that are going to be used and not a strategy
         18          that's going to be used during this trial.
         19                    Let's move on. What's the next motion?
         20                    MR. PLACITELLA: There was a --
         21                    THE COURT:  I need a separate order that has
         22          all of the dockets on it. This one only supplied two.
         23                    MR. PLACITELLA: Well, we'll get that, Your
         24          Honor.
         25                    THE COURT:  Thank you.
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           1         advance that it was genetic mutations without
           2         supporting evidence doesn't satisfy the Appellate
           3         Division or the law in Johnesee.  That's number one.
           4                   Number two is that, in order to advance an
           5         opinion, an expert has to articulate that opinion in
           6         their expert report.  It simply can't be a throwaway
           7         line that this is associated. And then the defendant,
           8         to show you what they want to do, misquote the expert
           9         in their brief. Because they don't want to simply
         10          challenge Dr. Moline, they want their attorneys to be
         11          able to advocate in front of this jury that, number
         12          one, BRCA2 mutations are what caused Mr. Barden's
         13          mesothelioma; number two, that diverticulitis is what
         14          caused Mr. Ronning's mesothelioma; that, number three,
         15          that age is what caused Ms. McNeill's mesothelioma;
         16          that, four, some unknown genetic mutations are at work
         17          in Mr. Etheridge that caused his mesothelioma. You
         18          cannot poison a jury by shooting out theories of
         19          causation that have absolutely no basis.
         20                    And so while -- if there is an evidentiary
         21          basis, a reasonable evidentiary basis, John -- we --
         22          we advocate Johnesee.  Johnesee does say that the
         23          opposing expert can be challenged with it. But it has
         24          to be scientifically valid and it has to have a
         25          factual basis in the record and none of these do.




                                                                                     109
           1         Thank you.
           2                   THE COURT:   Thanks.
           3                   MS. BROWN: And, Your Honor, just briefly on
           4         that point. Okay?
           5                   Counsel have not raised either in briefing
           6         or in argument here today any potential alternative
           7         cause that has not been fully disclosed and supported
           8         by either an expert report -- and the -- and what I'm
           9         saying is, what they're seeking to exclude is all
         10          either supported by a medical record, by an expert
         11          report, by scientific literature that well satisfies
         12          the test in Johnesee. There is not a type of
         13          potential alternative exposure that we are seeking to
         14          cross Dr. Moline with that is purely speculative.
         15          That is what the appellate court sought to exclude,
         16          based on Johnesee.
         17                    Here, age.   Supported by an expert that this
         18          Court has qualified before.    Dr. Moolgavkar. Who has
         19          published a peer-reviewed publication about that.
         20                    BRCA2.   The subject of a medical record.
         21          Not the one that counsel read from the report, but
         22          from a medical record, November of 2017, that says
         23          BRCA can increase the risk of all cancers. And
         24          supported by an expert who has that --
         25                    THE COURT: Where is the medical
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           1                   MS. SULLIVAN: Got it. Thank you.
           2                    THE COURT:      on the other side.
           3                   MS. SULLIVAN: And our tech people could
           4         just coordinate with your --
           5                   THE COURT: Right.     Just call them.  I told
           6         -- I'll have Grayson tell the folks from CVN they
           7         cannot set up until Monday.
           8                   MS. SULLIVAN: Okay.
           9                   THE COURT: All right? So we'll have your
         10          people set up tomorrow.    I'll send an email over to IT
         11          or give them a quick call to let them know that you
         12          will all be setting up tomorrow. Okay?
         13                    MS. SULLIVAN: Thank you, Your Honor.
         14                    MR. MAIMON: Thank you, Your Honor.
         15                    MR. PANATIER: And we'll have Ryan here.
         16                    THE COURT: All right.     So, 9 o'clock in my
         17          other courtroom. Thanks.
         18                    MR. MAIMON: Thank you, Your Honor.
         19                    MR. NOLAN:    Thank you, Your Honor.
         20                    THE COURT: Thank you.
         21                        (Trial adjourned at 4:39 p.m.)
         22
         23
         24
         25




                                                                                              177
           1                                             CERTIFICATION
           2
           3              I, TERRY L. DeMARCO, the assigned transcriber, do
           4         hereby certify the foregoing transcript of proceedings
           5         recorded on CourtSmart, Index Nos. from 11:51:18 to
           6         12:05:53 and 1:27:49 to 4:39:11, is prepared to the
           7         best of my ability and in full compliance with the
           8         current Transcript Format for Judicial Proceedings and
           9         is a true and accurate compressed transcript of the
         10          proceedings, as recorded.
         11
         12
         13
         14                 Isl Terry L. DeMarco                                  AD/T 566
         15                       Terry L. DeMarco                               AOC Number
         16
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         18                 KLJ Transcription Service                             04/15/21
         19                       Agency Name                                       Date
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                     EXHIBIT J
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                                                                       SUPERIOR COURT OF NEW JERSEY
                                                                       LAW DIVISION, CIVIL PART
                                                                       MIDDLESEX COUNTY
                                                                       DOCKET NOS. MID-L-1809-17
                                                                                   MID-L-0932-17
                                                                                   MID-L-7049-16
                                                                                   MID-L-6040-17
                                                                       APP. DIV. NO.

                      DOUGLAS BARDEN and ROSLYN BARDEN, et
                      al.,

                                                 Plaintiffs,

                               v.

                      BRENNTAG NORTH AMERICA, INC.,
                      INDIVIDUALLY AND AS SUCCESSOR-IN-                                  TRANSCRIPT
                      INTEREST TO MINERAL PIGMENT
                      SOLUTIONS, INC., AS SUCCESSOR-IN-                                      OF
                      INTEREST TO WHITTAKER CLARK &
                      DANIELS, INC.; BRENNTAG SPECIALTIES,                                 TRIAL
                      INC., f/k/a MINERAL PIGMENT
                      SOLUTIONS, INC., AS A SUCCESSOR-IN-
                      INTEREST TO WHITTAKER CLARK &
                      DANIELS, INC.; CYPRUS AMAX MINERALS
                      COMPANY, INDIVIDUALLY AND AS
                      SUCCESSOR-IN-INTEREST TO AMERICAN
                      TALC COMPANY, METROPOLITAN TALC
                      COMPANY, INC., CHARLES MATHIEU,
                      INC., RESOURCE PROCESSORS, INC.;
                      IMERYS TALC AMERICA, INC., f/k/a
                      LUZENAC AMERICA, INC., INDIVIDUALLY
                      AND AS SUCCESSOR-IN-INTEREST TO
                      WINDSOR MINERALS, INC.;, JOHNSON &
                      JOHNSON; JOHNSON & JOHNSON CONSUMER,
                      INC. f/k/a JOHNSON & JOHNSON
                      CONSUMER COMPANIES, INC.; WHITTAKER
                      CLARK & DANIELS, INC., INDIVIDUALLY
                      AND AS SUCCESSOR-IN-INTEREST TO
                      AMERICAN TALC COMPANY, METROPOLITAN
                      TALC COMPANY, INC., CHARLES MATHIEU,
                      INC., AND RESOURCES PROCESSORS,
                      INC.; JOHN DOE CORPORATIONS 1-50;
                      JOHN DOE CORPORATIONS 51-100,

                                                 Defendants.

                                                          Place:        Middlesex County Courthouse
                                                                        56 Paterson Street
                                                                        New Brunswick, NJ 08903

                                                          Date:          July 15, 2019
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           1                   MS. SULLIVAN: We're here for the folks at
           2         J&J. And I'm going to have a little help in this       a
           3         lot of help in this case from these two folks.   Derek
           4         Hen (phonetic) is going to work some of the technology
           5         in the courtroom, so you'll see him back there.
           6         Derek's been in courtrooms with me for about a couple
           7         of decades now. At least he still looks young. And
           8         Lamia Sampson is a lawyer and a paralegal who's sort of
           9         our manager, and she'll keep us running efficiently to
         10          make sure we don't waste your time. And so you'll see
         11          those folks with us in the courtroom.
         12                    MS. SAMPSON:  Good afternoon.
         13                    MS. SULLIVAN:   So -- well, you heard the
         14          plaintiffs' lawyer. He made a lot of allegations and
         15          accusations and said a lot of bad things about J&J and
         16          the men and women who work there, and that's -- and
         17          that's too bad. But you know, in this country, it's
         18          easy to file lawsuits and make all kinds of accusations
         19          and all kinds of allegations and throw a lot of mud in
         20          the interest of winning lawsuits for money.   But it's
         21          going to be for you to decide whether those
         22          allegations, those accusations, are really fair or not,
         23          whether they're really true, whether they're really
         24          supported by the evidence.
         25                    And plaintiffs here get a lot of rights.




                                                                                 103
           1         When you file a lawsuit in this country, you get a lot
           2         of rights, and you should. And we have a great -- we
           3         have the best justice system in the world and we're the
           4         only country in the world that has jurors, citizens
           5         like you, decide these cases; not politicians, not
           6         judges, but our citizens. And we thank you and your
           7         community members thank you and J&J and the people
           8         there thank you for your important service here.
           9                   But when plaintiffs file a lawsuit, they have
         10          a lot of rights.  They have a lot -- they're -- they're
         11          entitled to a fair trial, and they're entitled to a
         12          fair judge, and we have that with Judge Viscomi here,
         13          and they're entitled to a fair jury. And you got jury
         14          summonses and you all came in and they're entitled to
         1.5         empanel a jury, and all of you were asked a whole bunch
         16          of questions by both sides, some of it invasive, and
         17          you were patient and kind enough to fill out all the
         18          jury sheets and ask -- answer the questions of counsel
         19          and the judge and you're here because everybody, the
         20          plaintiffs and the defendants and the Court, decided
         21          that of all the jurors who came in, you can be the most
         22          fair and decide the case based on the evidence and the
         23          facts and keep bias and prejudice aside and actually
         24          even decide the case without sympathy for -- which in a
         25          case like this is going to be terribly, terribly hard.
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           1         experts have found again and again that there is no
           2         asbestos in baby powder. And I'm going to show you
           3         that evidence. And I submit to you the -- the
           4         plaintiffs' case, you'll see, is based on confusion,
           5         having hired experts who they've paid tens of millions
           6         of dollars in lawsuits and Mr. -- Mr. Maimon has
           7         acknowledged, they've used them in the past, they've
           8         paid them millions and millions of dollars, get up here
           9         and call things asbestos which are not. And the
         10          government doesn't agree with them, and we'll show you
         11          -- we'll show you that ev -- evidence.
         12                    And you're going to see that the FDA actually
         13          took a hard look at this issue and -- and did studies
         14          and analysis and consulted with independent experts and
         15          found that Johnson's Baby Powder was safe. And we'll
         16          talk some more about that. And you're going to hear
         17          that some of the best institutions in the world --
         18          Johnson & Johnson -- this product has been on the
         19          market for lit -- forever, almost. And they sent their
         20          baby powder out to some of the best laboratories in the
         21          world.  Shine a light.  Test it. Let us know if
         22          there's any problems. And Princeton, Harvard, MIT,
         23          some of the best labs in the world have concluded that
         24          this baby powder does not have asbestos. And that's
         25          why it's still on the market today.




                                                                                 107
           1                   And you heard the plaintiffs' lawyer talk
           2         some about the treating physicians in this case, and
           3         the plaintiffs have seen, unfortunately, a lot of
           4         doctors.  They've seen some of the best doctors in the
           5         world. And not one of their doctors have said in their
           6         medical records or have told the plaintiffs or -- or
           7         are even going to come in here and support their case.
           8         None of their doctors believe that baby powder or
           9         Shower to Shower caused their cancer, because it
         10          didn't. And we'll -- we'll talk more about that
         11          evidence in a minute.
         12                    And I think the plaintiffs' lawyer said well,
         13          that's because people don't know. Well, you're going
         14          to see, this is -- first of all, you guys -- most of
         15          you have seen the commercials. They're running
         16          plaintiff lawyers commercials a lot. Call, we'll sue
         17          J&J. Right? It's gotten a lot of press.     It's got a
         18          lot of -- in terms of the commercials, and --
         19                    MR. MAIMON:   Judge?
         20                    MS. SULLIVAN:   -- we talked to you about jury
         21
         22                    THE COURT:   Sidebar.
         23                            (Sidebar discussion.)
         24                    MR. MAIMON: This is essentially what we
         25          moved on.  It's a direct violation of your order. The
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           1         Court -- I don't even know what to say. She started,
           2         getting close to the line. This is way over the line.
           3         And it's in direct violation of your order. She should
           4         be admonished in front of the jury and their answer
           5         should be stricken.
           6                   MR. PLACITELLA: Your Honor, please. They're
           7         letting ads, 1-800, call, sue J&J. This was exactly
           8         what was read to the Court and what the Court
           9         admonished counsel about.   I have objections already,
         10          but -- but we -- we stayed silent. But to allow this,
         11          in direct contravention to the Court's order, is
         12          unforgivable.
         13                    MS. SULLIVAN: Your Honor
         14                    THE COURT: Get closer to the microphone.
         15                    MS. SULLIVAN:   I'm sorry. Your Honor, they
         16          specifically said nobody knows about this. And we --
         17          and -- advertisements, at their request, was on a jury
         18          questionnaire. Your Honor extensively -- they all know
         19          about. Your Honor's extensively asked them about it.
         20          They said nobody knows about it.   I talked to them
         21          about what they've already been asked about in jury
         22          selection as part of this case, for better or for
         23          worse.
         24                    THE COURT:   I ruled that attacking lawyers
         25          and advertisements that -- whether the -- the




                                                                                      109
           1         questionnaire didn't say plaintiffs lawyers
           2         advertising, it said lawyers advertising. So -- but in
           3         relation to the motion that was filed with respect to
           4         what happened in the Rimondi (phonetic) trial, I made a
           5         specific ruling, and you're not to violate that order.
           6         So --
           7                   MS. SULLIVAN:  It was attacking
           8         (indiscernible).
           9                   THE COURT: It was -- it was --
         10                    MS. SULLIVAN: I understand now.    I'll move
         11          on.
         12                    MR. PLACITELLA: No, no, no, no.    I don't
         13          want her to move on.  I want her admonished in front of
         14          the jury. Not moving on.
         15                    MS. SULLIVAN:  (Indiscernible.)
         16                    THE COURT:  I will take that under
         17          advisement. You will refrain from that --
         18                    MS. SULLIVAN: I --
         19                    THE COURT: -- during openings and the
         20          entirety of the case.
         21                    MR. PLACITELLA: Your Honor, I'll just re --
         22          preserve it. But if she does it again, I'm going to
         23          ask that their answer be stricken.
         24                    THE COURT: Understood.
         25                    MS. SULLIVAN: Thank you, Judge.
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           1         another one from the Washington Cancer Center. The
           2         implication of asbestos exposure in the causation of
           3         peritoneal meso is far less obvious than the kind in
           4         your lungs.
           5                   And you have something in this case that's
           6         going to serve you well, and that's your good, old-
           7         fashioned common sense. And you're going to hear a lot
           8         of technology and testing and medicine and it may sound
           9         confusing to you, at least it was really confusing to
         10          me the first time I heard it all, but sheer common
         11          sense is going to let you cut through a lot of this
         12          stuff and get to the truth. And the truth is, the
         13          scientific journals have said again and again that the
         14          kind of mesothelioma they have is often not associated
         15          with asbestos.
         16                    And here are some other journals. This is --
         17          the SEER data is a government data where they collect
         18          the number of mesotheliomas around the country, and
         19          this article says the observations suggest that
         20          asbestos exposure was responsible for only a minor
         21          fraction of peri -- peritoneal meso, the kind they
         22          have, over the period '73 to 2005. And again, about 30
         23          percent of peritoneal meso in men is associated with
         24          above background asbestos exposure, 70 percent not, and
         25          that factors other than asbestos appear to be the main




                                                                                     115
           1         cause of this kind of cancer in women. Can you guys
           ?.        see that, or is my board blocking you?
           3                   And more studies. Accordingly, peritoneal
           4         meso is often reported in men and women with no known
           5         asbestos exposure. And it's the kind of cancer that
           6         unfortunately, happens, like so many cancers. We could
           7         -- I will tell you right now, the hardest part of this
           8         case, it's going to break your heart.  These
           9         plaintiffs, there's no question they have cancer, that
         10          they're suffering, that some of them are dying, and
         11          you're going to hear them.  You're going to hear their
         12          families.  And it is going to break your heart.  But
         13          the truth is, most people who get cancer, nobody knows
         14          the cause. Naturally-occurring, who knows.    Something
         15          going on in their bodies. And peritoneal meso --
         16          mesothelioma, all of these studies say, happens, for
         17          reasons nobody knows.  Sometimes asbestos, when you get
         18          massive exposures like in insulation. But often,
         19          nobody knows.  It just happens.
         20                    And we can fill -- unfortunately, we could
         21          fill the city of New Brunswick with people suffering
         22          and dying from cancer and many of us, I know some of
         23          you from your jury questionnaires have had people in
         24          our families who we watched suffer and die from cancer,
         25          and it's horrible.  It's terrible. And it's going to
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           1         the plaintiffs claim here, you typically -- not always,
           2         but you typically have markers; you have fingerprints;
           3         you have evidence of that exposure. And you're going
           4         to see in this case -- and then the kind of evidence
           5         you usually have if you have asbestos exposure and
           6         mesothelioma caused by asbestos is your lungs are thick
           7         or scarring because it's hard to breathe.   You know,
           8         it's hard to -- to -- to exhale these fibers and so you
           9         have thickening of your lungs, you have chronic lung
         10          disease and scarring. None of the plaintiffs here have
         11          any evidence of that. None.   There's no evidence of
         12          any asbestos exposure in their bodies. There's no
         13          none of these markers that doctors look for to say a-
         14          ha, this is evidence of asbestos exposure.
         15                    They also didn't find any fibers of asbestos
         16          in any of their pathology, which they often do in cases
         17          where plaintiffs have cancer from meso -- from -- from
         18          asbestos.
         19                    And so they have the kind of cancer that's
         20          often not associated with asbestos, and they are going
         21          to be able to bring you no evidence that they have any
         22          markers in their bodies of asbestos exposure. Their
         23          lungs are clear; not scarring, not thickening, not pla
         24          -- not the kind of thing you would see if you had
         25          massive exposure to asbestos, as they're alleging.




                                                                                      119
           1         Nothing.
           2                    And so I want to talk a little bit more about
           3         the plaintiffs.   You heard some about Mr. Barden. He
           4         is sick. He's got cancer.    It's -- it's terminal. We
           5         don't dispute that.   It's terrible. Mr. Barden, again,
           6         has no evidence of any asbestos exposure in his body.
           7         And our experts will come in here and talk to you about
           8         the fact that they don't believe Mr. Barden's cancer
           9         was caused by asbestos because he doesn't have any of
         10          these markers, because he has the kind of cancer that's
         11          not typically associated, or often not associated with
         12          asbestos, but if they want to say it's from asbestos
         13          exposure, his dad worked at one of the most well-known
         14          asbestos places in the world: a Navy shipyard. He was
         15          an inspector. And there were so many claims of workers
         16          that worked there for mesothelioma because in the Navy
         17          shipyard, they had tons of insulation.   It was very
         18          common, because asbestos was a well-known fire
         19          retardant.   So they would use it in ships to cover the
         20          boiler room, they would use it on ships for other
         21          reasons. And so the Brooklyn Navy shipyard was filled
         22          with asbestos and there's been tons of claims for
         23          workers there.
         24                     And their experts will acknowledge, and Mr.
         25          Barden was -- his dad was working there before he was
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           1         them on that.  She -- this is her published paper, and
           2         she says in her published paper, "Because many non-
           3         fibrous cleavage fragments of amphibole minerals have a
           4         three to one aspect or greater and because there is no
           5         good evidence for adverse effects of these particles, a
           6         stay has been in effect on this part of the
           7         regulation."
           8                   And that's what we talked about.  So she does
           9         not agree that just because something's three times
         10          longer as it is wide or five times longer than it is
         11          wide that that's asbestos. And of course not, because
         12          there's all -- all kinds of things that can be three
         13          times longer than they are wide.  That doesn't make it
         14          asbestos.
         15                    So what's going on here with their experts,
         16          and I will submit -- and they'll admit, they're going
         17          to admit that they call things asbestos if it meets
         18          this counting rule. They're going to say the good
         19          rocks, fragments, are asbestos even if they're not.
         20                    Okay. So I submit to you that, and I'll show
         21          you some documents now, that the plaintiffs' case is
         22          based on confusion. And I'm going to show you some
         23          examples of what you saw in opening statement, and you
         24          can decide whether what went on was -- was fair or not,
         25          based on what the documents actually said.




                                                                                 159
           1                    And when you -- and I noticed when
           2         plaintiffs' lawyer was up there showing you his slides,
           3         he didn't show you much evidence.    It was all his --
           4         you know, his words and graphs instead of the actual
           5         documents. But I'm/going to show you some of the
           6         documents, some of them are their exhibits, that are
           7         going to come into evidence and let you see examples of
           8         what's going on here, if you'll -- if you'll be patient
           9         enough for me to do that.    Do you guys need a break
         10          first? Everybody good? Okay.
         11                    All right.   I could grab the ELMO here?
         12                                (Brief pause.)
         13                    MS. SULLIVAN:   So this is a slide of -- let
         14          me see if I can get it better, that plaintiffs' lawyer
         15          put up, I tried to take a snapshot of it. And he
         16          showed you this picture and suggested to you that that
         17          was asbestos, but if you look at the document --
         18          asbestos in baby powder, that that was asbestos in baby
         19          powder. But if you look at the document, where it
         20          comes from, and this is plaintiffs' exhibit 3060, and
         21          I'll show you -- this is plaintiffs' exhibit 3060.
         22          This is from J&J's supplied, Luzenac.    I'm sorry.   I'm
         23          making everybody dizzy here, but --
         24                     Sorry, you guys. Bear with me. Okay. And
         25          this is what he -- what was in his picture, and he says
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           1         what he thinks the documents say. And I submit to you,
           2         you folks are in a better position than anybody to look
           3         at a document and figure out what it says. And I'm not
           4         sure you need anybody to tell you what something says,
           5         but that's what he's going to do. And he's going to
           6         say that's asbestos, they should have done testing, and
           7         you'll hear that. But -- but he's going to acknowledge
           8         that J&J went far beyond industry standards in terms of
           9         their testing and protocol and quality assurance and
         10          far beyond what any other company making talcum powder
         11          did during the relevant time frame.
         12                    Then you're going to hear from Dr. Longo.
         13          He's their testing expert. He's the only witness
         14          they're going to bring in here who actually -- his lab,
         15          he actually didn't do any of the testing.   He's just
         16          the testifier. He's -- he's -- they're going to bring
         17          him in here and his lab did testing of samples of J&J
         18          baby powder, and he's going to come in here and say
         19          exactly what I had suggested to you, that that's
         20          asbestos, that's asbestos, that's asbestos.   But what
         21          you're going to see is Dr. Longo, he's counting. When
         22          he counts, he counts the cleavage fragments, the good
         23          rocks, and calls it asbestos. And he'll acknowledge
         24          that.  He's like oh, that's the counting rules. That's
         25          what I'm doing.




                                                                                 191
           1                   And he actually advertised for work in
           2         lawsuits.  I'll stand up in court and defend and -- and
           3         testify for you. And he, as Mr. Maimon said, has made
           4         over $30 million, at least that's what he'll admit to
           5         now, over $30 million testifying for plaintiffs in
           6         asbestos lawsuits for over 30 years when plaintiffs'
           7         lawyers, including these plaintiffs' lawyers here, sue
           8         companies who actually make asbestos products like
           9         brake pad and pipe insulation. He's their guy. They
         10          bring him in to testify.   He's been testifying in
         11          lawsuits for many, many years.   He's testified in
         12          thousands of lawsuits.   He's been in more courtrooms
         13          than any lawyer in the country, and he's good. He's
         14          the best expert money can buy.
         15                    And -- and again, when he's testifying,
         16          you're going to see. He's charming. He's slick. He
         17          could sell ice to Eskimos. And he's going to try to
         18          convince you that there is
         19                    MR. MAIMON: Your Honor, I object to this.
         20          This is improper.
         21                    THE COURT:   Sidebar.
         22                            (Sidebar discussion.)
         23                    MR. MAIMON: Before I state the basis of my
         24          opinion, Your Honor, I object to counsel gesturing with
         25          her arms wide open when we come to sidebar as if what
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           1         carts in the back, they can't stay like that.   I mean,
           2         we have to offer public access, plu -- plus that's a
           3         tripping hazard back there. So you're going to have to
           4         find another place for them. You -- they just can't be
           5         there like that throughout the course of this trial.
           6         The last few trials, if you can fit anything that can
           7         go behind that bench, you can.   If you want to store
           8         anything in my regular courtroom, you can do that. But
           9         they can't stay there like that during this trial.
         10                    MR. PANATIER: Understood, Your Honor.
         11                    THE COURT: Thank you.
         12                    MR. PANATIER:   Thank you.
         13                    THE COURT:   Okay. And you'll take care of
         14          that today?
         15                    MR. PANATIER:   Yes, Your Honor.
         16                    THE COURT: Before the jurors walk in
         17          tomorrow.
         18                    MR. PANATIER: Yes, Your Honor.
         19                    THE COURT: Okay. We're off the record.      See
         20          everyone tomorrow morning.   Thank you.
         21                     (Proceeding concluded at 4:26 p.m.)
         22
         23
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         25




                                                                                              229
           1                                             CERTIFICATION
           2
           3              I, SARAH L. FETZ, the assigned transcriber, do
           4         hereby certify that the foregoing transcript of
           5         proceedings on CourtSmart, Index No. from 9:45:49 a.m.
           6         to 4:26:08 p.m., is prepared to the best of my ability
           7         and in full compliance with the current Transcript
           8         Format for Judicial Proceedings and is a true and
           9         accurate compressed transcript of the proceedings, as
         10          recorded.
         11
         12
         13
         14                    /s/ Sarah L. Fetz                                  AD/T 626
         15                        Sarah L. Fetz                                 AOC Number
         16
         17
         18                KLJ Transcription Service                             04/15/2021
         19                      Agency Name                                        Date
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                     EXHIBIT K
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                                                                     SUPERIOR COURT OF NEW JERSEY
                                                                     LAW DIVISION, CIVIL PART
                                                                     MIDDLESEX COUNTY
                                                                     DOCKET NOS. MID-L-1809-17
                                                                                 MID-L-0932-17
                                                                                 MID-L-7049-16
                                                                                 MID-L-6040-17
                                                                     APP. DIV. NO. A-000047-20-T4

                      DOUGLAS BARDEN and ROSLYN BARDEN, et
                      al.,

                                                Plaintiffs,

                              v.

                      BRENNTAG NORTH AMERICA, INC.,
                      INDIVIDUALLY AND AS SUCCESSOR-IN-                              TRANSCRIPT
                      INTEREST TO MINERAL PIGMENT
                      SOLUTIONS, INC., AS SUCCESSOR-IN-                                    OF
                      INTEREST TO WHITTAKER CLARK &
                      DANIELS, INC.; BRENNTAG SPECIALTIES,                             TRIAL
                      INC., f/k/a MINERAL PIGMENT
                      SOLUTIONS, INC., AS A SUCCESSOR-IN-
                      INTEREST TO WHITTAKER CLARK &
                      DANIELS, INC.; CYPRUS AMAX MINERALS
                      COMPANY, INDIVIDUALLY AND AS
                      SUCCESSOR-IN-INTEREST TO AMERICAN
                      TALC COMPANY, METROPOLITAN TALC
                      COMPANY, INC., CHARLES MATHIEU,
                      INC., RESOURCE PROCESSORS, INC.;
                      IMERYS TALC AMERICA, INC., f/k/a
                      LUZENAC AMERICA, INC., INDIVIDUALLY
                      AND AS SUCCESSOR-IN-INTEREST TO
                      WINDSOR MINERALS, INC.;, JOHNSON &
                      JOHNSON; JOHNSON & JOHNSON CONSUMER,
                      INC. f/k/a JOHNSON & JOHNSON
                      CONSUMER COMPANIES, INC.; WHITTAKER
                      CLARK & DANIELS, INC., INDIVIDUALLY
                      AND AS SUCCESSOR-IN-INTEREST TO
                      AMERICAN TALC COMPANY, METROPOLITAN
                      TALC COMPANY, INC., CHARLES MATHIEU,
                      INC., AND RESOURCES PROCESSORS,
                      INC.; JOHN DOE CORPORATIONS 1-50;
                      JOHN DOE CORPORATIONS 51-100,

                                                Defendants.

                                                         Place:        Middlesex County Courthouse
                                                                       56 Paterson Street
                                                                       New Brunswick, NJ 08903

                                                         Date:         September 4, 2019
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           1         they complain about here.
           2                   And then, you saw Dr. Hopkins, who is head of
           3         product safety for talc, come in here and testify.   You
           4         saw Dr. Nicholson, the Doctor they had on video who
           5         talked about some of the issues in the case. Dr.
           6         Musco, the burn nurse, who they also deposed.   The
           7         people who they complain about, who they alleged did
           8         the worst kind of things.   I mean, they've alleged that
           9         this -- these people hurt babies, hurt people on
         10          purpose.  That they knew there was asbestos in their
         11          product, and they continued to sell it.
         12                    They've accused them of being monsters and
         13          killers.  Liars and cheaters, the Plaintiffs' lawyer
         14          said in opening statement.   People that have babies
         15          themselves.  Some of them, grand babies.   You don't
         16          just drop your kids off for school one day -- some of
         17          them, like all of us, maybe help out at PTA, coach
         18          sports teams, volunteer work. We don't do that and
         19          then just go to work and decide to be monsters and
         20          killers.  That doesn't make any sense. And you don't
         21          stay in business as long as J&J has by doing the kinds
         22          of things that they've alleged.
         23                    And maybe some of you saw what was going on
         24          from the beginning, because I submit to you, if you
         25          view the evidence through the lens of your common




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           l         sense, you can see the difference between science and
           2         truth and facts in the real world, and lawsuit fiction.
           3         Stories crafted by well-traveled, well-paid,
           4         multimillion dollar experts, and the lawyers who hire
           5         them again and again to try to win lawsuits for money.
           6         And I submit to you that the crafted lawsuit story
           7         doesn't stand up to the evidence, to the truth, to the
           8         facts.
           9                   When you saw in the beginning of the case
         10          when Dr. Longo was on the stand, Mr. Panatier talked
         11          about banned asbestos products.  Do you remember that?
         12          That there was asbestos in gaskets and in brake pads
         13          and in wall mud and in insulation and other products.
         14          And then, you heard that Dr. Moline, their medical
         15          expert, Dr. Longo, their testing expert, Dr. Brody,
         16          their animal studies expert, Dr. Maddox, their
         17          pathologist, that all of those experts have testified
         18          again and again and again for plaintiff's lawyers in
         19          asbestos cases like this. Now, these products are
         20          banned.
         21                    And they have made millions. You heard, and
         22          the Judge is going to give you an instruction that you
         23          can consider the amount of money experts have been paid
         24          in deciding whether to believe them or not, in deciding
         25          their credibility. And all of these experts have made
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           1         millions and millions of dollars, testifying again and
           2         again for plaintiff's lawyers in asbestos products for
           3         money. And those products are now banned, and they
           4         came up with a new target, right? Keep the money train
           5         going, these experts.   Dr. Longo, over 30 million
           6         dollars.   Dr. Moline, over 3 million.  Dr. Maddox, over
           7         5 million.   Dr. Brody, millions.
           8                    Why, all of a sudden, after 125 years baby
           9         powder has been on the market. Why all of a sudden?
         10          J&J -- and they talked about the lawsuits, right? You
         11          heard about the lawsuits. Since 2017, they have been
         12          filing lawsuit after lawsuit against J&J. Because they
         13          can get juries to believe that there is asbestos in
         14          baby powder, the money train goes on for a long time,
         15          right? A lot of people use baby powder.
         16                     And what do they do to try to create a
         17          lawsuit story? They resurrect -- they resurrect it,
         18          and a repackaging, and I submit to you, trying to
         19          resell and issue that was all over the news in the
         20          1970s. That was investigated to death by the best
         21          third party experts in the world.   That the FDA
         22          investigated, and concluded that there was nothing
         23          there.   That there was no truth to this.  Fifty years
         24          ago, this was investigated and put to bed. Why, all of
         25          a sudden, now? Let's resurrect it. Maybe we can get




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           1         juries to believe it. And if we yell asbestos,
           2         asbestos, asbestos enough in a courtroom, maybe we can
           3         scare juries into believing it's true, even without the
           4         evidence. Even without the science.
           5                    Because asbestos is scary. A lot of you,
           6         when we interviewed you in jury selection, knew about
           7         asbestos, and knew about how bad it could be, because
           8         -- and they know that. Maybe we can scare jurors into
           9         believing that there is truth to this. And maybe they
         10          can convince some juries. Folks here are not that
         11          naive, and not that gullible. This jury is asking very
         12          sophisticated, very hard questions. And maybe some of
         13          you saw what was going on and can tell the difference
         14          between the lawsuit fiction and the science and the
         15          evidence in the real world.
         16                    And who did they bring as the ringleader for
         17          the lawsuit story? The 31 million dollar man.
         18          Remember, he said, oh, I didn't make 31 million
         19          dollars. My lab did. Then, you heard he owns 75
         20          percent of the lab, right? And he has testified 2,000
         21          to 3,000 times in lawsuits, 90 to 95 percent of his
         22          work is for plaintiff's lawyers and asbestos lawsuits.
         23          He testifies every week, going from courtroom to
         24          courtroom, helping plaintiff's lawyers, mostly
         25          plaintiff's lawyers, try to win lawsuits for money.
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           1                    He is listed by every plaintiff's lawyer in
           2         the country. Why do you think that is? Even if they
           3         don't ask him, they put him down.   They think he's a
           4         sure thing.   You heard he didn't even test the product.
           5         And when you think about the evidence in this case, ask
           6         yourself.   Why didn't the Plaintiffs' lawyer bring you
           7         one expert who actually testified the final product?
           8                    They paid Dr. Longo a lot of money, they
           9         played (sic)   -- remember Dr. Compton, the younger guy,
         10          the testing expert? They paid him a lot of money.     Dr.
         11          Webber, the guy that used to work for the New York
         12          Department of Public Health, they paid him a lot of
         13          money. All three testing experts, capable of testing.
         14          Not one of them did they have test the Baby Powder or
         15          the Shower to Shower. They have the burden of proof.
         16          Why didn't they bring you a testing expert that
         17          actually tested the product? He was just the
         18          testifier.   They didn't bring any of the people from
         19          his lab who actually tested the product, and I'm going
         20          to show you why.
         21                     And then, you heard when Dr. Longo got hired
         22          in this litigation, in 2017 or so, when they first
         23          start suing J&J, he went from jury to jury, and
         24          courthouse to courthouse, in depositions as well, and
         25          he raised his hand under oath, and he said oh, no, no,




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           1         no, no, I have never tested talcum powder before this
           2         litigation.  First time. Never did. And then, you
           3         heard that was not the truth at all.   He had tested it
           4         several times before.  In fact, he had to admit when
           5         they were suing brake pads and gaskets and other
           6         things, and he wanted to say it wasn't the talcum
           7         powder, it was the brake pads, he said oh, asbestos in
           8         cosmetic talc, that's an urban legend, a myth, a story,
           9         a fairytale.  Like Jimmy Hoffa under the Meadowlands.
         10          Like ghosts, like vampires, Loch Ness monster and
         11          Bigfoot.  The notion of asbestos in talcum powder, he
         12          said, was a myth, a story.
         13                    And then, you saw his prior testimony.   He
         14          was asked, in 2002, under oath.  Talcum powder that was
         15          used on babies.  Did some of that contain asbestos?
         16          We've looked. We've not found it. Must be the brake
         17          pads. You had sworn in 2002 that you had tested talcum
         18          powder used on babies and didn't find asbestos.
         19          Answer? That's what it states.
         20                    In 2003, have you ever found any asbestos at
         21          all in talc used for cosmetic purposes? No, I have
         22          not. And he tested it with the most sophisticated
         23          testing, TEM, the super-duper microscope and the
         24          polarized light microscope. When he was trying to
         25          blame other asbestos products like brake pads and
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           1         critical to the diagnosis and to determining what
           2         caused the mesothelioma.
           3                    And then, you saw she didn't do it here.
           4         Right? She didn't -- she didn't interview a single
           5         plaintiff, a single one of the four, before she
           6         concluded that J&J is the cause.    I'm -- J&J is the
           7         cause.  In fact, you saw that the Plaintiffs' lawyers
           8         filed these four lawsuits saying J&J Baby Powder and
           9         for Ms. McNeill Shower to Shower and Baby Powder was
         10          the cause of their mesothelioma before they even talked
         11          to her.  She said -- she was asked, but the truth is,
         12          in all these cases, Plaintiffs had filed their
         13          complaints months before alleging J&J caused their
         14          cancer, months before you were even sent the
         15          information about the case. And she said, yeah, that
         16          appears to be the case here.   They already sued saying
         17          it was J&J before they even talked to her. And then,
         18          Dr. Moline said, yup, J&J is the cause, rubber-stamping
         19          the complaint without even talking to a single
         20          Plaintiff.
         21                     She -- even look at this.   She said they had
         22          none of them, not one of the Plaintiffs, have any
         23          evidence of biological exposure.   No biomarkers.
         24          That's their own expert.   Their only expert on medical
         25          causation has admitted and will look at it that not one




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           1         of the Plaintiffs have any trace of asbestos exposure
           2         in their lungs, in their tissue, on their x-rays. And
           3         then, she didn't even interview them before she
           4         concluded in her report yes, J&J's the cause.   She
           5         examined and interviewed Mr. Barden after she already
           6         concluded it was J&J, and then, right before this trial
           7         started, she talked to Mr. Etheridge for about 30
           8         minutes, after she had issued her report two years ago
           9         saying J&J is the cause. And she's still never talked
         10          to or interviewed Ms. McNeill or Mr. Ronning even
         11          though she said that's the most important thing.
         12          What's going on here? The difference between science
         13          and medicine in the real world, and lawsuit fiction,
         14          the lawsuit stories.
         15                    And then, you heard that Dr. Moline, in her
         16          real world medical practice, where she sees patients,
         17          not in lawsuits.   She never once has determined that
         18          talcum powder was the cause of their mesothelioma.
         19          Never.  She only started doing that in lawsuits after
         20          being hired by the plaintiff's lawyers against J&J.
         21                    And you remember this testimony, Mr. Maimon,
         22          the Plaintiffs' lawyer here, actually put Dr. Moline on
         23          the witness stand a couple of years ago, four or five
         24          years ago, in this courthouse. And that's when they
         25          were trying to blame a paint company who had dust in
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           1         the paint that they alleged had asbestos in it, and she
           2         was asked by Mr. Maimon, isn't it important to look at
           3         the miller and miner epidemiology in determining
           4         causation? And Dr. Moline, you remember, testified,
           5         it's the most important thing.  The miller·and miner
           6         epidemiology is the best evidence. Look at the people
           7         with the highest exposure. That was her testimony a
           8         few years ago when they were suing against the paint
           9         company. And now, she's like oh, no, no, no. Sue
         10          against somebody else, miller and miner epidemiology,
         11          not good.
         12                    She testified in that case, where Mr. Maimon
         13          put her on the stand, that the very studies that J&J
         14          relies on here, the Italian and Vermont epidemiology
         15          studies, the very studies that J&J relies on here were
         16          the best evidence, and they showed no increased risk of
         17          mesothelioma. Those studies haven't changed. Same
         18          studies. She had no criticisms of them then.   In fact,
         19          she said they were the best evidence.  She's changed
         20          180 degrees.  The truth shouldn't change based on who
         21          you're suing. The studies haven't changed.
         22                    And then, Dr. Webber. Remember Dr. Webber?
         23          He was the New York Public Health official? He used to
         24          be a Public Health official in New York. Now, he's
         25          not. And now, he's acknowledged 100 percent of his




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           1         earned iI1come comes from plaintiff's lawyers suing in
           2         asbestos lawsuits. One hundred percent.
           3                    And Dr. Webber said yes to Mr. Maiman's
           4         questions over 200 times. Anything he asked him. Yes.
           5         Yes.  Yes, and yes. And another testing expert who
           6         didn't test any product. And you remember -- and
           7         actually, he was the most qualified of all the -- he
           8         went around certifying labs. He was a well-qualified
           9         testing expert. And Mr. Maimon said, oh, you retired,
         10          that's why we didn't send anything to you. And he
         11          said, oh, no, I could test, I have access to labs.    I
         12          could have tested it if you sent me it. He could have.
         13          They didn't want to risk it. They had Dr. Longo, the
         14          sure thing.   They weren't going to chance Dr. Webber
         15          not saying oh, yes, there's asbestos. Why didn't they
         16          have him test?
         17                     And when Dr. Webber was a public health
         18          official, he said the exact opposite thing than what he
         19          told you jurors here. He actually agreed with J&J when
         20          he was an official trying to protect the public health.
         21          Here's what he said.   "While a particle may well be
         22          defined as a fiber when it has the 3:1 ratio, it may
         23          not be an asbestos fiber." Just because it's 3:1, he
         24          said, that doesn't mean it's asbestos, necessarily.
         25          That's the exact thing that J&J has been saying here.
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           1         2014, including he had a test for talc.    There's
           2         nothing about heavy liquid concentration separation.
           3         Another story he's come up with after he left the
           4         public health. Now, he's saying, oh, you should
           5         concentrate. But he published a testing standard that
           6         didn't say that at all. Again, ask yourselves. What's
           7         going on here? Why is things so different?
           8                        (Barking noise intensifies)
           9                   MR. PANATIER: Your Honor? I just have to
         10          object. Something is barking at me over here?
         11                            (Barking noise stops)
         12                    THE COURT: Yeah, I hear it.
         13                    MR. PANATIER: And I can't pay attention.
         14                    MS. SULLIVAN: We'll turn that down.
         15                    THE COURT: Thank you.
         16                    MS. SULLIVAN: Dr. Compton, another
         17          Plaintiffs' expert, testified for the plaintiff's
         18          lawyers over 200 times. Never testified for defense.
         19          Another expert whose been well-traveled and testified
         20          against the brake pads and the insulation. And another
         21          testing expert who didn't test the final product. He
         22          tested ore, but you heard J&J did exploratory sampling
         23          to see what ore to use. So, you have to test the final
         24          product to see if there's asbestos. Why didn't he? He
         25          could have.




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           l                   Again, why did they have three testing
           2         experts, and not one of them tested the final product.
           3         And Dr. Compton was asked how much money he made. He
           4         couldn't tell you. Maybe it was too much to count.
           5         Who knows? He wouldn't tell you.
           6                   And then, so what else did they do to come up
           7         with a lawsuit story? Well, J&J produced millions and
           8         millions of documents in this litigation, some of them
           9         going back to the '40s and '50s, and they selected out
         10          a few, and I submit to you they showed you one line,
         11          cherry-picked out a line, without showing you the rest.
         12          Showed you one document without showing you the
         13          document that makes clear what the story really is.
         14                    I mean, it's easy to manufacture.  Imagine
         15          someone picking out anything you said over, you know,
         16          20 or 30 years, and just showing one piece of it and
         17          not the rest.  Not the whole story. And I'm going to
         18          show you some examples of what they did here. And they
         19          kept talking about company documents, you didn't see
         20          the company documents.  The company documents don't
         21          support their case. The company documents, as you've
         22          heard, have been on J&J's website for the public to see
         23          for a year or so. The company documents -- their most
         24          challenging part of this case is the company documents
         25          say again and again that by TEM testing, polarized
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           1         fair amount of Dr. Pooley.  Their own expert. Dr.
           2         Brody, said that Dr. Pooley was one of the most well-
           3         respected testing experts in the world. And again, J&J
           4         didn't go to any Tom, Dick, and Harry.  They went to
           5         the best experts in the world, and the reason Dr.
           6         Pooley wns so good at it is because, as you heard from
           7         Dr. Attanoos, there was a lot of problems with asbestos
           8         in the UK and in Wales at the time, and he had a lot of
           9         expertise in testing asbestos.
         10                    And he actually went to J&J's mines in Italy
         11          and in Vermont, and he said, you've got some tremolite,
         12          and we told the FDA about that, and we'll talk more
         13          about that.  But it's not asbestos. And he went back
         14          to 1949, testing these -- the 5/0 talc is the Italian
         15          talc that J&J used in Great Britain and the United
         16          States, there's no dispute about that. And he said
         17          that there was no asbestos in shipments from 1949, and
         18          he said the same thing about the Vermont talc, not
         19          asbestiform in character.
         20                    And then, to the government's credit, again,
         21          they didn't take everybody's word for it.  They
         22          actually went in the Vermont mines themselves, right?
         23          NIOSH, again, people that don't have an interest in
         24          this case. The government and scientists from the
         25          National Institute of Occupation and Safety Health,




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           1         scientists from the Occupational Snfety and health
           2         Agency, two government agencies, and scientists from
           3         Harvard.
           4                   They actually went into the Vermont mine and
           5         they took air samplings all over the Vermont mine, and
           6         they took bulk samples of the product from the Vermont
           7         mine, and they tested with the best methods available,
           8         the petrographic microscope, the x-ray, and the step-
           9         scanning, and the transmission, the super-duper
         10          microscope. No asbestos.   They couldn't find it
         11          anywhere, and none in the air sampling. Nowhere in the
         12          mine. None of the bulk samples.
         13                    These were three mines including J&J.  The
         14          government says, you know what? Baby powder is so
         15          popular, and this is so important, I'm going to go in
         16          the mine myself with myself with my scientists and with
         17          Harvard and look. The facts and the science and peer
         18          reviewed published literature doesn't add up.   Doesn't
         19          support the lawsuit story, the lawsuit fiction.
         20                    And the FDA continued to test.  In 2009,
         21          2010, they went -- again, they used a TEM microscope
         22          and the PLM, the polarized mic, the two super -- the
         23          super-duper and the other one that's pretty sensitive,
         24          and they looked down to four parts per million. Look
         25          at the detection, it's down to almost nothing. And
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           1         chrysotile with it. So, they're -- the same thing.
           2         They rejected it as a testing method.   The FDA said
           3         that they couldn't find chrysotile concentrating --
           4         using the concentration method.   So, why would you
           5         adopt a method that doesn't find the most common form
           6         of asbestos?
           7                    So, the FDA did not agree with Dr. Longo that
           8         the concentration method was a good way to test for
           9         talcum powder. They looked at it, they examined it,
         10          and they said why use a method that doesn't find the
         11          most common form of asbestos?
         12                    And then, sometimes lawyers like to use
         13          props, maybe when you don't have evidence. And you saw
         14          the bathroom scale shown here where they put ping pong
         15          balls on the bathroom scale, and then they put ping
         16          pong balls on the jeweler's scale, and they said, oh,
         17          the concentration lets you find something when it's --
         18          because it's more sensitive, even though Dr. Blount,
         19          who invented it for talc, who published on it, said
         20          it's equally accurate, not more sensitive. And then,
         21          you saw all of us could see with our eyes the ping pong
         22          balls. And J&J, using multiple SWAT -- like a SWAT
         23          team, multiple testing methods, if you don't see one
         24          thing with x-ray, you can see it with PLM.   Some
         25          things, you can see it with TEM that you can't pick up,




                                                                           63
           1         the morphology, the color, and the shape of the fibera
           2         that you can pick up with PLM.
           3                   So, when you use all the methods, just like
           4         we can see with a different method, our eyes, on those
           5         scales, you can find asbestos. Well, lawyer shows and
           6         props are not evidence, right? Where's your evidence?
           7         The FDA said the concentration method wasn't any good
           8         for testing talc.
           9                   And when you don't have evidence, sometimes
         10          you have to create it. And so, you saw that they said
         11          -- they gave Dr. Hopkins, when he was testifying, the
         12          corporate representative who was from the UK, worked in
         13          the US for a while as well, but he sat up here, and
         14          then they showed him two binders of reports. And they
         15          said, well, you're saying that J&J denies that talcum
         16          powder causes mesothelioma, yet the company said it was
         17          possible in these reports, remember that?
         18                    Then, it turns out each and every one of the
         19          reports in those two binders, each and every one of the
         20          reports in those two binders, were because the
         21          Plaintiffs had filed -- the Plaintiffs' lawyers had
         22          filed a lawsuit. And the company, as part of their
         23          internal policy, the way a good company should, they
         24          have a protocol that says you have to put it in as
         25          possible when you get any report.   In accordance with
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           1         company policy, all spontaneous cases are considered
           2         possible at the time of entry.   So, they create the
           3         evidence. They file a lawsuit, we got to log it as
           4         possible, because you don't just dismiss it.    You look
           5         at it. You investigate.
           6                    And they asked Dr. Hopkins these questions
           7         even though Mr. Panatier had taken Dr. Hopkins'
           8         deposition many times over several days. And he knew
           9         that J&J had done a clinical review of a bunch of these
         10          adverse event reports, and found that there was no
         11          evidence. Did not identify any data to provide
         12          evidence to indicate a causal association between the
         13          product use and the mesothelioma.
         14                     So, they create their own evidence. They
         15          say, we'll file these lawsuits. You say, it's
         16          possible, because we have to. That's what a good
         17          company does. And then, they do an analysis with the
         18          doctors, and they say, no, the evidence doesn't support
         19          it.   They knew that when they were asking Dr. Hopkins
         20          that.
         21                     You also heard the Judge gave you an
         22          instruction that both sides agreed to. These adverse
         23          event reports that J&J's been getting since these
         24          lawsuits started in 2017, they've been sending all the
         25          ones in those binders Dr. Hopkins got, all of them,




                                                                           65
           1         went to the FDA. They went to the FDJ\.. The FDA knows
           2         about this.   The FDA has never changed their mind that
           3         there's no hazard with talcum powder. The FDA has
           4         never required a warning.   They've never changed that
           5         stance. They know about these lawsuits. Everybody
           6         knows. You saw. They showed you the New York Times
           7         article from last year.   There's no secret. A lot of
           8         you said in jury selection you know.   The Plaintiffs'
           9         lawyers talked about the Plaintiffs themselves, some of
         10          them talked about the lawyer commercials.    There's no
         11          secret. The FDA knows these allegations are there.
         12          They don't believe it's true.   They don't believe it's
         13          supported by the evidence.
         14                     All of those adverse events driven by
         15          lawsuits. Most times, you get adverse events from
         16          doctors, right? Your doctor reports them. Every one
         17          of them, I think he found one out of hundreds from
         18          somebody that wasn't a lawyer.   It might have been a
         19          duplicate of a lawyer, but one. But not from any
         20          doctors.   This has been all over the press.   Doctors
         21          know about it.   They know about this issue.  There's no
         22          science to support it. Where's that evidence?
         23                    All of these reported -- and there's a --
         24          they may claim, oh, all the stuff in the complaint, you
         25          don't put in. This is -- the FDA has a very specific
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           1         format that requires you to -- they require you to fill
           2         out because they have a -- and I'm not as good with
           3         computers as some of the folks on the other side. But
           4         they have computer systems where you can pull up and
           5         log in to the exact kind of information you want. So,
           6         the FDA has a very specific format in terms of the
           7         information they want, and they may say oh, you didn't
           8         put all the information that's in the complaint in the
           9         form.  We put what the FDA wants you to put, what they
         10          dictate you put in this MedWatch form.
         11                    And J&J sent each and every one of these
         12          serious adverse reports, these allegations from these
         13          lawsuits, to the FDA. And the FDA confirmed receipt.
         14          There's an FDA number on their website of each and
         15          every one of them.
         16                    And what's the testing evidence here? The
         17          testing evidence comes from the guy who didn't test,
         18          but he talks about how -- what his lab did, and all of
         19          the bottles -- many of the bottles he got from
         20          Plaintiffs' lawyers came from eBay, remember? He
         21          bought it from eBay.  Some came from the Plaintiffs'
         22          lawyers' relatives, and they have the burden of proof.
         23          No testing expert, no biological markers of asbestos
         24          exposure in any of the Plaintiffs, and no bottles of
         25          talcum powder that any of them used that could be




                                                                           67
           1         tesled.
           2                    They didn't test any bottles that the
           3         Plaintiffs used.   Some of you might have caught this,
           4         when he said what's your common sense tell you about
           5         this? Every single bottle of J&J talcum powder that
           6         Dr. Longo just pulled off the shelf and tested, even he
           7         had to admit. He couldn't even see anything that they
           8         could even call asbestos. Nothing.
           9                   All of the off the shelf bottles, even they
         10          had to admit, no asbestos. And even he said in almost
         11          40 percent of the bottles that they tested, they
         12          couldn't fi.nd any fragment that they could even call
         13          asbestos. Nothing.     In everything off the shelf, no
         14          asbestos.
         15                    And they talked about exposure analysis, and
         16          that's what you do to figure out if there is asbestos,
         17          if you're getting more than background, how much, you
         18          know, they simulate the exposure, like, they do -- they
         19          model in this lab how you use the powder and then they
         20          collect the dust to simulate how much, if there is
         21          asbestos exposure, you get. He didn't do an exposure
         22          analysis for a single plaintiff in this case. He's
         23          done it in other cases, but he didn't do it for any of
         24          the Plaintiffs here. When you got four really sick and
         25          sympathetic plaintiffs against a big company, I guess
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           1         they think they don't need any evidence.
           2                   They didn't even bring you one. They talked
           3         about Shower to Shower and Ms. McNeill's bed sheets.
           4         They didn't an exposure analysis to see whether that
           5         actually causes more than background inhalation. They
           6         didn't do that study if there is asbestos.
           7                   They didn't do a study about how -- whether
           8         -- where she alleges she puts it in her boots. No
           9         exposure analysis. No exposure analysis for how Mr.
         10          Ronning used it, how Mr. Barden used.   They just used
         11          one for some other plaintiffs who used it in no way
         12          like Ms. McNeill.  Said, oh, you know, the jury won't
         13          care about the evidence.
         14                    They have the burden of proof. They didn't
         15          bring you it.  They got to bring it. Even if you got a
         16          case against a big company, you got to bring it. And
         17          they used 70 and 80 year old unsealed bottles for his
         18          exposure, two exposure analyses he did that don't
         19          relate to these Plaintiffs. They used the oldest
         20          bottles he could find.   One from the Plaintiffs'
         21          lawyer's relative, remember that? Holes are as big as
         22          -- much bigger than they are now. Even he had to admit
         23          asbestos fibers could fit in there. What's going on
         24          here?
         25                    I submit to you, the Plaintiffs' case, when




                                                                             69
           1         it comes to the company documents, when you don't have
           2         evidence, you cause confusion. You try to cherry-pick.
           3         You try to mislead. And I want to show you that.
           4                   You Honor, this may be a good time, if it
           5         makes sense for a break?
           6                   THE COURT: Members of the jury, we're going
           7         to take the break now.    Fifteen minutes. Be ready to
           8         come back upstairs at five-of.     You have not yet
           9         received this case and no discussions with regard to
         10          it, and no research of any kind whatsoever.     See you at
         11          five-of.
         12                                 (cTury exits)
         13                    THE COURT:   I'll see Counsel at sidebar.
         14                    (Sidebar commenced at 10:37:50 a.m.)
         15                    THE COURT: We're on sidebar?
         16                    COURT CLERK:    Yes.
         17                    THE COURT: Ms. Sullivan, there is a motion
         18          in limine at the beginning of the -- before the
         19          beginning of the trial, and I made a ruling and you
         20          have violated that ruling during the course of the
         21          trial, and now again, during summations. Using
         22          terminology such as, "Lawyer shows and props." "When
         23          you don't have evidence, sometimes you have to create
         24          it." I don't know how many times I need to review this
         25          with you. And I'm just going to add this conduct to
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           1         the pending motion.
           2                   MS. SULLIVAN: Your Honor, just --
           3                   THE COURT:   "Lawyer shows and props." "When
           4         you don't have evidence, sometimes you have to create
           5         it.   If

           6                   MS. SULLIVAN: Your Honor --
           7                   THE COURT: How do you think that that
           8         comports with the Rules of Professional Conduct?
           9                   MS. SULLIVAN: And Your Honor, in response,
         10          the adverse event reports were created by lawsuits.
         11          So, that's consistent with the evidence.
         12                    THE COURT: Lawyer --
         13                    MS. SULLIVAN: And so --
         14                    THE COURT:  "Lawyer shows and props."
         15                    MS. SULLIVAN: They were props.
         16                    THE COURT: No, Counsel.
         17                    MS. SULLIVAN: And second --
         18                    THE COURT: Not props.
         19                    MS. SULLIVAN: And second, Your Honor, I
         20          think it's fair to point out the difference between the
         21          story and the allegations.   That's typical on the
         22          evidence.
         23                    THE COURT:  "Lawyer shows and props," and
         24          accusing the attorneys of creating evidence is not a
         25          fair comment on the evidence. You are attacking the




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           1         profession, you've been warned about this. There's an
           2         order that was entered with regard to this, and you
           3         have the responsibility of knowing the RPCs just like
           4         everyone else. So, I think you should be careful in
           5         the remainder of your summation.   Is there anything
           6         further for the record now?
           7                   MR. PLACITELLA: Your Honor, I have a long
           8         list, which I was just going to wait until the end of
           9         summation about things like that that have been said.
         10          And I haven't jumped up and down because -- out of
         11          courtesy.  I'm sure Mr. Panatier wrote down things
         12          different than me.
         13                    MR. PANATIER:   If -- I have plenty.  If, Your
         14          Honor, if they're preserved, we can do it at the end?
         15                    THE COURT: They're preserved.
         16                    MR. PANATIER: Okay.
         17                    MR. PLACITELLA: Thank you.
         18                    THE COURT: But I caution you to proceed
         19          accordingly and to be mindful of your responsibility to
         20          your client to comply with the Rules of Professional
         21          Conduct.
         22                    MS. SULLIVAN: Right.    Of course, Your Honor.
         23                    THE COURT: Thank you.
         24                    (Sidebar concluded at 10:40:30 a.m.)
         25                                   (Pause)
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           1         unsuitable technique to adopt.   That was the expert's
           2         conclusion.   That's why the FDA and J&J and others
           3         aren't using it for testing of talc.
           4                    And then, they showed you this document,
           5         Plaintiffs' 1458, which says, oh, look, they didn't
           6         want to use it because it was too sensitive. Well,
           7         it's like if you have a Geiger counter on the beach,
           8         and you keep finding seashells instead of metal or
           9         jewelry, you keep finding the regular rock instead of
         10          asbestos? Yeah. You don't want that. You want a
         11          method that finds the asbestos, not a method that finds
         12          stuff that's not asbestos. And both the FDA and the
         13          independent experts rejected the concentration method
         14          as a good way to find asbestos in talc, particularly
         15          because as their experts agreed, the concentration
         16          method can't find the most common form of asbestos.
         17                     Then, they talked to Dr. Hopkins about this
         18          document, I think Mr. Panatier talked to him at length
         19          about it, Plaintiffs' Exhibit 2549, October 5th, 1974.
         20          It's a review meeting at J&J, and remember this. He
         21          kept trying to -- the Plaintiffs' lawyer kept trying to
         22          get Dr. Hopkins to agree that J&J had concerns about
         23          using TEM.   That J&J had grave concern, remember that?
         24          But Dr. Hopkins said this is an outside -- the CFTA is
         25          an outside industry group, and we were reporting on




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           1         what other people were saying ut the meeting, and why
           2         would J&J have grave concerns in 1974 when they've
           3         already been using TEM. They've already had a -- you
           4         saw, it was part of their regular quality assurance
           5         protocol since 1973, using it in some form since '71,
           6         but on a regular basis, since '73. So, why? That's
           7         not J&J.  They're already using it. Again, choosing to
           8         mislead you. Spinning the company documents in a way
           9         inconsistent with the facts.   Inconsistent with the
         10          truth.   They'll probably show you that one again, too.
         11                    Then the round robin testing, the companies
         12          and the FDA doing what you hoped they would do. Trying
         13          out a way to make sure they can find asbestos in talc.
         14          Trying out all kinds of testing methodology, and then,
         15          testing it to see if it works. And so, this is, on
         16          March, 1977, Defense Exhibit 8012. And they're testing
         17          tremolite, and they say this is the regular tremolite,
         18          the good kind, not -- should not be detected as
         19          asbestos.
         20                    And then, you remember the Plaintiffs' lawyer
         21          saying oh, well, why wouldn't you use asbestos, you
         22          know, something about if you're looking for grapes, why
         23          would you put oranges? If you're looking for oranges,
         24          why wouldn't you put grapes? But then you heard the
         25          truth was they did use.   This UISCC is asbestos,
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           1                     THE COURT:  I don't know that the Jury
           2         understood that distinction.    You said these lawsuits.
           3         We've been talking about the entirety of the lawsuits.
           4         There's been mention of Plaintiffs' other mentioning of
           5         the lawsuits.    So, how these jurors are going to
           6         distinguish what you meant was just these four, I do
           7         not know. Anything else?
           8                    MS. SULLIVAN: Yes, Your Honor. They have
           9         made the worst kinds of allegations against Johnson &
         10          Johnson --
         11                     THE COURT:   Do you understand that you are
         12          not supposed to be denigrating lawyers? Do you
         13          understand that calling them sinister is denigrating
         14          lawyers?
         15                     MS. SULLIVAN: No, Your Honor.    I
         16          respectfully disagree
         17                     THE COURT: You have referred to Plaintiffs'
         18          lawyers repeatedly as doing sinister things.    That is
         19          to stop.
         20                     MS. SULLIVAN: That's actually not true, Your
         21          Honor.   I'm saying they're making the most sinister
         22          allegations against us, which is the truth.
         23                     THE COURT:   You are calling the attorneys
         24          sinister. You should listen to what you're saying.
         25          Don't -- oh, don't speak while I am speaking.




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           1                           MS. SULLIVAN:             I'm sorry.   I apologize, Your
           2         Honor.
           3                   THE COURT:   Don't try to undermine me. When
           4         I am giving you a ruling and instruction as to how you
           5         are to complete your statement, closing statement to
           6         this jury. Stop denigrating the lawyers or you find
           7         yourself at the risk of having this entire summation
           8         struck from the record.   Continue.
           9                   MR. PANATIER: Thank you, Your Honor.
         10                    (Sidebar concluded at 11:43:09 a.m.)
         11                    MS. SULLIVAN:   This is Plaintiffs' Exhibit
         12          2115, and you remember the Plaintiffs' lawyer showing
         13          you this do not use this report, suggesting there was
         14          something nefarious going on here. And then, you saw
         15          the truth, right? That this related to Dr. Lewin's
         16          testing of baby powder, the one where he in his second
         17          test said there was no asbestos in Johnson's Baby
         18          Powder, and they showed you Mccrone, a few tremolite
         19          rods were observed in both samples at a level less than
         20          a fraction of a percent. And they said no asbestos, no
         21          chrysotile, as Dr. Lewin had claimed he found was
         22          there.
         23                    And then, Mccrone, knowing this was going to
         24          the FDA, as you saw, the great lab that they were, they
         25          said -- they did a follow-up, and they said before,
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          1         distinguish.
          2                   Any maybe some of you remember when Mr.
          3         Panatier handed out these pictures to you, claiming
          4         this is asbestos, this is asbestos. Maybe some of you
          5         noticed this, and I want to just put it up.   This is,
          6         and I'm going to identify it as M69042-002BL-001. And
          7         he showed you this, suggesting it was asbestos. But
          8         look what the analysts at Dr. Longo's lab wrote. They
          9         didn't write anthophyllite asbestos, did they? They
        10          didn't write asbestos at all.  They just said
        11          anthophyllite. And you know you can have the good
        12          anthophyllite, and you can have the anthophyllite
        13          asbestos, but they didn't write anthophyllite asbestos.
        14          Maybe some of you noticed that. Why do you think they
        15          didn't they bring those testers here, the ones who
        16          actually did the tests? They weren't finding asbestos.
        17                    Maybe some of you noticed on the second
        18          picture, the same thing.  It doesn't say asbestos.   It
        19          just says anthophyllite. And it doesn't look anything
        20          like what the government report says anthophyllite
        21          asbestos looked like.  It's not the hairy rock. Oh,
        22          I'm sorry, do you mind if I go back?
        23                    All right.  So, I submit to you, the
        24,         Plaintiffs' case is based on confusion, and based on
        25          cherry-picking lines out of the document without




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          1         showing you the truth. And we disclosed, here's
          2         submissions to the FDA. Remember, Mr. Panatier had the
          3         -- and he still has it over there, the inbox, outbox,
          4         right? This is what went to the FDA. What went to the
          5         world. We told them. We told the FDA we had some
          6         tremolite. Not asbestiform, but we have it. We told
          7         the FDA, submission, another submission to the FDA,
          8         that we have tremolite and actinolite. We told them
          9         about the tremolite rods.  It wasn't a secret.   It was
        10          disclosed to the FDA.
        11                    In fact, we told the FDA we didn't think it
        12          was asbestos, but if you want to -- if you want to
        13          consider it, we said, this talc contains essentially no
        14          anthophyllite, and only minor amounts below one percent
        15          of tremolite and actinolite, or in other words,
        16          contains less than one percent, if any, asbestos
        17          particles. We didn't think it was, but if you want to
        18          say it's asbestos particles, we have it. We told the
        19          FDA. That was part of the disclosures.   To suggest
        20          that J&J was hiding that? Not the truth. We told the
        21          FDA, fully disclosed.
        22                    We told the FDA, when they were considering
        23          regulation, I guess some companies had suggested you
        24          could wash out asbestos? We said that is not true. We
        25          told the FDA the assumptions we believe to be incorrect
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          1         are as follows, that talc can be processed to remove
          2         asbestos.   We told them you can't wash it out. That's
          3         why we did all this testing for it.   Fully disclosed to
          4         the FDA what was in our product, and that you couldn't
          5         -- oh, did I mess this up, Jack? I'm frozen? I'm
          6         frozen.   Apologies. Oh, there we go.   It's fixed.
          7         Okay.
          8                    Then, you saw that there were different
          9         definitions that the government -- actually, the
        10          government had consistent definitions. And you saw in
        11          one of the things, again, I submit the Plaintiffs' case
        12          is based on confusion, and it's confusing, they're
        13          trying to confuse you between what is regular, old,
        14          good rocks that you see in the mines and every day, and
        15          harmful stuff.
        16                     But then, you saw that just because it says
        17          amphibole, most rocks are not asbestos.   Overwhelmingly
        18          majority, 99-point-something percent of rocks are not
        19          asbestos. And that's true for -- their experts
        20          acknowledged that tremolite does not necessarily mean
        21          asbestos. Anthophyllite does not mean asbestos,
        22          necessarily. And actinolite does not mean asbestos,
        23          because there's two kinds of those things. And the
        24          EPA, OSHA, the Mineral -- the Mining Safety and Health
        25          Agencies all make a distinction. All of them agree




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          1         with J&J's position ln this case, and with Dr.
          2         Attanoos' position, that there's a difference between
          3         asbestos tremolite, asbestos anthophyllite, and
          4         asbestos actinolite. And to be asbestos, to be the
          5         harmful kind, it has to be the asbestiform kind.
          6                   And why defy -- ask yourself.   If they say it
          7         doesn't matter, right? Dr. Webber said it doesn't
          8         matter, this 3:1. Then why do all of these government
          9         agencies and testing, why do they define it? Why do
        10          they say it has to be the asbestiform if it doesn't
        11          matter?
        12                    Because it does matter. And OSHA, the
        13          government did a fairly extensive analysis that you
        14          looked at, looking at all of the science on asbestos
        15          and on non-asbestos, anthophyllite, actinolite, and
        16          tremolite, these good rocks. And they concluded,
        17          looking at the human studies, looking at the animal
        18          studies, looking at cell studies, they concluded
        19          this is the government. Again, people that have no
        20          interest in this case, right? OSHA has made a
        21          determination that substantial evidence is lacking to
        22          conclude that non-asbestiform tremolite, anthophyllite,
        23          and actinolite present the same type or magnitude of
        24          health effects as asbestos.
        25                    So, the government disagrees with Plaintiffs'
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           1         case. They say you have to look. You have to know
           2         whether it's asbestos or not, because the non-asbestos
           3         kind of rock is not harmful. And it's not just OSHA.
           4         Multiple government agencies have looked at this issue.
           5         Here's the Department of Interior testing some talc and
           6         saying the tremolite fragment noted in the report is
           7         not asbestos, but rather normal, rock-forming
           8         amphibole, which is ubiquitous in the earth's crust.
           9         Regular old tremolite, they're saying, is not asbestos.
         10          Normal, FDA agrees.   They have searched the literature
         11          without success to find any report on the toxicity of
         12          tremolite.
         13                     The FDA knew -- knows we have tremolite.
         14          Occasionally, we had it as an invisible fragment, like
         15          all of us breathe every day, and they say no evidence
         16          it's toxic.   Same thing for the Consumer Product Safety
         17          Commission. No evidence of a hazard from non-asbestos
         18          cleavage fragments.   In fact, studies dealing with non-
         19          asbestiform tremolite or other cleavage fragments have
         20          not, thus far, shown any indication of a carcinogenic
         21          health hazard. They don't agree with the Plaintiffs'
         22          case, the government, that cleavage fragments, 3:1, are
         23          harmful.
         24                     And why    did -- maybe some of you thought
         25          about this. Why, if they're claiming there's asbestos




                                                                           123
           1         in baby powder, are they Lalking about cleavage
           2         fragments? It's like plan B. They can't sell you that
           3         there's asbestos. Oh, let's argue that the good rock's
           4         bad.  They're arguing about cleavage fragments because
           5         there's no asbestos in baby powder, and they know it.
           6         That's why -- why would they bring up this whole
           7         cleavage fragment thing?
           8                    Dr. Blount, we looked at, she disagrees with
           9         them. No good evidence for adverse effects of these
         10          regular old cleavage fragment rocks. And here's an
         11          example we've -- you've looked at with a cleavage
         12          fragment.   If you mash it up, it could have the same
         13          ratio, if you mash it up, as an asbestos fiber, 3:1.
         14          It doesn't make it asbestos. Their experts agree.
         15          Just because you -- we take non-asbestos tremolite and
         16          crush it up, that doesn't magically make it asbestos.
         17          That is correct. And that would be the same for
         18          anthophyllite, actinolite, and non-asbestos rocks like
         19          tremolite.   Just because you mash it up, it doesn't
         20          magically become asbestos.
         21                     And -- but that's the trick here. That's the
         22          Plaintiffs' experts' trick, I submit to you. What
         23          they're doing is calling the regular old good rock
         24          asbestos because they have to, because there's no
         25          asbestos in Baby Powder or Shower to Shower. And they
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           1         actually admitted to you in cross-examination that
           2         that's what they're doing.   That the structure -- so,
           3         it was the same picture we just looked at, that the
           4         structure comes from breaking apart non-asbestos
           5         tremolite. You would agree with me that it does not
           6         magically, in fact, become asbestos.   Yes, sir, I've
           7         already agreed. But you would count it and report it
           8         in your report as asbestos? If your hypothetical was
           9         true, yes.   They would report it as asbestos even if
         10          it's not. And Dr. Compton agreed to the same thing.
         11          You asked me to assume it's not.   I would count it even
         12          though you're telling me it's not.
         13                     That's the trick. That is the trick, and
         14          maybe some of you got it early on. They are calling
         15          non-asbestos, regular, old, cleavage fragment rocks,
         16          that we encounter every day in our yards, outside in
         17          the world.   They're calling it asbestos, even if it's
         18          not.  That is the lawsuit trick that their experts are
         19          selling you.
         20                     Why would they have to -- why would they have
         21          to talk about cleavage fragments if they're really
         22          finding asbestos? And then, Dr. Longo, he came in
         23          here, their 31 million dollar guy, he said oh, the
         24          government makes me count. They make me count, even if
         25          it's not asbestos, if it's 3:5:1, they make me count.




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           1                    Well, Lhat's not the truth.   The government
           2         doesn't make him count.    The government says they're
           3         easily distinguishable.   Cleavage fragments are easily
           4         distinguishable from true asbestos. Using these
           5         microscopic techniques, PLM, you can tell the
           6         difference.   You can tell the hairy rock from the
           7         straight up cleavage fragment. And the regulation
           8         for purposes of regulation, a mineral must be one of
           9         the six.   It must be asbestos in the growth habit. And
         10          they made fun.   Oh, we don't ask the rock how they
         11          grow. You don't have to ask the rock. You can see.
         12          Is the hairy rock or not? That's the point. That's
         13          why the government defines it differently.
         14                     And you heard Dr. Attanoos talk about how
         15          dimensions matter.   How there's fiber strength with
         16          asbestos that you don't find with cleavage fragments,
         17          and they break apartment more easily, so you can exhale
         18          them like we exhale all kinds of dust we encounter
         19          every day.   That's why there is a difference.
         20                     And Dr. Longo's own testing method, he
         21          testified he used ISO, this stand -- this industry
         22          not industry.   This testing standard organizations
         23          method. But then, we looked at the definitions with
         24          him. His own standard makes him discriminate. You got
         25          to -- the government doesn't make you count. His own
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           1                    And here is another government document where
           2         they show you a picture, the hairy rock. Anthophyllite
           3         asbestos.   Dr. Longo is saying this is an anthophyllite
           4         bundle.   It looks nothing like it.  It looks nothing
           5         like it at all.   In fact, his investigators just say
           6         it's regular old anthophyllite. Why did they bring him
           7         here to talk to you?
           8                    The government says here's a picture of a
           9         cleavage fragment.   Looks just like what Dr. Longo is
         10          saying is asbestos, right? What the government says is
         11          a cleavage fragment looks just like what Dr. Longo says
         12          is asbestos. Another example. The government says
         13          cleavage fragment.   Dr. Longo says it's asbestos.   It
         14          looks nothing like asbestos.
         15                     What's going on here? Difference between
         16          science and the real world, and lawsuit fiction, the
         17          lawsuit story, without evidence. Maybe they can
         18          believe -- maybe Dr. Longo can get some juries to
         19          believe what he's selling, but maybe not this jury.
         20          The folks here are not that naive.
         21                     MR. PANATIER: Your Honor, I object to that.
         22                     THE COURT: That comment is stricken from the
         23          record.
         24                     MS. SULLIVAN: Use your common sense and ask
         25          yourself, how could it be that the most common of




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           1         products, hundreds of million~ of people have used
           2         Johnson's talcum powder.   How could it be that one of
           3         the most common, one of the most widely used products
           4         in history, over 125 years, causes the rarest, rarest,
           5         Dr. Diette, our epidem (sic) -- super rare, less than
           6         one in a million. How can it be that the most common
           7         of products causes the most uncommon? Almost nobody.
           8         Less than a million a year, three hundred people a
           9         year.  Super rare.
         10                    And ask yourself, when you look at the
         11          government Seer data, Dr. Diette says their claim here
         12          doesn't add up.   If they're right that diapering a baby
         13          from Oto 3 years with baby powder causes mesothelioma,
         14          which is their claim, then how can you have a graph
         15          like this? The average latency is 20 to 40 years.     Dr.
         16          Diette says you would expect this spike to be right up
         17          here, right? After 20, 30, 40 years. Not here. It
         18          should be -- it doesn't make any sense.   It would be
         19          right up here. Where are the mesotheliomas on this
         20          graph? If what they're saying is true, that exposure
         21          from Oto 3 with a latency of 20 to 40 years, you'd see
         22          that spike way, way sooner. But Dr. Diette said it
         23          doesn't add up.   It doesn't make sense. Not consistent
         24          with the science.
         25                    They claim that mesothelioma is a signal
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           1         that they were exposed to millions and millions and
           2         billions of fibers of asbestos.   Why nothing in their
           3         lungs? Why all their lungs are clear according to
           4         their own expert? Why no biomarkers at all?
           5                   And when you don't see any biomarkers, when
           6         you don't see any evidence of exposure, the experts,
           7         Dr. Diette and Dr. Attanoos concluded this is the kind
           8         of cancer that happens unfortunately to so many people
           9         for no reason at all. And all of us know family
         10          members, have suffered through with family members, the
         11          horrors of cancer, and it is horrible. And that's why
         12          sympathy is so hard in a case like this.    It's hard to
         13          decide a case like this when people are really
         14          suffering, right? We've all seen family members,
         15          friends, suffer.
         16                    But the truth is, most people can get cancer
         17          because it just happens.   It's not a satisfying excuse,
         18          and it's natural to try to find a villain, or reason to
         19          cause. And we don't blame the Plaintiffs for coming to
         20          believe, now, that this is the reason, but it's not.
         21          It's the kind of cancer that happens to so many people.
         22          We could line the City of New Brunswick, I told you in
         23          opening, with people suffering from cancer, and those
         24          people have nobody to sue. And most of those people
         25          have no idea why they got it. Because cancer, as Dr.




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           1         Attanoos explained to you, and Dr. -- it just happens.
           2         It's a DNA mistake. And most of the time, our bodies
           3         can overcome it, but sometimes, not.   It just happens,
           4         and it happens to good people. And it doesn't mean
           5         that J&J's Baby Powder caused it, even though I know
           6         most of us would like to find a reason to cause,
           7         sometimes it just happens. And there's no evidence
           8         here that it happened from baby powder.   There's no
           9         evidence. There's no biological markers. There's no
         10          testing evidence in their containers.   There's no
         11          testing expert that they brought you and tested the
         12          final product.
         13                    Mr. Etheridge diagnosed, you heard Dr. Maddox
         14          agree, he's got an extraordinarily rare kind of
         15          peritoneal mesothelioma. Ask yourself how the most
         16          common of products causes the most uncommon of disease.
         17          No evidence of asbestos exposure in his lungs or
         18          tissue.  He's -- and in his answer to interrogatories
         19          in this case, he talked about three years of diapering
         20          being his exposure, and no doctor's ever told him that
         21          Johnson's Baby Powder caused his mesothelioma.   I think
         22          Dr. Moline said there's something about, oh, well, he
         23          used it in the last ten years.  But then, she
         24          acknowledged in his deposition, that wasn't -- that
         25          wasn't sufficient exposure, because you need ten years
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          1                    First, on the biomarker issue, it is proper.
          2         They are the Plaintiffs.   They have the burden of
          3         proof.   It is proper to say they have no evidence, and
          4         that's fair.   I mean, it happens all the time.  They
          5         have no evidence of exposure in lungs or tissue.    They
          6         could have brought an expert, and they chose not to.
          7         That's fair.
          8                    On the issue of Dr. Attanoos, Your Honor
          9         permitted the jury question about generally, can you
        10          test peritoneal tumors for fibers? And I was
        11          referencing that testimony. That was in evidence. The
        12          Court permitted that.
        13                     THE COURT:  Here's what the Court had a
        14          problem with. What could have been a good closing
        15          statement, commenting upon the evidence, was
        16          unfortunately, replete with conduct that this Court has
        17          already warned you about, that this Court issued a
        18          ruling before opening statements, had to then issue an
        19          instruction to the jury after opening statements
        20          because you violated the Court's ruling, and throughout
        21          the course of this trial, for which there is a pending
        22          motion to hold you in contempt.
        23                     And at sidebar, after the first break, when
        24          you started off already commenting upon lawyer driven
        25          litigation, lawyer created litigation, lawyer showing




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          1         shows and props, and when you don't have evidence,
          2         sometimes you have to create it, referring to the
          3         lawyers, that was replete throughout your entire
          4         closing statement, with other examples, as added by Mr.
          5         Placitella, and there are more.
          6                    And so, that is the basis for the Court
          7         considering striking the entirety of your closing
          8         statement, because those kinds of comments were so
          9         replete that to leave in only the appropriate comments
        10          on the evidence would be impossible.
        11                     So, I'll see you all at 2:00.  Thank you.
        12          And we're off the record.
        13             (Off the record from 1:16:52 p.m. to 2:09:11 p.m.)
        14                                (Jury enters)
        15                     THE COURT:  Can you take this down for a
        16          moment? It's in my way. And move it, the board, the
        17
        18                    MR. PANATIER:   Yeah, I'll grab that.
        19                    THE COURT:  Please be seated and make sure
        20          cell phones are turned off. Members of the jury,
        21          before we proceed to the Plaintiffs' closing statement,
        22          I have a comment to make.
        23                    During Counsel's closing statement, she
        24          indicated words to the effect that she annoyed the
        25          Judge and probably the Plaintiffs' attorneys, too.
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           3                                              CERTIFICATION
           4
           5              I, MARISSA McGILL, the assigned transcriber, do
           6         hereby certify the foregoing transcript of proceedings
           7         on CourtSmart, Index No. from 9:13:23 a.m. to 9:23:04
           8         a.m., 9:25:54 a.m. to 10:40:51 a.m., 10:59:29 a.m. to
           9         1:16:52 p.m., 2:09:11 p.m. to 3:36:35 p.m., and 3:50:25
         10          p.m. to 4:36:09 p.m. is prepared to the best of my
         11          ability and in full compliance with the current
         12          Transcript Format for Judicial Proceedings and is a
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